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                                      Exhibit C

        Schedule of Deficient Claims to Be Disallowed via Notice of Presentment
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                                                              One Hundred and Second Omnibus Objection
                                           Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                       ASSERTED CLAIM
    NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
1   MARTINEZ, LETICIA                                                                       6/29/2018      17 BK 03566-LTS Employees Retirement System of the             99061                $ 85,000.00*
    CALLE 234 HK 22 COUNTRY CLUB                                                                                           Government of the Commonwealth
    CAROLINA, PR 00982                                                                                                     of Puerto Rico

    Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
    supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
    whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
2   MARTINEZ, TUBURCIO ZAYAS                                                                5/24/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    33902             Undetermined*
    HC-02 BOX 9525
    AIBONITO, PR 00705

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
3   MARTINEZ, VICTOR MEDINA                                                                 5/17/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    18231             Undetermined*
    2480 CALLE JARDINES
    SAN ANTONIO, PR 00690

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
4   MARTINEZ, VIDAL                                                                         6/26/2018      17 BK 03566-LTS Employees Retirement System of the             76281             Undetermined*
    3427 EXT. SANTA TERESITA                                                                                               Government of the Commonwealth
    CALLE SANTA ANASTACIA                                                                                                  of Puerto Rico
    PONCE, PR 00730

    Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
    supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
    whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
5   MARTINEZ, WILLIAM BURGOS                                                                6/25/2018      17 BK 03566-LTS Employees Retirement System of the             61745                 $ 53,500.00
    HC-02 BOX 7203                                                                                                         Government of the Commonwealth
    SANTA ISABEL, PR 00757                                                                                                 of Puerto Rico

    Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
    supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
    whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
6   MARTÍNEZ-GONZÁLEZ, JOSÉ GUILLERMO                                                       6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    80096             Undetermined*
    CALLE MAGNOLIA #25
    PONCE, PR 00730

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 1 of 149
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                                                               One Hundred and Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
7    MARTINO CABRERA, JACKELINE                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72285             Undetermined*
     HC 03 BOX 16011
     COROZAL, PR 00783

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
8    MARTIR COLON, MARIA M                                                                   6/29/2018      17 BK 03566-LTS Employees Retirement System of the             83388                $ 90,000.00*
     223 CALLE OZAMA                                                                                                        Government of the Commonwealth
     RIO PIEDRAS HEIGHTS                                                                                                    of Puerto Rico
     SAN JUAN, PR 00926

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
9    MARTY PEREZ, JAVIER                                                                     6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74310             Undetermined*
     PO BOX 67
     LAJAS, PR 00667

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
10   MASSARI, JOSE A                                                                          5/2/2018      17 BK 03566-LTS Employees Retirement System of the             10121             Undetermined*
     802 PASEO RAMON RIVERA                                                                                                 Government of the Commonwealth
     LAS MARIAS, PR 00670                                                                                                   of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
11   MATA DURAN, MARISOL                                                                     6/28/2018      17 BK 03566-LTS Employees Retirement System of the             67412                 $ 15,000.00
     2 COND. JARDINES DE SAN FRANCISCO                                                                                      Government of the Commonwealth
     APTO. 816                                                                                                              of Puerto Rico
     SAN JUAN, PR 00927

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
12   MATEO HERNANDEZ, NIDIA IVETTE                                                           6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    51833             Undetermined*
     URB. TOWN HOUSES R - 2.8
     COAMO, PR 00769

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 2 of 149
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                                                               One Hundred and Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
13   MATEO PEREZ, ELSA                                                                        5/7/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    13080             Undetermined*
     VILLA DEL CARMEN
     4438 AVE CONSTANCIA
     PONCE, PR 00716-2208

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
14   MATEO SULLIVAN, JOSE X                                                                  6/29/2018      17 BK 03566-LTS Employees Retirement System of the             83299                 $ 14,000.00
     CALLE ASIA #21 MONACO 2                                                                                                Government of the Commonwealth
     MANATI, PR 00674                                                                                                       of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
15   MATIAS CARRION, ROSA M                                                                  6/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    51125             Undetermined*
     PO BOX 725
     TOA BAJA, PR 00951

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
16   MATIAS CORTES, WILLIAM                                                                  6/26/2018      17 BK 03566-LTS Employees Retirement System of the             52536             Undetermined*
     RR 05                                                                                                                  Government of the Commonwealth
     BOX 6321                                                                                                               of Puerto Rico
     ANASCO, PR 00610-9827

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
17   MATIAS ENGLAND, HARVY                                                                   6/29/2018      17 BK 03566-LTS Employees Retirement System of the             85571                $ 33,727.18*
     AL-14 URB. JARDINES DE COUNTRY CLUB                                                                                    Government of the Commonwealth
     CAROLINA, PR 00983                                                                                                     of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
18   MATIAS LEON, JUDITH M.                                                                   6/4/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72009             Undetermined*
     URB. ESTANCIAS DEL GOLF CLUB #734
     PONCE, PR 00730

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 3 of 149
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                                                               One Hundred and Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
19   MATIAS LUGO, DAVID                                                                      6/15/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    79082             Undetermined*
     URB SIERRA LINDA CALLE 9 F-3
     CABO ROJO, PR 00623

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
20   MATIAS LUGO, DAVID                                                                      6/15/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                     79111            Undetermined*
     URB. SIERRA LINDA
     CALLE 9 F-3
     CABO ROJO, PR 00623

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
21   MATIAS LUGO, DAVID                                                                      6/15/2018      17 BK 03566-LTS Employees Retirement System of the             67169             Undetermined*
     URB SIERRA LINDA                                                                                                       Government of the Commonwealth
     CALLE 9 CASA F3                                                                                                        of Puerto Rico
     CABO ROJO, PR 00623

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
22   MATIAS MENDEZ, EVELYN                                                                   5/24/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    26937             Undetermined*
     PO BOX 375
     ANASCO, PR 00610-0375

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
23   MATIAS MONTALVO, LOUIS B.                                                               5/30/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    41720             Undetermined*
     CL BAGAZO 5312
     HACIENDA LA MATILDE
     PONCE, PR 00728

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
24   MATIAS NIEVES, MARIANA                                                                  6/28/2018      17 BK 03566-LTS Employees Retirement System of the             72088                 $ 75,000.00
     URB. HNAS. DÁVILA                                                                                                      Government of the Commonwealth
     283 CALLE MUÑOZ RIVERA                                                                                                 of Puerto Rico
     BAYAMON, PR 00959-5160

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 4 of 149
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                                                               One Hundred and Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
25   MATIAS OTERO, ZULMA                                                                     5/23/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    34637                $ 12,600.00*
     COND. VILLA PANAMERICANA APT809
     SAN JUAN, PR 00924

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
26   MATIAS OTERO, ZULMA                                                                     5/23/2018      17 BK 03566-LTS Employees Retirement System of the             36682             Undetermined*
     CARI VILLA PANAMERICAN                                                                                                 Government of the Commonwealth
     APT 809                                                                                                                of Puerto Rico
     SAN JUAN, PR 00924

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
27   MATIAS RAMOS, ELIZABETH                                                                  6/7/2018      17 BK 03566-LTS Employees Retirement System of the             49401                 $ 12,809.62
     URB EL VALLE                                                                                                           Government of the Commonwealth
     260 PASEO DE LA PALMA                                                                                                  of Puerto Rico
     CAGUAS, PR 00727

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
28   MATIAS ROSARIO, ISABEL                                                                  6/28/2018      17 BK 03566-LTS Employees Retirement System of the             74251             Undetermined*
     PO BOX 804                                                                                                             Government of the Commonwealth
     JAYUYA, PR 00664                                                                                                       of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
29   MATIAS ROVIRA, JOSE A.                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    67154                 $ 25,000.00
     PO BOX 6144
     AGUADILLA, PR 00604

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
30   MATIAS ROVIRA, JOSE A.                                                                  6/28/2018      17 BK 03566-LTS Employees Retirement System of the             67341                 $ 56,742.70
     PO BOX 6144                                                                                                            Government of the Commonwealth
     AGUADILLA, PR 00604                                                                                                    of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 5 of 149
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                                                               One Hundred and Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
31   MATIAS SEMIDEY, CARELY                                                                   7/3/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    102880                $ 20,000.00
     HC2 14660
     CAROLINA, PR 00987

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
32   MATINEZ RAMOS , ENID Y                                                                  6/28/2018      17 BK 03566-LTS Employees Retirement System of the             73643             Undetermined*
     BO.QUEBRADAS                                                                                                           Government of the Commonwealth
     KM 2 CALLE 377                                                                                                         of Puerto Rico
     HC 01 BOX 7383
     GUAYANILLA, PR 00656

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
33   MATOS ACOSTA, IRIS                                                                      4/27/2018      17 BK 03566-LTS Employees Retirement System of the              9535             Undetermined*
     MONTE SOL                                                                                                              Government of the Commonwealth
     F25 CALLE 1                                                                                                            of Puerto Rico
     TOA ALTA, PR00953-4221

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
34   MATOS ALVARADO, FRANK J                                                                 5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    27546                 $ 10,800.00
     URB JARDINES DE SALINAS 150
     SALINAS, PR 00751

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
35   MATOS BARRETO, EMMA R                                                                    6/5/2018      17 BK 03566-LTS Employees Retirement System of the             47303               $ 150,000.00*
     HC 1 BOX 4203                                                                                                          Government of the Commonwealth
     HATILLO, PR 00659                                                                                                      of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
36   MATOS BARRETO, MILAGROS M                                                                6/5/2018      17 BK 03566-LTS Employees Retirement System of the             52490                $ 150,000.00
     HC 1 BOX 4072                                                                                                          Government of the Commonwealth
     HATILLO, PR 00659                                                                                                      of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 6 of 149
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                                                               One Hundred and Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
37   MATOS BARRETO, MILAGROS M                                                               5/29/2018      17 BK 03566-LTS Employees Retirement System of the             22622                $ 150,000.00
     HC 1 BOX 4072                                                                                                          Government of the Commonwealth
     HATILLO, PR 00659-9702                                                                                                 of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
38   MATOS BARRETO, MILAGROS M.                                                              5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    30436                $ 150,000.00
     HC 01 BOX 4072
     HATILLO, PR 00659-9702

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
39   MATOS BARRETO, MILAGROS M.                                                              5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    30575               $ 150,000.00*
     HC - 01 BOX 4072
     HATILLO, PR 00659-9702

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
40   MATOS BURGOS, WADALBERIO                                                                5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    41295             Undetermined*
     RR 46 BOX 5863
     DORADO, PR 00719

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
41   MATOS CASADO, AGUSTIN                                                                   5/29/2018      17 BK 03566-LTS Employees Retirement System of the             36103             Undetermined*
     HC 1 BOX 2365                                                                                                          Government of the Commonwealth
     LOIZA, PR 00772                                                                                                        of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
42   MATOS GARCED, LUIS M                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    93834                 $ 2,500.47*
     PO BOX 9795
     CIDRA, PR 00739

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 7 of 149
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                                                               One Hundred and Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED        CASE NUMBER                      DEBTOR                      CLAIM #           AMOUNT
43   MATOS JIMENEZ, YANIRA                                                                   6/29/2018      17 BK 03566-LTS Employees Retirement System of the              76285                  $ 8,548.58
     URB. ROYAL TOWN                                                                                                        Government of the Commonwealth
     25 CALLE 43 BLOQUE 3                                                                                                   of Puerto Rico
     BAYAMON, PR 00956

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
44   MATOS LAGUNA, EDILBERTO                                                                 6/29/2018      17 BK 03566-LTS Employees Retirement System of the              77840               $ 101,486.35
     1A CALLE CAMPIO ALONSO                                                                                                 Government of the Commonwealth
     CAGUAS, PR 00725-3580                                                                                                  of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
45   MATOS LEON , NANCY                                                                      6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    100170               $ 10,000.00*
     URB LOS CAOBOS 1925 GUAYABO
     PONCE, PR 00795

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
46   MATOS LEON, NANCY                                                                       6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    100534                $ 1,000.00*
     URB. LOS CAOBOS 1925 GUAYABO
     PONCE, PR 00716

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
47   MATOS LINARES, VIRMA                                                                    5/29/2018      17 BK 03566-LTS Employees Retirement System of the              38273             Undetermined*
     PO BOX 8093                                                                                                            Government of the Commonwealth
     PAMPANOS STATION                                                                                                       of Puerto Rico
     PONCE, PR 00732

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
48   MATOS LINARES, VIRMA                                                                    5/29/2018      17 BK 03567-LTS Puerto Rico Highways and                        42558             Undetermined*
     PO BOX 8093                                                                                                            Transportation Authority
     PAMPANOS STATION
     PONCE, PR 00732

     Reason: Proof of claim purports to assert liabilities associated with the Puerto Rico Highways and Transportation Authority, but fails to provide any basis or supporting documentation for asserting a
     claim against the Puerto Rico Highways and Transportation Authority, such that the Debtors are unable to determine whether claimant has a valid claim against the Puerto Rico Highways and
     Transportation Authority or any of the other Title III debtors



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 8 of 149
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                                                               One Hundred and Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
49   MATOS LOPEZ, ERIC                                                                       6/28/2018      17 BK 03566-LTS Employees Retirement System of the             65675                 $ 40,000.00
     CALLE SARA F3 URB. SANTA ROSA                                                                                          Government of the Commonwealth
     CAGUAS, PR 00725                                                                                                       of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
50   MATOS MEDINA, MARIA M                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69148             Undetermined*
     URB. ALTURAS DE JAYUYA
     83 CALLE EUCALIPTO G-16
     JAYUYA, PR 00664

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
51   MATOS MERCADO, GLORIMAR                                                                 6/29/2018      17 BK 03566-LTS Employees Retirement System of the             89177                $ 75,000.00*
     HC 01 BOX 5470                                                                                                         Government of the Commonwealth
     BARRANQUITAS, PR 00794                                                                                                 of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
52   MATOS MONTALVO, MARIA D                                                                 5/15/2018      17 BK 03566-LTS Employees Retirement System of the             15685             Undetermined*
     CALLE QUINONES 317                                                                                                     Government of the Commonwealth
     SANTURCE, PR 00912                                                                                                     of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
53   MATOS NAZARIO, EVELYN                                                                   5/29/2018      17 BK 03566-LTS Employees Retirement System of the             36430             Undetermined*
     URB JARDINES DEL CARIBE                                                                                                Government of the Commonwealth
     CALLE 46-UU-2                                                                                                          of Puerto Rico
     PONCE, PR 00728-2643

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
54   MATOS NEGRON, DAMARIS                                                                    7/3/2018      17 BK 03566-LTS Employees Retirement System of the             108523                $ 51,405.81
     URB SAN AGUSTIN                                                                                                        Government of the Commonwealth
     CALLE 13 M 56                                                                                                          of Puerto Rico
     BAYAMON, PR 00959

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors


             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 9 of 149
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                                                               One Hundred and Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
55   MATOS ORTIZ, FRANCES                                                                    6/27/2018      17 BK 03566-LTS Employees Retirement System of the             63110             Undetermined*
     REPARTO ROBLES C-45                                                                                                    Government of the Commonwealth
     AIBONITO, PR 00705                                                                                                     of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
56   MATOS PLAZA, LUIS A                                                                     6/15/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    60709             Undetermined*
     URB GLENVIEW GARDENS
     0 14 CALLE E11
     PONCE, PR 00730

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
57   MATOS PLAZA, LUIS A                                                                     6/15/2018      17 BK 03566-LTS Employees Retirement System of the             72370             Undetermined*
     URB GLENVIEW GARDENS                                                                                                   Government of the Commonwealth
     O14 CALLE E11                                                                                                          of Puerto Rico
     PONCE, PR 00730

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
58   MATOS REYES, SONIA I.                                                                   6/29/2018      17 BK 03566-LTS Employees Retirement System of the             79389                $ 75,000.00*
     152 LA PERLA                                                                                                           Government of the Commonwealth
     SAN JUAN, PR 00901-1167                                                                                                of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
59   MATOS RIOS, JUAN CARLOS                                                                 6/14/2018      17 BK 03566-LTS Employees Retirement System of the             111558               $ 55,000.00*
     106 CALLE SAN JOSE                                                                                                     Government of the Commonwealth
     AGUADA, PR 00602                                                                                                       of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
60   MATOS RIVERA, ANGEL                                                                      6/6/2018      17 BK 03566-LTS Employees Retirement System of the             72098             Undetermined*
     HC-04 BOX 5879                                                                                                         Government of the Commonwealth
     BARRANQUITAS, PR 00794                                                                                                 of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 10 of 149
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                                                               One Hundred and Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
61   MATOS RIVERA, MIGUEL                                                                    5/18/2018      17 BK 03566-LTS Employees Retirement System of the             20035                 $ 36,867.60
     URB TERRAZAS DE CUPEY                                                                                                  Government of the Commonwealth
     12 CALLE 3                                                                                                             of Puerto Rico
     TRUJILLO ALTO, PR 00976-3238

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
62   MATOS RODRIGUEZ , VELMY E.                                                              6/29/2018      17 BK 03566-LTS Employees Retirement System of the             79736             Undetermined*
     APARTADO77                                                                                                             Government of the Commonwealth
     LAJAS, PR 00667                                                                                                        of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
63   MATOS TORO, JOEL GENARO                                                                  6/6/2018      17 BK 03566-LTS Employees Retirement System of the             48675             Undetermined*
     CARR 310 BUZON 1166 BO MONTE GRANDE                                                                                    Government of the Commonwealth
     CABO ROJO, PR 00623                                                                                                    of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
64   MATOS TORO, WARNER                                                                      6/11/2018      17 BK 03566-LTS Employees Retirement System of the             69951             Undetermined*
     URB SIERRA LINDA                                                                                                       Government of the Commonwealth
     C6 CALLE LOS ROBLES                                                                                                    of Puerto Rico
     CABO ROJO, PR 00623

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
65   MATOS VAZQUEZ, LESLIE                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76819             Undetermined*
     CALLE MADRID 551
     YAUCO, PR 00698

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
66   MATOS VIDAL, EDUARDO A.                                                                  6/5/2018      17 BK 03566-LTS Employees Retirement System of the             47386                  $ 8,700.00
     COND.PAISAJES DEL ESCORIAL 90                                                                                          Government of the Commonwealth
     BLVD.MEDIA LUNA APT.304                                                                                                of Puerto Rico
     CAROLINA, PR 00987

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors


             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 11 of 149
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                                                               One Hundred and Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
67   MATOS ZAYAS, EVELYN                                                                     6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    78006                  $ 6,000.00
     P.O. BOX 96 BO. ANONES
     NARANJITO, PR 00719

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
68   MATOS ZAYAS, GEORGINA                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    80950                  $ 6,000.00
     P.O. BOX 96
     NARANJITO, PR 00719

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
69   MATOS ZAYAS, GEORGINA                                                                   6/27/2018      17 BK 03566-LTS Employees Retirement System of the             102403               $ 75,000.00*
     PO BOX 96                                                                                                              Government of the Commonwealth
     NARANJITO, PR 00719-0096                                                                                               of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
70   MATOS ZAYAS, LUCILA                                                                     6/27/2018      17 BK 03566-LTS Employees Retirement System of the             86823                $ 75,000.00*
     APARTADO#96                                                                                                            Government of the Commonwealth
     BO. ANONES                                                                                                             of Puerto Rico
     NARANJITO, PR 00719

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
71   MATOS, GILBERTO PABON                                                                    3/1/2018      17 BK 03566-LTS Employees Retirement System of the               701                  $ 1,836.00
     110 CALLE LUIS MUNOZ MARIN                                                                                             Government of the Commonwealth
     CARR BETANCES                                                                                                          of Puerto Rico
     CABO ROJO, PR 00623

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
72   MATOS, TERESA MERCADO                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72004             Undetermined*
     CALLE 29 Z- 10 URBANIZACION BELLA VISTA
     BAYAMON, PR 00957

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
73   MATTEI BALLESTER, CARLOS F                                                               4/3/2018      17 BK 03566-LTS Employees Retirement System of the              6342               $ 576,000.30*
     BOX 728                                                                                                                Government of the Commonwealth
     ADJUNTAS, PR 00601                                                                                                     of Puerto Rico


             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 12 of 149
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                                                               One Hundred and Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
74   MATTEI MARTINEZ, FELIX ANTONIO                                                           6/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    48764             Undetermined*
     HC03 BOX 14565
     YAUCO, PR 00698

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
75   MATTEI MARTINEZ, FELIX ANTONIO                                                           6/6/2018      17 BK 03566-LTS Employees Retirement System of the             48769             Undetermined*
     HC03 BOX 14565                                                                                                         Government of the Commonwealth
     YAUCO, PR 00698                                                                                                        of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
76   MATTEI NIEVES, VIRGENMINA                                                               6/29/2018      17 BK 03566-LTS Employees Retirement System of the             76907             Undetermined*
     29 CONCEPCION                                                                                                          Government of the Commonwealth
     GUAYANILLA, PR 00656                                                                                                   of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
77   MATTEI QUINONES, SEBASTIAN                                                               3/5/2018      17 BK 03566-LTS Employees Retirement System of the               926             Undetermined*
     HC 37 BOX 3504                                                                                                         Government of the Commonwealth
     GUANICA, PR 00653-8400                                                                                                 of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
78   MATTEI RODRIGUEZ, OLGA L                                                                5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    32151             Undetermined*
     HC-02 BOX 10533
     YAUCO, PR 00689

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
79   MATTEI RODRIGUEZ, OLGA L.                                                                6/4/2018      17 BK 03566-LTS Employees Retirement System of the             66075             Undetermined*
     HC-02 BOX 10533                                                                                                        Government of the Commonwealth
     YAUCO, PR 00698                                                                                                        of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 13 of 149
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                                                               One Hundred and Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
80   MATTOS VARGAS III, JULIO L                                                              5/21/2018      17 BK 03566-LTS Employees Retirement System of the             25417                $ 200,000.00
     BO DAGUAO                                                                                                              Government of the Commonwealth
     BZN 118                                                                                                                of Puerto Rico
     NAGUABO, PR 00718

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
81   MATTOS VARGAS III, JULIO L                                                              5/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    22897                $ 200,000.00
     BUZON 118
     BO. DAGUAO
     NAGUABO, PR 00718

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
82   MAUNEZ CUADRA, MARGARITA                                                                6/27/2018      17 BK 03566-LTS Employees Retirement System of the             105867               $ 75,000.00*
     BDA.. CLAUSELLS                                                                                                        Government of the Commonwealth
     CALLE 3 CASA #49                                                                                                       of Puerto Rico
     PONCE, PR 00730

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
83   MAUROSA GUTIERREZ, LOUIS                                                                 6/4/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    81766             Undetermined*
     URB SAN FRANCISCO
     85 CALLE SAN MIGUEL
     YAUCO, PR 00698

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
84   MAURY TAVAREZ, GLORIA M                                                                 5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    30257             Undetermined*
     PASEO DEL PRADO
     134 CALLE EUCALIPTO
     CAROLINA, PR 00987-7617

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
85   MAURY TAVAREZ, GLORIA M                                                                 5/25/2018      17 BK 03566-LTS Employees Retirement System of the             32408             Undetermined*
     PASEO DEL PRADO                                                                                                        Government of the Commonwealth
     134 CALLE EUCALIPTO                                                                                                    of Puerto Rico
     CAROLINA, PR 00987-7617

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors

             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 14 of 149
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                                                              One Hundred and Second Omnibus Objection
                                           Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                  ASSERTED CLAIM
     NAME                                                                                DATE FILED      CASE NUMBER                      DEBTOR                     CLAIM #          AMOUNT
86   MAYDA HAYDÉE PLAZA RIVERA                                                            6/29/2018      17 BK 03566-LTS Employees Retirement System of the           68800             Undetermined*
     HC-01 BOX,8458                                                                                                      Government of the Commonwealth
     PEÑUELAS, PR 00624                                                                                                  of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
87   MAYOL TORRES, MARIANA R                                                              6/28/2018      17 BK 03566-LTS Employees Retirement System of the           67975             Undetermined*
     A17 CALLE SAN AGUSTIN URB LOS DOMINICOS                                                                             Government of the Commonwealth
     BAYAMON, PR 00957                                                                                                   of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
88   MAYSONET COTTO , SONIA N.                                                             6/7/2018      17 BK 03566-LTS Employees Retirement System of the           62808             Undetermined*
     RES. JUAN C. CORDERO                                                                                                Government of the Commonwealth
     EDIF 3                                                                                                              of Puerto Rico
     APT 12
     SAN JUAN, PR 00917

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
89   MAYSONET LOPEZ, YESENIA                                                               6/5/2018      17 BK 03566-LTS Employees Retirement System of the           48157               $ 26,265.12*
     PO BOX 40768                                                                                                        Government of the Commonwealth
     SAN JUAN, PR 00940                                                                                                  of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
90   MAYSONETE FONSECA, JOSE A                                                            6/29/2018      17 BK 03566-LTS Employees Retirement System of the           81972             Undetermined*
     CALLE 11 BLOQUE 11 CASA NUM 4                                                                                       Government of the Commonwealth
     URB SIERRA BAYAMON                                                                                                  of Puerto Rico
     BAYAMON, PR 00961

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
91   MCS LIFE INSURANCE COMPANY                                                           6/27/2018      17 BK 03566-LTS Employees Retirement System of the           57409              $ 100,000.00*
     PO BOX 193310                                                                                                       Government of the Commonwealth
     SAN JUAN, PR 00919                                                                                                  of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors

             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 15 of 149
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                                                               One Hundred and Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
92   MEDERO APONTE, MAGALY                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    84819                  $ 6,000.00
     PMB 33 PO BOX 2510
     TRUJILLO ALTO, PR 00976

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
93   MEDERO MARTÍNEZ, FRANCES                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    67477                 $ 19,200.00
     RR 4 BOX 2988
     BAYAMÓN, PR 00956

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
94   MEDIAVILLA MERCADO, EDITH                                                               5/24/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    30023             Undetermined*
     URB. ANTIGUA VIA
     19 S 8 CUPEY
     SAN JUAN, PR 00926

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
95   MEDINA ACEVEDO, LUZ N                                                                   5/30/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    41990             Undetermined*
     HC 04 BOX 10098
     UTUADO, PR 00641

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
96   MEDINA AGUIAR, INGRID E                                                                  6/5/2018      17 BK 03566-LTS Employees Retirement System of the             47557                  $ 1,604.00
     URB TULIPAN                                                                                                            Government of the Commonwealth
     480 CALLE JUAN KEPLER                                                                                                  of Puerto Rico
     SAN JUAN, PR 00926-4431

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
97   MEDINA ALVARADO, NILDA L.                                                               5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    37461             Undetermined*
     2147 C/ TRIGO VILLA DEL CARMEN
     PONCE, PR 00716

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
98   MEDINA ARGUINZONI, NYDIA                                                                5/23/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    51995                $ 15,000.00*
     120 PICO CENTER AVE CONDADO
     SAN JUAN, PR 00907

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 16 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
99    MEDINA BADILLO, FELIX                                                                    6/4/2018      17 BK 03566-LTS Employees Retirement System of the             58771             Undetermined*
      HC 9 BOX 11736                                                                                                         Government of the Commonwealth
      BO CAMASEYES                                                                                                           of Puerto Rico
      AGUADILLA, PR 00603

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
100   MEDINA CALDERON, JOSE A.                                                                6/28/2018      17 BK 03566-LTS Employees Retirement System of the             73284                 $ 47,673.00
      PO BOX 3020                                                                                                            Government of the Commonwealth
      VEGA ALTA, PR00692                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
101   MEDINA CARABALLO, OLIVER                                                                 6/5/2018      17 BK 03566-LTS Employees Retirement System of the             46601             Undetermined*
      HC 3 BOX 15150                                                                                                         Government of the Commonwealth
      LAJAS, PR 00667                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
102   MEDINA CARDONA, JUAN CARLOS                                                             6/25/2018      17 BK 03566-LTS Employees Retirement System of the             79138             Undetermined*
      URB. LAS VEREDAS #90                                                                                                   Government of the Commonwealth
      CAMUY, PR 00627                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
103   MEDINA CLARK, SIXTA A.                                                                  5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    40263             Undetermined*
      5919 SAN ISAAC
      URB. SANTA TERESITA
      PONCE, PR 00730

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
104   MEDINA CORDOVA, INDIRA BELIS                                                            6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    64802             Undetermined*
      HC 03 BOX 35057
      MOROVIS, PR 00687

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 17 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
105   MEDINA CORTES, CARMEN P                                                                 5/29/2018      17 BK 03566-LTS Employees Retirement System of the             31631                $ 46,157.00*
      URB COUNTRY CLUB                                                                                                       Government of the Commonwealth
      CALLE 232 HG 26                                                                                                        of Puerto Rico
      CAROLINA, PR 00982

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
106   MEDINA CORTES, CARMEN P                                                                 5/29/2018      17 BK 03566-LTS Employees Retirement System of the             33979                $ 46,231.00*
      URB COUNTRY CLUB                                                                                                       Government of the Commonwealth
      CALLE 232 HG 26                                                                                                        of Puerto Rico
      CAROLINA, PR 00982

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
107   MEDINA CORTES, CARMEN P                                                                 5/29/2018      17 BK 03566-LTS Employees Retirement System of the             31910                       $ 0.54
      CALLE 232 HG 26                                                                                                        Government of the Commonwealth
      URB. COUNTRY CLUB                                                                                                      of Puerto Rico
      CAROLINA, PR 00982

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
108   MEDINA CORTES, CARMEN P.                                                                5/29/2018      17 BK 03566-LTS Employees Retirement System of the             26545                $ 46,157.00*
      URB COUNTRY CLUB                                                                                                       Government of the Commonwealth
      HG 26 CALLE 232                                                                                                        of Puerto Rico
      CAROLINA, PR 00982

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
109   MEDINA CORTES, IVONNE                                                                   5/24/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    32446             Undetermined*
      828 MIGUEL XIORRO
      CIUDAD JARDIN JUNCOS
      45 CALLE CANOABO
      JUNCOS, PR 00924

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 18 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
110   MEDINA CORTES, TOMAS                                                                     6/4/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    60826             Undetermined*
      HC-4 BOX 15135
      ARECIBO, PR 00612

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
111   MEDINA COTTO, ANA D.                                                                    6/26/2018      17 BK 03566-LTS Employees Retirement System of the             92482                $ 122,460.33
      HC1 BOX 4372                                                                                                           Government of the Commonwealth
      AIBONITO, PR 00705                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
112   MEDINA CRESPO, HECTOR L.                                                                6/29/2018      17 BK 03566-LTS Employees Retirement System of the             86999                 $ 80,000.00
      PO BOX 2293                                                                                                            Government of the Commonwealth
      MOROVIS, PR 00687                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
113   MEDINA CRUZ, ANA A                                                                       6/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    52372             Undetermined*
      COMUNIDAD MIRAMAR
      CALLE DALIA #569
      GUAYAMA, PR 00784

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
114   MEDINA DE JESUS, ROSA L.                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71003                 $ 50,000.00
      P.O.BOX 1253
      SAN LORENZO, PR 00754

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
115   MEDINA FIGUEROA, MARIA J                                                                6/29/2018      17 BK 03566-LTS Employees Retirement System of the             78428                $ 40,000.00*
      PO BOX 2054                                                                                                            Government of the Commonwealth
      HATILLO, PR 00659                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 19 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
116   MEDINA GONZALEZ, LOURDES S.                                                             6/29/2018      17 BK 03566-LTS Employees Retirement System of the             78400             Undetermined*
      P.O. BOX 8131                                                                                                          Government of the Commonwealth
      HUMACAO, PR 00792-8131                                                                                                 of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
117   MEDINA GONZÁLEZ, LOURDES S                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    80048             Undetermined*
      PO BOX 8131
      HUMACAO, PR 00792-8131

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
118   MEDINA LAUREANO, EDRIC                                                                   7/2/2018      17 BK 03566-LTS Employees Retirement System of the             69724                 $ 65,435.54
      PO BOX 8693                                                                                                            Government of the Commonwealth
      BAYAMON, PR 00960                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
119   MEDINA LEBRON, NILSA                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71662                 $ 19,188.00
      AVE. GALICIA 924 URB. VISTAMAR
      CAROLINA, PR 00983

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
120   MEDINA LOPEZ, GABRIEL A                                                                  4/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                     6556             Undetermined*
      RES VISTA ALEGRE
      1 RES VISTA ALEGRE APT31
      AGUAS BUENAS, PR 00703-3502

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
121   MEDINA MALDONADO, MILAGROS E.                                                           5/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    17304             Undetermined*
      PO BOX 400
      LAS PIEDRAS, PR 00771-0400

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 20 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
122   MEDINA MARCADO, DAMARYS                                                                 5/24/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    25401             Undetermined*
      LAS QUEBRADAS
      CARR 310 BUZON 11242
      MONTE GRANDE
      CABO ROJO, PR 00623

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
123   MEDINA MARTINEZ, JACKELINE                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72587             Undetermined*
      NUEVA VIDA EL TUQUE
      CALLE 12 #107
      PONCE, PR 00728

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
124   MEDINA MARTINEZ, JACKELINE                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72102             Undetermined*
      NUEVA VIDA EL TUQUE
      CALLE 12 #107
      PONCE, PR 00728

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
125   MEDINA MEDINA, ELVIN G                                                                  3/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                     4240                $ 24,945.78*
      HC01 BUZON 6063
      GUAYANILLA, PR 00656

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
126   MEDINA MENDEZ, JOSE L                                                                   5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    27141                 $ 30,000.00
      DEPARTAMENTO SEGURIDAD PUBLICA
      AGENTE
      APORTADO 199
      MOCA, PR 00676

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
127   MEDINA MENDEZ, JOSE L                                                                   5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    47811                 $ 30,000.00
      APARTADO199
      MOCA, PR 00676

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 21 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
128   MEDINA MERCADO, DAMARYS                                                                 5/24/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    31385             Undetermined*
      LAS QUEBRADAS CARR 310
      BUZON 11242 MONTE GRANDE
      CABO ROJO, PR 00623

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
129   MEDINA MERCADO, FRANCISCO                                                               5/22/2018      17 BK 03566-LTS Employees Retirement System of the             21584             Undetermined*
      PO BOX 14033                                                                                                           Government of the Commonwealth
      SAN JUAN, PR 00916-4033                                                                                                of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
130   MEDINA MORALES, MARIEL E.                                                               6/29/2018      17 BK 03566-LTS Employees Retirement System of the             87991                 $ 51,701.30
      CALLE GOLONDRINA F18 URB LA                                                                                            Government of the Commonwealth
      INMACULADA                                                                                                             of Puerto Rico
      TOA BAJA, PR 00949

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
131   MEDINA MORALES, NITZA E                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74291                 $ 57,324.00
      B15 ESTANCIAS DE CIBUCO
      COROZAL, PR 00783

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
132   MEDINA MORENO, LITZY                                                                    6/13/2018      17 BK 03566-LTS Employees Retirement System of the             74149                $ 90,000.00*
      HC 05 BOX 5801                                                                                                         Government of the Commonwealth
      JUANA DIAZ, PR 00795                                                                                                   of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
133   MEDINA PAGAN, ANGEL                                                                      6/6/2018      17 BK 03566-LTS Employees Retirement System of the             49346             Undetermined*
      PO BOX 1708                                                                                                            Government of the Commonwealth
      LARES, PR 00669                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 22 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
134   MEDINA PEREZ, OSCAR                                                                      6/5/2018      17 BK 03566-LTS Employees Retirement System of the             46396                 $ 18,000.00
      URB CULEBRINAS CEDRO J-31                                                                                              Government of the Commonwealth
      SAN SEBASTIAN, PR 00685                                                                                                of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
135   MEDINA RIOS, NATHANAEL                                                                  5/29/2018      17 BK 03566-LTS Employees Retirement System of the             25040             Undetermined*
      HC 02 BOX 13419                                                                                                        Government of the Commonwealth
      GURABO, PR 00778                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
136   MEDINA RIVERA, AIDA L                                                                   6/29/2018      17 BK 03566-LTS Employees Retirement System of the             81067             Undetermined*
      CALLE HUNGRIA DN-22 SEC 10                                                                                             Government of the Commonwealth
      URB SANTA JUANITA                                                                                                      of Puerto Rico
      BAYAMON, PR 00956

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
137   MEDINA RIVERA, LITZBETH M                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69508             Undetermined*
      HC 73 BOX 4520
      NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
138   MEDINA ROQUE, REBECA                                                                    6/15/2018      17 BK 03566-LTS Employees Retirement System of the             87766                 $ 1,245.00*
      URB RIO CRISTAL                                                                                                        Government of the Commonwealth
      CALLE BALBINO TRINTA 9232                                                                                              of Puerto Rico
      MAYAGUEZ, PR 00680

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
139   MEDINA RUIZ, ARTURO                                                                     4/10/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                     6946                $ 396,692.51
      PO BOX 360755
      SAN JUAN, PR 00936

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 23 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
140   MEDINA SANCHEZ, JOSE I.                                                                 5/29/2018      17 BK 03566-LTS Employees Retirement System of the             39264                 $ 40,000.00
      URB. PALACIOS DEL SOL #80                                                                                              Government of the Commonwealth
      HUMACAO, PR 00791                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
141   MEDINA SANTANA, DINA                                                                    5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    26650             Undetermined*
      PO BOX 1612
      JUANA DIAZ, PR 00795

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
142   MEDINA SANTANA, WALDO                                                                   6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    77561             Undetermined*
      PASEO DEL REY APT1703
      BOULEVAR MIGUEL A. POE
      PONCE, PR 00716

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
143   MEDINA SANTIAGO, JESSIE ANN                                                             6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71696             Undetermined*
      SUREÑA 10, VÍA DESTELLO
      CAGUAS, PR 00727

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
144   MEDINA SANTOS, ADRIO E.                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    70247             Undetermined*
      BOX 73
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
145   MEDINA SANTOS, ADRIO E.                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    70608             Undetermined*
      BOX. 73
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
146   MEDINA SANTOS, EDNA N                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75346             Undetermined*
      HC1 BOX 5452
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 24 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
147   MEDINA SANTOS, EDNA N.                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    64317             Undetermined*
      HC1 BOX 5452
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
148   MEDINA SANTOS, IDIA M.                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71731             Undetermined*
      HC1 BOX. 5452
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
149   MEDINA SANTOS, IDIA M.                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    64605             Undetermined*
      HC1 BOX. 5452
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
150   MEDINA SOSA, EDGARDO                                                                    5/17/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    11762             Undetermined*
      HC-01 BOX 10165
      SAN SEBASTIAN, PR 00685

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
151   MEDINA TORO, YOLANDA                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65762             Undetermined*
      HC 08 BOX 195
      BO MARUENO
      PONCE, PR 00731-9703

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
152   MEDINA TORO, YOLANDA                                                                    6/28/2018      17 BK 03566-LTS Employees Retirement System of the             67977             Undetermined*
      HC 08 BOX 195                                                                                                          Government of the Commonwealth
      BO MARUENO                                                                                                             of Puerto Rico
      PONCE, PR 00731-9703

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 25 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
153   MEDINA TORRES, NILDA                                                                     6/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    49233             Undetermined*
      EXT EL PRADO
      63 CALLE JOSEFA BAEZ
      AGUADILLA, PR 00603

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
154   MEDINA VARELA, MARISOL                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65677                  $ 6,000.00
      RR-5 BOX 8254
      TOA ALTA, PR00953

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
155   MEDINA VARELA, MARISOL                                                                  6/29/2018      17 BK 03566-LTS Employees Retirement System of the             83831                $ 75,000.00*
      RR5 8254                                                                                                               Government of the Commonwealth
      TOA ALTA, PR00953-7825                                                                                                 of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
156   MEDINA, RAUL MEDINA                                                                      6/6/2018      17 BK 03566-LTS Employees Retirement System of the             35617             Undetermined*
      HC03 BOX 33811                                                                                                         Government of the Commonwealth
      HATILLO, PR 00659-9611                                                                                                 of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
157   MEDINA, YARITZA                                                                         6/29/2018      17 BK 03566-LTS Employees Retirement System of the             75225                 $ 75,000.00
      46 URB VILLA BETANIA                                                                                                   Government of the Commonwealth
      AGUADILLA, PR 00603                                                                                                    of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
158   MEDINA-IRIZARRY, MIGDALIA                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    99177                  $ 2,000.00
      S-19 MONTREAL
      CAGUAS NORTE
      CAGUAS, PR 00725-2238

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 26 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
159   MEDINA-RAMOS, LUISA                                                                     6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    64925                  $ 3,000.00
      325 RUIZ BELVIS
      SAN JUAN, PR 00915

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
160   MEJIAS MARTINEZ, GLORIA M.                                                              5/29/2018      17 BK 03566-LTS Employees Retirement System of the             40961                 $ 75,000.00
      5425 CALLE SURCO                                                                                                       Government of the Commonwealth
      HACIENDA LA MATILDE                                                                                                    of Puerto Rico
      PONCE, PR 00728-2444

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
161   MEJIAS FELICIANO , YOLANDA                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    77183             Undetermined*
      RR 1 BOX 37368
      SAN SEBASTIAN, PR 00685

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
162   MEJIAS LEBRON, ROSA E.                                                                  6/29/2018      17 BK 03566-LTS Employees Retirement System of the             89168                $ 48,943.11*
      HC-7 BOX 71032                                                                                                         Government of the Commonwealth
      SAN SEBASTIAN, PR 00685                                                                                                of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
163   MEJIAS MUNIZ, YOLANDA                                                                   6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    94580                  $ 6,000.00
      BZN. 303-A BO. GUANIQUILLA
      AGUADA, PR 00602

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
164   MEJIAS SANTIAGO, MELANIE                                                                 6/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    52081             Undetermined*
      PO BOX 279
      JAYUYA, PR 00664

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 27 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
165   MEJIAS VARGAS, OLGA M.                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76517             Undetermined*
      HC -01 BOX 6225
      HATILLO, PR 00659

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
166   MEJIAS VELAZQUEZ, ESTHER                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    66528             Undetermined*
      HC-11 BOX 47534
      CAGUAS, PR 00725

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
167   MELECIO VEGA, VIRNA L                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74295             Undetermined*
      URB LOS MONTES CALLE RUISEÑOR 265
      DORADO, PR 00646

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
168   MELEDY VEGA ECHEVARRIA                                                                   7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68516             Undetermined*
      HC 4 BOX 55201
      MOROVIS, PR 00687

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
169   MELENDEZ ARUZ, AGNES Y.                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    67350                $ 10,000.00*
      CALLE JOGLAR HERRERA #349
      URBANIZACION HERMANAS DAVILA
      BAYAMON, PR 00959

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
170   MELENDEZ BARBOSA, YARITZA M.                                                            6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    63796                 $ 26,101.19
      URB. RIVIERAS DE CUPEY
      E5 CALLE ACERINA
      SAN JUAN, PR 00926

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 28 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
171   MELENDEZ BARTHOLOMEY, DAMARI                                                            6/29/2018      17 BK 03566-LTS Employees Retirement System of the             99304                 $ 6,100.00*
      2613 PASEO AGUILA                                                                                                      Government of the Commonwealth
      URB LEVITTOWN                                                                                                          of Puerto Rico
      TOA BAJA, PR 00949

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
172   MELENDEZ BURGADO, MINERVA                                                               6/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    95801                  $ 2,000.00
      HC-73 BOX 5625
      CAYEY, PR00736

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
173   MELENDEZ BURGOS, RAFAEL                                                                 6/28/2018      17 BK 03566-LTS Employees Retirement System of the             73565                $ 100,000.00
      URB. JARDINES DE COUNTRY CLUB                                                                                          Government of the Commonwealth
      CALLE 125 BW-7                                                                                                         of Puerto Rico
      CAROLINA, PR 00983

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
174   MELENDEZ CABRERA, AGUSTIN                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74635                $ 12,000.00*
      URB. MANSIONES DE CAROLINA
      NN9 CALLE ALMIRANTE
      CAROLINA, PR 00987

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
175   MELENDEZ CABRERA, ANGEL                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72563                $ 10,000.00*
      URB. PASEO ALTA VISTA
      RR3 BOX 53037
      TOA ALTA, PR00953

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
176   MELENDEZ CABRERA, MIRIAM V                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    67251                $ 15,600.00*
      URB. BELLA VISTA I-30 CALLE 7
      BAYAMON, PR 00957

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 29 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
177   MELENDEZ CALDERON, EVA L                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69639                $ 365,000.00
      9001 HIGHWAY21 412
      PORT WENTWORTH, GA 31407

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
178   MELENDEZ CASTILLO, LIZETTE                                                              5/23/2018      17 BK 03566-LTS Employees Retirement System of the             45190                 $ 25,236.85
      AVE.LUIS VIGOREAUX 1500 APT J-103                                                                                      Government of the Commonwealth
      GUAYNABO, PR 00966                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
179   MELENDEZ DELGADO, MARIA C                                                               5/23/2018      17 BK 03566-LTS Employees Retirement System of the             21955                $ 38,405.16*
      HC 2 BOX 14066                                                                                                         Government of the Commonwealth
      GUARABO, PR 00778                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
180   MELENDEZ ENCARNACION, CARLOS RUBEN                                                       6/5/2018      17 BK 03566-LTS Employees Retirement System of the             55943                 $ 75,000.00
      #160 JOSE. J ACOSTA                                                                                                    Government of the Commonwealth
      FAJARDO, PR 00738                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
181   MELENDEZ GONZALEZ, MILAGROS CARMEN                                                      6/20/2018      17 BK 03566-LTS Employees Retirement System of the             75766                $ 55,894.17*
      REPARTO VALENCIANO                                                                                                     Government of the Commonwealth
      H3 CALLE C                                                                                                             of Puerto Rico
      JUNCOS, PR 00777

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
182   MELENDEZ GUZMAN, ANA JULIA                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    91404                 $ 6,000.00*
      RR 2 BUZON 118
      SAN JUAN, PR 00926

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
183   MELENDEZ GUZMAN, ANA JULIA                                                              6/29/2018      17 BK 03566-LTS Employees Retirement System of the             91406                $ 24,500.00*
      RR 2 BUZON 118                                                                                                         Government of the Commonwealth
      SAN JUAN, PR 00926                                                                                                     of Puerto Rico


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 30 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
184   MELENDEZ JIMENEZ, ESMERALDA                                                             6/28/2018      17 BK 03566-LTS Employees Retirement System of the             88257                $ 43,662.87*
      AY-1 CALLE 45 URB SANTA TERESITA                                                                                       Government of the Commonwealth
      BAYAMON, PR 00961                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
185   MELENDEZ LOPEZ, ISMAEL                                                                  6/13/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    79604             Undetermined*
      PO BOX 659
      VILLALBA, PR 00766

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
186   MELENDEZ LOPEZ, ISMAEL                                                                  6/13/2018      17 BK 03566-LTS Employees Retirement System of the             81122                $ 49,260.46*
      PO BOX 659                                                                                                             Government of the Commonwealth
      VILLALBA, PR 00766                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
187   MELENDEZ MARTINEZ, ELBA I.                                                              3/19/2018      17 BK 03566-LTS Employees Retirement System of the              3256                 $ 13,000.00
      SAN DAMIAN 1366 ALTA M                                                                                                 Government of the Commonwealth
      SAN JUAN, PR 00921                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
188   MELENDEZ MEDINA, MARIA I                                                                5/29/2018      17 BK 03566-LTS Employees Retirement System of the             41093                 $ 53,800.00
      V21 CALLE 21                                                                                                           Government of the Commonwealth
      TOA ALTA HEIGHTS                                                                                                       of Puerto Rico
      TOA ALTA, PR00953

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 31 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
189   MELENDEZ MELENDEZ, JOSE M                                                               6/29/2018      17 BK 03566-LTS Employees Retirement System of the             96921                $ 35,000.00*
      PO BOX 660                                                                                                             Government of the Commonwealth
      BARRANQUITAS, PR 00794                                                                                                 of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
190   MELENDEZ MELENDEZ, JOSE M.                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    101811               $ 35,000.00*
      PO BOX 660
      BARRANQUITAS, PR 00794

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
191   MELENDEZ MONTALVO, AXEL A.                                                              6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68265             Undetermined*
      ESTANCIAS DE YAUCO B-4
      CALLE ZAFIRO
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
192   MELENDEZ MORALES, JOSELI                                                                5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    34405             Undetermined*
      URB. REXVILLE
      CA-6 CALLE 13
      BAYAMON, PR 00957

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
193   MELENDEZ MORALES, JOSELI                                                                5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    34415             Undetermined*
      URB. REXVILLE
      CA-6 CALLE 13
      BAYAMON, PR 00957

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
194   MELENDEZ MORALES, JOSELI                                                                5/29/2018      17 BK 03566-LTS Employees Retirement System of the             34403             Undetermined*
      URB. REXVILLE                                                                                                          Government of the Commonwealth
      CA-6 CALLE 13                                                                                                          of Puerto Rico
      BAYAMON, PR 00957

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 32 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
195   MELENDEZ MORALES, JOSELI                                                                5/29/2018      17 BK 03566-LTS Employees Retirement System of the             34409             Undetermined*
      URB. REXVILLE                                                                                                          Government of the Commonwealth
      CA-6 CALLE 13                                                                                                          of Puerto Rico
      BAYAMON, PR 00957

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
196   MELENDEZ MUNIZ , YANEISSA                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    64626                  $ 2,400.00
      COOP LOS ROBLES APT 315 B
      SAN JUAN, PR 00927

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
197   MELENDEZ MUNIZ, YANEISSA                                                                6/29/2018      17 BK 03566-LTS Employees Retirement System of the             80796             Undetermined*
      COOP LOS ROBLES APT 315 B                                                                                              Government of the Commonwealth
      SAN JUAN, PR 00927                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
198   MELENDEZ NEGRON, MARY R.                                                                 6/8/2018      17 BK 03566-LTS Employees Retirement System of the             62595                $ 96,214.34*
      P.O. BOX 7786                                                                                                          Government of the Commonwealth
      PONCE, PR 00723                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
199   MELENDEZ OTERO, NILSA N.                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68894             Undetermined*
      CALLE PORFIRIO RIVERA 207
      PUGNADO AFUERA
      VEGA BAJA, PR 00693

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
200   MELENDEZ PADILLA, ISABELO                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72602             Undetermined*
      839 CALLE ANASCO
      APTO. 1625
      SAN JUAN, PR 00925

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 33 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
201   MELENDEZ RAMOS, MIRIAM                                                                  5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    43667                 $ 22,000.00
      URB TIBES
      CALLE GIUAGNIA B2
      PONCE, PR 00730

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
202   MELENDEZ RAMOS, ROSARIO                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75874             Undetermined*
      NUM. 1702
      CALLE VICTORIA
      SAN JUAN, PR 00909

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
203   MELENDEZ REYES, NYDIA JANNETTE                                                           6/7/2018      17 BK 03566-LTS Employees Retirement System of the             49395             Undetermined*
      VISTA MONTE                                                                                                            Government of the Commonwealth
      URB VISTA MONTE CALLE 2 A 25                                                                                           of Puerto Rico
      CIDRA, PR 00739

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
204   MELÉNDEZ RIVERA, ANA L.                                                                 6/29/2018      17 BK 03566-LTS Employees Retirement System of the             71067             Undetermined*
      C/PARIS #243                                                                                                           Government of the Commonwealth
      PMB 1340 HATO REY                                                                                                      of Puerto Rico
      SAN JUAN, PR 00917

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
205   MELENDEZ RIVERA, IVETTE                                                                 5/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    27710             Undetermined*
      URB. SANTA ROSA
      E 27 CALLE NEISY
      CAGUAS, PR 00725

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
206   MELENDEZ RIVERA, JOEL D                                                                 5/23/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    25373                $ 40,000.00*
      URB VERDE MAR
      C-39 #925 PTA STGO
      HUMACAO, PR 00741

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 34 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
207   MELENDEZ RIVERA, ROSA JULIA                                                             6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    82174             Undetermined*
      CALLE PUERTO RICO
      URB. LAS ANTILLAS E-27
      SALINAS, PR 00751-1606

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
208   MELENDEZ RIVERA, ROSA JULIA                                                             6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    82724             Undetermined*
      CALLE PUERTO RICO
      URB. LAS ANTILLAS E-27
      SALINAS, PR 00751-1606

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
209   MELENDEZ RODRIGUEZ, FRANCES                                                             5/29/2018      17 BK 03566-LTS Employees Retirement System of the             30713                 $ 67,172.74
      URB. MONTE BRISAS                                                                                                      Government of the Commonwealth
      CALLE S - O -13                                                                                                        of Puerto Rico
      FAJARDO, PR 00738

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
210   MELENDEZ RODRIGUEZ, OLGA I                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    81714                 $ 30,000.00
      211 PASEO DEL PRINCIPE
      PONCE, PR 00716

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
211   MELENDEZ SIERRA, ELIVETTE                                                               6/28/2018      17 BK 03566-LTS Employees Retirement System of the             65901             Undetermined*
      CIUDAD REAL 642                                                                                                        Government of the Commonwealth
      CALLE ASIS                                                                                                             of Puerto Rico
      VEGA BAJA, PR 00693

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
212   MELÉNDEZ SILVAGNOLI, GERARDO JAVIER                                                     6/29/2018      17 BK 03566-LTS Employees Retirement System of the             103596                 $ 6,100.00
      HC 06 BOX 4609                                                                                                         Government of the Commonwealth
      COTO LAUREL, PR 00780                                                                                                  of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 35 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
213   MELENDEZ VALENTIN, JANETTE                                                              6/30/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    87464                 $ 33,150.26
      PO BOX 612
      VEGA BAJA, PR 00693

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
214   MELENDEZ VALLE, SONIA                                                                   6/27/2018      17 BK 03566-LTS Employees Retirement System of the             103058               $ 52,168.00*
      COLINAS DEL OESTE                                                                                                      Government of the Commonwealth
      CALLE 11 I-22                                                                                                          of Puerto Rico
      HORMIGUEROS, PR 00660

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
215   MELENDEZ VELEZ, MARIBEL                                                                 6/29/2018      17 BK 03566-LTS Employees Retirement System of the             81648             Undetermined*
      HC02 BOX 11442                                                                                                         Government of the Commonwealth
      LAJAS, PR 00667                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
216   MELENDEZ, MILINES RODRIGUEZ                                                             5/30/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    25761             Undetermined*
      BO. LINEA CAPO PARCELA
      HC 02 BOX 4469
      GUAYAMA, PR 00784

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
217   MELENDEZ, ROSA                                                                          5/25/2018      17 BK 03566-LTS Employees Retirement System of the             35141             Undetermined*
      BO. VEGAS CARR.743 C/GREGORIO RIOS BZN 26014                                                                           Government of the Commonwealth
      CAYEY, PR00736                                                                                                         of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
218   MELENDEZ, YARITZA                                                                       6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    70928                 $ 24,000.00
      HC 01 BOX 24072
      CAGUAS, PR 00725

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
219   MELENDEZ, ZIARA                                                                         6/29/2018      17 BK 03566-LTS Employees Retirement System of the             107371               $ 15,120.00*
      #14 CALLE F SANTA ROSA                                                                                                 Government of the Commonwealth
      HATILLO, PR 00659                                                                                                      of Puerto Rico


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 36 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
220   MELIZZA A JIMENEZ RUIZ                                                                   5/2/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                     8336             Undetermined*
      P O BOX 3181
      RIO GRANDE, PR 00745

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
221   MELLOT RODRIGUEZ, CYBELE                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72729                  $ 5,830.00
      CALLE 9 F3
      URBANIZACION VILLA MATILDE
      TOA ALTA, PR00953

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
222   MENA LAUREANO, HAYDEE                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    91269                $ 10,000.00*
      CALLE 23 D 46
      COLINAS DE MONTECARLO
      SAN JUAN, PR 00924

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
223   MENAY JORGE, FELICITA                                                                   6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    62333             Undetermined*
      URB. LA QUINTA G-1 CALLE VERSACE
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
224   MENDEZ ACOSTA, BRUNILDA                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71872             Undetermined*
      38 PASEO SAN FELIPE
      ARECIBO, PR 00612

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
225   MENDEZ BONET, YAZMIN                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    64606                 $ 22,500.00
      HC 03 BOX 6249
      RINCON, PR 00677

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 37 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
226   MENDEZ BONILLA, ARACELIS                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    64490             Undetermined*
      LOMAS VERDES PLATINO # 526
      MOCA, PR 00676

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
227   MENDEZ BONILLA, ARELIS                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    70909             Undetermined*
      LOMAS VERDES PLATINO #527
      MOCA, PR 00676

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
228   MENDEZ BONILLA, ARELIS                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75868             Undetermined*
      LOMAS VERDES, CALLE PLATINO #527
      MOCA, PR 00676

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
229   MENDEZ BONILLA, ARELIS                                                                  6/29/2018      17 BK 03566-LTS Employees Retirement System of the             79381             Undetermined*
      LORNAS VERDES PLATINO #527                                                                                             Government of the Commonwealth
      MOCA, PR 00676                                                                                                         of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
230   MENDEZ CALDERON, ANA IRMA                                                               6/29/2018      17 BK 03566-LTS Employees Retirement System of the             85917                 $ 14,842.32
      1 C. PRINCIPAL #178                                                                                                    Government of the Commonwealth
      CONDOMINIO VILLAS DEL SOL                                                                                              of Puerto Rico
      TRUJILLO ALTO, PR 00976

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
231   MENDEZ CHAPANO, LUIS GERMAN                                                              6/8/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68360             Undetermined*
      HC-04 BOX 14956
      MOCA, PR 00676

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 38 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
232   MENDEZ CORDERO, JESUS                                                                    5/4/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    12942             Undetermined*
      PO BOX 2569
      MOCA, PR 00676

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
233   MENDEZ CORDERO, NANCY                                                                   6/19/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56514             Undetermined*
      HC 03 BOX 15805
      QUEBRADILLAS, PR 00678

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
234   MENDEZ COTTO, JANET                                                                     6/22/2018      17 BK 03566-LTS Employees Retirement System of the             49888                      $ 39.71
      316-B CALLE 37-A                                                                                                       Government of the Commonwealth
      SAN JUAN, PR 00924                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
235   MENDEZ COTTO, JANET                                                                     6/22/2018      17 BK 03566-LTS Employees Retirement System of the             80870                       $ 0.00
      316-B CALLE 37-A                                                                                                       Government of the Commonwealth
      SAN JUAN, PR 00924                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
236   MENDEZ COTTO, JORGE L                                                                    5/3/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                     8641                $ 360,000.00
      78 CALLE PADIAL
      CAGUAS, PR 00725

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
237   MENDEZ CRUZ, ROSAURO                                                                    6/29/2018      17 BK 03566-LTS Employees Retirement System of the             79093             Undetermined*
      URB VENTURINI                                                                                                          Government of the Commonwealth
      A10 CALLE 2                                                                                                            of Puerto Rico
      SAN SEBASTIAN, PR 00685-2713

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 39 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
238   MENDEZ FIGUEROA, MIGDALIA                                                                6/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    47270             Undetermined*
      PO BOX 557
      LAS MARIAS, PR 00670

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
239   MENDEZ GARCIA, EMELY                                                                    6/28/2018      17 BK 03566-LTS Employees Retirement System of the             71353                 $ 33,901.75
      HC 2 BOX 7170                                                                                                          Government of the Commonwealth
      OROCOVIS, PR 00720                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
240   MENDEZ GONZALEZ, EFRAIN                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    78816             Undetermined*
      URB. VILLA LINDA #77
      AGUADILLA, PR 00603

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
241   MENDEZ GONZALEZ, ROBERTO                                                                5/24/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    27909             Undetermined*
      HC 1 BOX 5881
      MOCA, PR 00676

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
242   MENDEZ HERNANDEZ, AZAIAS                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    77545                $ 40,000.00*
      PO BOX 2857
      MOCA, PR 00676

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
243   MENDEZ LIZARDI, MARISELA B                                                               6/1/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    45841             Undetermined*
      A 23 BELEN
      CAGUAS, PR 00725

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 40 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
244   MENDEZ LIZARDI, MARISELA B.                                                              6/1/2018      17 BK 03566-LTS Employees Retirement System of the             35839             Undetermined*
      CAGUAS NORTE A-23                                                                                                      Government of the Commonwealth
      CALLE BELEN                                                                                                            of Puerto Rico
      CAGUAS, PR 00725

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
245   MENDEZ LUNA, KATIA L                                                                    8/29/2017      17 BK 03283-LTS Commonwealth of Puerto Rico                      90                 $ 120,000.00
      HC 4 BOX 17257
      CAMUY, PR 00627

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
246   MENDEZ MARTINEZ, RAFAEL                                                                  6/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    47106             Undetermined*
      URB JESUS M LAGO
      B 14
      UTUADO, PR 00641

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
247   MENDEZ MARTINEZ, RAFAEL                                                                  6/5/2018      17 BK 03566-LTS Employees Retirement System of the             60234             Undetermined*
      URB JESUS M LAGO                                                                                                       Government of the Commonwealth
      B14                                                                                                                    of Puerto Rico
      UTUADO, PR 00641

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
248   MENDEZ MENDEZ, JOSE                                                                     6/29/2018      17 BK 03566-LTS Employees Retirement System of the             82676                 $ 80,000.00
      53 ESTE MUNOZ RIVERA STREET                                                                                            Government of the Commonwealth
      CAMUY, PR 00627                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
249   MENDEZ MENDEZ, PEDRO E                                                                  4/17/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                     9398             Undetermined*
      HC 5 BOX 10626
      BO CUCHILLAS
      MOCA, PR 00676

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 41 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
250   MENDEZ MERCADO, ANASTACIA                                                               6/29/2018      17 BK 03566-LTS Employees Retirement System of the             98193                $ 60,000.00*
      20600 CALLE DE JESUS SANCHEZ                                                                                           Government of the Commonwealth
      QUEBRADILLAS, PR 00678                                                                                                 of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
251   MENDEZ MERCADO, MARIA                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74723             Undetermined*
      URB RIO CANAS
      2748 CALLE LA SALLE
      PONCE, PR 00728

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
252   MENDEZ MIRANDA, SONIA I                                                                 5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    31610             Undetermined*
      PO BOX 248
      ANASCO, PR 00610

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
253   MENDEZ MUNIZ, RAFAEL                                                                    6/25/2018      17 BK 03566-LTS Employees Retirement System of the             89001                 $ 56,000.00
      HC 04 BOX 11128                                                                                                        Government of the Commonwealth
      MOCA, PR 00676                                                                                                         of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
254   MENDEZ NIEVES, JAHAIRA E                                                                6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    88382                  $ 2,000.00
      CARR. 444 INT 434 PO BOX 1659
      MOCA, PR 00676

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
255   MENDEZ NIEVES, JAHAIRA E.                                                               6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    94656                 $ 25,000.00
      CARR. 444 INT. 434
      PO BOX 1659
      MOCA, PR 00676

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 42 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
256   MENDEZ NIEVES, OLGA I                                                                   6/29/2018      17 BK 03566-LTS Employees Retirement System of the             77963                 $ 66,000.00
      CALLE 1 # A-19 URB COLINAS VERDE                                                                                       Government of the Commonwealth
      SAN JUAN, PR 00924                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
257   MENDEZ NIEVES, SARA H.                                                                  6/29/2018      17 BK 03566-LTS Employees Retirement System of the             91274                 $ 62,000.00
      CALLE 1 # A-19                                                                                                         Government of the Commonwealth
      URB COLINAS VERDES                                                                                                     of Puerto Rico
      SAN JUAN, PR 00924

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
258   MENDEZ PEÑA, CARMEN I                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    66541                 $ 24,424.00
      URB. VILLA RITA CALLE-9 G-4
      SAN SEBASTIAN, PR 00685

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
259   MENDEZ PEREZ, SARA H                                                                     5/9/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    12593             Undetermined*
      URB MEDINA
      B 20 CALLE 3
      ISABELA, PR 00662

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
260   MENDEZ PEREZ, SONIA I                                                                   6/28/2018      17 BK 03566-LTS Employees Retirement System of the             67061                 $ 40,000.00
      PO BOX 54                                                                                                              Government of the Commonwealth
      AGUADA, PR 00602                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
261   MENDEZ POMALES, DAVID                                                                    6/5/2018      17 BK 03566-LTS Employees Retirement System of the             56413                 $ 75,000.00
      HC 67 BOX 16640                                                                                                        Government of the Commonwealth
      FAJARDO, PR 00738                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 43 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
262   MENDEZ PONALES, DAVID                                                                    6/5/2018      17 BK 03566-LTS Employees Retirement System of the             59911                 $ 75,000.00
      HC 67 BOX 16640                                                                                                        Government of the Commonwealth
      FAJARDO, PR 00738                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
263   MENDEZ PONCE, AILEEN                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75909             Undetermined*
      P.O. BOX 1310
      BAJADERO, PR 00616

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
264   MENDEZ QUINONES, MARISEL                                                                5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    34456             Undetermined*
      HC 2 BOX 20663
      AGUADILLA, PR 00603

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
265   MENDEZ QUINONES, RAFAEL                                                                  6/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    58749             Undetermined*
      URBANIZACION BRISAS DE CAMUY I-9
      CAMUY, PR 00627

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
266   MENDEZ QUINONES, RAFAEL                                                                  6/5/2018      17 BK 03566-LTS Employees Retirement System of the             48469             Undetermined*
      URBANIZACION BRISAS DE CAMUY I-9                                                                                       Government of the Commonwealth
      CAMUY, PR 00627                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
267   MENDEZ RIOS, NORMA                                                                       7/3/2018      17 BK 03566-LTS Employees Retirement System of the             93167                 $ 30,388.90
      PO BOX 2146                                                                                                            Government of the Commonwealth
      AGUADILLA, PR 00605                                                                                                    of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 44 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
268   MENDEZ RIVERA, HECTOR                                                                   6/15/2018      17 BK 03566-LTS Employees Retirement System of the             86012                 $ 49,485.96
      HC02 BOX 22210                                                                                                         Government of the Commonwealth
      BO PALMAR                                                                                                              of Puerto Rico
      AGUADILLA, PR 00603

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
269   MENDEZ RIVERA, HECTOR M                                                                 6/15/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    85460                 $ 49,485.96
      HC02 BOX 22210 BO PALMAR
      AGUADILLA, PR 00603

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
270   MENDEZ RODRIGUEZ, MILLYVEL                                                              6/15/2018      17 BK 03566-LTS Employees Retirement System of the             61657             Undetermined*
      416 CALLE A CRUZ ZAPATA                                                                                                Government of the Commonwealth
      LAS MARIAS, PR 00670-2803                                                                                              of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
271   MENDEZ ROMAN, HECTOR                                                                    6/28/2018      17 BK 03566-LTS Employees Retirement System of the             71217             Undetermined*
      BOX 8076                                                                                                               Government of the Commonwealth
      HC03                                                                                                                   of Puerto Rico
      LARES, PR 00669

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
272   MÉNDEZ ROMÁN, HÉCTOR                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    67305             Undetermined*
      HC03 BUZÓN 8076
      BO. ESPINO
      LARES, PR 00669

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
273   MENDEZ ROSADO, BRENDA L                                                                 6/29/2018      17 BK 03566-LTS Employees Retirement System of the             82134                $ 42,746.91*
      HC - 77 BOX 8519                                                                                                       Government of the Commonwealth
      VEGA ALTA, PR00692                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 45 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
274   MENDEZ ROSADO, BRENDA L                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69451                 $ 3,000.00*
      HC-77 BOX 8519
      VEGA ALTA, PR00692

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
275   MENDEZ SANTIAGO, JOSE E                                                                 3/14/2018      17 BK 03566-LTS Employees Retirement System of the              2723             Undetermined*
      65 CALLE PILAR DEFILLO                                                                                                 Government of the Commonwealth
      MAYAGUEZ, PR 00680-3604                                                                                                of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
276   MENDEZ SOTO, JULIO                                                                      6/11/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65004             Undetermined*
      456 CALLE JESUS RAMOS
      MOCA, PR 00676

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
277   MENDEZ TORRES, ELIADA                                                                   6/28/2018      17 BK 03566-LTS Employees Retirement System of the             66730                $ 717,494.40
      2439 OAK MILL DR.                                                                                                      Government of the Commonwealth
      KISSIMMEE, FL 34744                                                                                                    of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
278   MENDEZ VELEZ, GABRIEL                                                                    6/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    35279             Undetermined*
      49 CALLE CATALINA FIGUERAS
      UTUADO, PR 00641-3019

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
279   MENDEZ VELEZ, GABRIEL                                                                    6/6/2018      17 BK 03566-LTS Employees Retirement System of the             60531             Undetermined*
      #49 CATALINA FIGUEROAS                                                                                                 Government of the Commonwealth
      UTUADO, PR 00641                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 46 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
280   MENDEZ, DAVID LOPEZ                                                                     5/29/2018      17 BK 03566-LTS Employees Retirement System of the             57982             Undetermined*
      BARRIO CUATRO CALLE, LOS CANOS #1171                                                                                   Government of the Commonwealth
      PONCE, PR 00717                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
281   MENDEZ, EDUARDO HERNANDEZ                                                               11/21/2017     17 BK 03283-LTS Commonwealth of Puerto Rico                      338                $ 100,000.00
      PO BOX 1166 VICTORIA STATION
      AGUADILLA, PR 00605

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
282   MENDEZ, HILDA                                                                           6/29/2018      17 BK 03566-LTS Employees Retirement System of the             74178                  $ 5,000.00
      HC-09 BOX 5150                                                                                                         Government of the Commonwealth
      SABANA GRANDE, PR 00637                                                                                                of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
283   MENDOZA GARCIA, JESUS                                                                    4/4/2018      17 BK 03566-LTS Employees Retirement System of the              3600                 $ 1,528.82*
      URB PARK GDNS                                                                                                          Government of the Commonwealth
      A31 CALLE SEQUOYA                                                                                                      of Puerto Rico
      SAN JUAN, PR 00926-2210

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
284   MENDOZA RIVERA, LUZ E                                                                   6/18/2018      17 BK 03566-LTS Employees Retirement System of the             66251             Undetermined*
      HC 5 BOX 25438                                                                                                         Government of the Commonwealth
      CAMUY, PR 00627                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
285   MENDOZA RIVERA, LUZ E.                                                                  6/18/2018      17 BK 03566-LTS Employees Retirement System of the             66843             Undetermined*
      HC 5 BOX 25438                                                                                                         Government of the Commonwealth
      CAMUY, PR 00627                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 47 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
286   MENDOZA RIVERA, MARITZA J                                                               6/18/2018      17 BK 03566-LTS Employees Retirement System of the             72439                 $ 18,600.00
      HC 04 BOX 16317                                                                                                        Government of the Commonwealth
      CAMUY, PR 00627                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
287   MENDOZA TORRES, EMILIA ANDREA                                                            5/7/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    14176             Undetermined*
      516 LA MARARENA
      URB CITY PALACE
      NAGUABO, PR 00718

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
288   MENDOZA TORRES, YAZMINA                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    90329                 $ 15,000.00
      22 HACIENDA LA CIMA
      CIDRA, PR 00739

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
289   MENENDEZ GARCED, HENRY                                                                  6/29/2018      17 BK 03566-LTS Employees Retirement System of the             84214                       $ 1.00
      PO BOX 2792                                                                                                            Government of the Commonwealth
      JUNCOS, PR 00777                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
290   MENENDEZ PEREZ, ANGEL A.                                                                6/18/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72743             Undetermined*
      D-18
      CALLE 3
      URB. VALPARAISO
      TOA BAJA, PR 00949

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
291   MENENDEZ ROSARIO, CORALYS C                                                             5/30/2018      17 BK 03566-LTS Employees Retirement System of the              41110            Undetermined*
      URB ONEILL C18                                                                                                         Government of the Commonwealth
      MANATI, PR 00674                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 48 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
292   MENENDEZ VERA, MARIA                                                                    6/29/2018      17 BK 03566-LTS Employees Retirement System of the             91953                $ 75,000.00*
      831 MANANTIALES                                                                                                        Government of the Commonwealth
      MAYAGUEZ, PR 00680-2362                                                                                                of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
293   MERCADO , RAUL ABREU                                                                     6/7/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    61075             Undetermined*
      URB SOL Y MAR
      CALLE ARENA NUM 36
      ISABELA, PR 00662

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
294   MERCADO ALMODOVAR, CARLOS                                                               5/24/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    34972             Undetermined*
      URB VISTA MAR CALLE JB
      MORCILIO 10
      GUANICA, PR 00653

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
295   MERCADO ALOMAR, MAYRA E                                                                  5/7/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                     11197                $ 4,000.00*
      URBANIZACION
      JARDINES FAGOT CALLE 6 A-30
      PONCE, PR 00716

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
296   MERCADO APONTE, WANDA                                                                   5/10/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    12855             Undetermined*
      HC 4 BOX 5942
      BARRANQUITAS, PR 00794

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
297   MERCADO AYALA, EFRAIN                                                                   3/13/2018      17 BK 03566-LTS Employees Retirement System of the              2438                 $ 12,401.04
      URB FRANCISCO OLLER                                                                                                    Government of the Commonwealth
      F19 CALLE 4                                                                                                            of Puerto Rico
      BAYAMON, PR 00956-4407

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 49 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
298   MERCADO BONETA, ANDRES                                                                  5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    31841             Undetermined*
      P O BOX 335336
      PONCE, PR 00733-5356

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
299   MERCADO BONETA, ANDRES                                                                  5/25/2018      17 BK 03566-LTS Employees Retirement System of the             33345                 $ 67,704.68
      PO BOX 335336                                                                                                          Government of the Commonwealth
      PONCE, PR 00733-5336                                                                                                   of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
300   MERCADO BURGOS, JAVIER                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    67784                 $ 50,000.00
      HC 8 BUZON 89030
      SAN SEBASTIAN, PR 00685

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
301   MERCADO CABRERA, ANA L                                                                   6/5/2018      17 BK 03566-LTS Employees Retirement System of the             51564             Undetermined*
      HC 3 BOX 9789                                                                                                          Government of the Commonwealth
      BARRANQUITAS, PR 00794                                                                                                 of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
302   MERCADO CALERES, MIRIAM M.                                                              6/15/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    78885             Undetermined*
      HE 2, BOX 2055
      BOGUERON, PR 00622

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
303   MERCADO CORDERO, JOSE M.                                                                6/28/2018      17 BK 03566-LTS Employees Retirement System of the             69012             Undetermined*
      REPARTO SABANETAS CALLE1 H-6                                                                                           Government of the Commonwealth
      PONCE, PR 00716                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 50 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
304   MERCADO CORTÉS, DIANA L.                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    63984             Undetermined*
      PO BOX 1413
      VIEQUES, PR 00765

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
305   MERCADO CORTES, EDWIN                                                                   6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    83457                 $ 6,000.00*
      3140 CALLE TURPIAL
      VILLA DEL CARMEN
      PONCE, PR 00716

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
306   MERCADO CRUZ, HECTOR R                                                                  6/15/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71683                 $ 10,800.00
      PO BOX 454
      BAJADERO, PR 00616

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
307   MERCADO CRUZ, JOSE A                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71075                 $ 16,200.00
      3088 AVE. EMILIO FAGOT
      URB. SANTA CLARA
      PONCE, PR 00716-4117

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
308   MERCADO DEL TORO, ORLANDO                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65579             Undetermined*
      URB. ESTANCIAS DEL LAGO #191
      CAGUAS, PR 00725

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
309   MERCADO DOMENA, AWILDA                                                                  3/19/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                     3494             Undetermined*
      HC 7 BOX 12410
      ARECIBO, PR 00612-8629

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
310   MERCADO FELICIANO, NELSON                                                               6/15/2018      17 BK 03566-LTS Employees Retirement System of the             43210             Undetermined*
      URB. PASEO SOL Y MAR 515C/SIRENITA                                                                                     Government of the Commonwealth
      JUANA DIAZ, PR 00795                                                                                                   of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 51 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
311   MERCADO GARCIA, ELBA C.                                                                 6/28/2018      17 BK 03566-LTS Employees Retirement System of the             69475             Undetermined*
      RPTO. ANAIDA                                                                                                           Government of the Commonwealth
      G 3 CALLE 6                                                                                                            of Puerto Rico
      PONCE, PR 00716

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
312   MERCADO GARCIA, MARTHA J.                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    66777             Undetermined*
      URB. SAN FRANCISCO
      83 SAN MIGUEL
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
313   MERCADO GOTAY, RAFAEL J                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    79531                 $ 28,560.00
      GD 13 CALLE 201 COUNTRY CLUB CAROLINA
      CAROLINA, PR 00982

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
314   MERCADO LAMBERTY, TIFFANY                                                               3/19/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                     3678             Undetermined*
      ESTANCIAS DEL RIO
      430 GUAMANI
      HORMIGUEROS, PR 00660

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
315   MERCADO LUGO, JOHANNIE                                                                  6/29/2018      17 BK 03566-LTS Employees Retirement System of the             89120                $ 75,000.00*
      127 URB. PASEO PALMA REAL                                                                                              Government of the Commonwealth
      C. PALOMA K-5                                                                                                          of Puerto Rico
      JUNCOS, PR 00777

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
316   MERCADO LUGO, JOSE L                                                                    3/19/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                     2380             Undetermined*
      URB. ESTANCIAS DEL RIO GUAMANI
      #430
      HORMIGUEROS, PR 00660

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 52 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
317   MERCADO MARRERO, EFRAIN                                                                 5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    25967             Undetermined*
      PARCELAS CASTILLO
      C/ DOMINGO SIVA G-12
      MAYAGUEZ, PR 00680

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
318   MERCADO MARRERO, EFRAIN                                                                 5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    44075             Undetermined*
      PARCELAS CASTILLO
      DOMINGO SILVA G-12
      MAYAGUEZ, PR 00680

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
319   MERCADO MARTINEZ, DAMARIS                                                               6/20/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    90039                 $ 3,000.00*
      40 CONDOMINIO CAGUAS TOWER #1003
      CAGUAS, PR 00725-5634

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
320   MERCADO MARTINEZ, PEDRO L.                                                              7/13/2018      17 BK 03566-LTS Employees Retirement System of the             74679             Undetermined*
      PO BOX 1055                                                                                                            Government of the Commonwealth
      QUEBRADILLAS, PR 00678                                                                                                 of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
321   MERCADO MATOS, TERESA DE JESUS                                                           6/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    54208             Undetermined*
      PO BOX 304
      TRUJILLO ALTO, PR 00977-0304

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
322   MERCADO MIRANDA, JOSE R.                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    84383                 $ 30,000.00
      HC 59 BOX 6914
      AGUADA, PR 00602

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
323   MERCADO MIRANDA, WALTER                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    78533                 $ 30,000.00
      HC-59 BOX 6906
      AGUADA, PR 00602

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 53 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
324   MERCADO MONTALVO, MARIBELLE                                                             5/16/2018      17 BK 03566-LTS Employees Retirement System of the             17146             Undetermined*
      PO BOX 140631                                                                                                          Government of the Commonwealth
      ARECIBO, PR 00614                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
325   MERCADO MORALES, CAROLYN                                                                5/18/2018      17 BK 03566-LTS Employees Retirement System of the             17080             Undetermined*
      FINQUITAS DE BETANCES                                                                                                  Government of the Commonwealth
      66 CALLE ABUELITO                                                                                                      of Puerto Rico
      CABO ROJO, PR 00623

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
326   MERCADO MORALES, ERIC OMAR                                                               6/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69464             Undetermined*
      HC-37 BOX 4647
      GUANICA, PR 00653

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
327   MERCADO MORRERO, EFRAIN                                                                 5/29/2018      17 BK 03566-LTS Employees Retirement System of the             41800             Undetermined*
      PARCELAS CASTILLO                                                                                                      Government of the Commonwealth
      C/ DOMINGO SILVA G-12                                                                                                  of Puerto Rico
      MAYAGUEZ, PR 00680

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
328   MERCADO ORTIZ, ROSA M.                                                                  6/29/2018      17 BK 03566-LTS Employees Retirement System of the             103883               $ 75,769.31*
      P.O. BOX 9403                                                                                                          Government of the Commonwealth
      BAYAMON, PR 00960                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
329   MERCADO ORTIZ, VICTOR                                                                    7/6/2018      17 BK 03566-LTS Employees Retirement System of the             106219                $ 58,396.50
      BO HOYAMULA                                                                                                            Government of the Commonwealth
      HC 1 BZN 11123                                                                                                         of Puerto Rico
      SAN SEBASTIAN, PR 00685

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 54 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
330   MERCADO PAGAN, NESTOR                                                                    5/7/2018      17 BK 03566-LTS Employees Retirement System of the             10684             Undetermined*
      JARDINES FAGOT                                                                                                         Government of the Commonwealth
      A30 CALLE AMARANTA                                                                                                     of Puerto Rico
      PONCE, PR 00716

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
331   MERCADO PEREZ, ALEXANDER                                                                11/21/2017     17 BK 03283-LTS Commonwealth of Puerto Rico                      281                $ 100,000.00
      HC-3 BOX 9513
      MOCA, PR 00676

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
332   MERCADO QUILS, ANGEL MIGUEL                                                             6/18/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    50375             Undetermined*
      URB.VILLA MACHUELOS APARTAMENTO L1
      PONCE, PR 00730

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
333   MERCADO QUINONES, HAZEL J                                                                5/4/2018      17 BK 03566-LTS Employees Retirement System of the             10387                  $ 5,000.00
      PO BOX 591                                                                                                             Government of the Commonwealth
      SAN GERMAN, PR 00683                                                                                                   of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
334   MERCADO RAMOS, JOEL                                                                      5/2/2018      17 BK 03566-LTS Employees Retirement System of the             10054                $ 100,000.00
      21 JOHN F. KENNEDY                                                                                                     Government of the Commonwealth
      ADJUNTAS, PR 00601                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
335   MERCADO RIVERA, AMALIA                                                                  5/24/2018      17 BK 03566-LTS Employees Retirement System of the             28512             Undetermined*
      URB. CORALES C 4 CALLE 3                                                                                               Government of the Commonwealth
      HATILLO, PR 00659                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 55 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
336   MERCADO RIVERA, AMALIA                                                                  5/29/2018      17 BK 03566-LTS Employees Retirement System of the             32393             Undetermined*
      URB CORALES                                                                                                            Government of the Commonwealth
      CALLE 3 CASA 4                                                                                                         of Puerto Rico
      HATILLO, PR 00659

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
337   MERCADO RIVERA, MILITZA                                                                 8/31/2017      17 BK 03283-LTS Commonwealth of Puerto Rico                      116                       $ 0.00
      PALACIOS DEL RIO I
      NUMERO 507 CALLE GUANAJIBO
      TOA ALTA, PR00953

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
338   MERCADO RODRIGUEZ, CARMEN E                                                             5/29/2018      17 BK 03566-LTS Employees Retirement System of the             78905                   $ 500.00*
      RES VILLA ESPERANZA                                                                                                    Government of the Commonwealth
      1882 AVE EMILIANO POL                                                                                                  of Puerto Rico
      EDIF 15 APT 213
      SAN JUAN, PR 00926-5723

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
339   MERCADO RODRIGUEZ, GLENDA                                                               5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    29909             Undetermined*
      HC 05 BOX 54729
      MAYAGUEZ, PR 00680

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
340   MERCADO RODRIGUEZ, JAVIER                                                               5/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    30015             Undetermined*
      P.O. BOX 800693
      COTO LAUREL, PR 00780

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
341   MERCADO RODRIGUEZ, JAVIER                                                               5/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    29340             Undetermined*
      PO BOX 800693
      COTO LAUREL, PR 00780

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 56 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
342   MERCADO ROMAN, IVONNE                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    98400                 $ 75,000.00
      CALLE ROBLE 220 MAGINA
      SABANA GRANDE, PR 00637

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
343   MERCADO ROSA, DAMARIS                                                                   6/28/2018      17 BK 03566-LTS Employees Retirement System of the             69279             Undetermined*
      PO BOX 559                                                                                                             Government of the Commonwealth
      SAN ANTONIO, PR 00690                                                                                                  of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
344   MERCADO ROSARIO, RADOIKA                                                                 6/8/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    87297                $ 10,800.00*
      HC 019206
      BAJADERO, PR 00616

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
345   MERCADO RUIZ, JUAN A                                                                    3/29/2018      17 BK 03566-LTS Employees Retirement System of the              5301                 $ 45,000.00
      42265 C/ARCA DE NOE                                                                                                    Government of the Commonwealth
      QUEBRADILLAS, PR 00678                                                                                                 of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
346   MERCADO SALAMANCA, CARLOS A                                                             6/29/2018      17 BK 03566-LTS Employees Retirement System of the             110002               $ 69,000.00*
      PO BOX 2030                                                                                                            Government of the Commonwealth
      ISABELA, PR 00662                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
347   MERCADO SANCHEZ, DORIS                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74496             Undetermined*
      URB OREILLY
      67 CALLE 4
      GURABO, PR 00778

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 57 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
348   MERCADO SANCHEZ, KATHERINE                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68131             Undetermined*
      HC 67 BOX 18401
      FAJARDO, PR 00738

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
349   MERCADO SANCHEZ, LESLIE A                                                               5/29/2018      17 BK 03566-LTS Employees Retirement System of the             40757                $ 58,600.00*
      VALLE ARRIBA HEIGTHS                                                                                                   Government of the Commonwealth
      BP8 CALLE 109                                                                                                          of Puerto Rico
      CAROLINA, PR 00983

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
350   MERCADO SANCHEZ, ROSALY M                                                                6/8/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    80358             Undetermined*
      URB ALTAGRACIA
      K10 CALLE PALOMA
      TOA BAJA, PR 00949

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
351   MERCADO SANCHEZ, ROSALY M                                                                6/8/2018      17 BK 03566-LTS Employees Retirement System of the             73487             Undetermined*
      URB. ALTAGRACIAS K-10 PALOMA                                                                                           Government of the Commonwealth
      TOA BAJA, PR 00949                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
352   MERCADO SANTIAGO, EVELYN                                                                5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    41094             Undetermined*
      URB HERMANAS DAVILA
      E6 CALLE 4
      BAYAMON, PR 00959

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
353   MERCADO SANTIAGO, FELIX                                                                 5/30/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    38576             Undetermined*
      1 CALLE LAS MARIAS
      UTUADO, PR 00641

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 58 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
354   MERCADO TIRADO, YANIRA L                                                                5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    37507             Undetermined*
      URB HACIENDA PALOMA 1
      115 CALLE NIVAL
      LUQUILLO, PR 00773

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
355   MERCADO TORREGROSA, HARRY                                                                6/5/2018      17 BK 03566-LTS Employees Retirement System of the             57122                $ 63,954.68*
      6 PASTO COMUNAL                                                                                                        Government of the Commonwealth
      GUAYAMA, PR 00784                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
356   MERCADO TORRES, JOSE R.                                                                 5/22/2018      17 BK 03566-LTS Employees Retirement System of the             31192             Undetermined*
      62 BERNARDO GARCIA PORTALES DE CAROLINA APTO316 CONDOMINIO                                                             Government of the Commonwealth
      CAROLINA, PR 00985                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
357   MERCADO VALLE, GLORIA E.                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    87078                  $ 5,400.00
      5D RUTA 474
      ISABELA, PR 00662

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
358   MERCADO VARGAS, CARLOS A.                                                               6/26/2018      17 BK 03566-LTS Employees Retirement System of the             93480                $ 55,000.00*
      634 CALLE ASTURIAS                                                                                                     Government of the Commonwealth
      YAUCO, PR 00698                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
359   MERCADO VILLALBA, MARGARITA                                                              6/4/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    46051             Undetermined*
      PO BOX 1907
      FAJARDO, PR 00738-1907

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 59 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
360   MERCADO, AWILDA                                                                         6/29/2018      17 BK 03566-LTS Employees Retirement System of the             106438                $ 18,500.00
      P.O. BOX 56                                                                                                            Government of the Commonwealth
      LA PLATA, PR00786-0056                                                                                                 of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
361   MERCADO, DENISE                                                                         6/29/2018      17 BK 03566-LTS Employees Retirement System of the             90003                $ 70,000.00*
      COUNTRY CLUB CALLE 506, NUM. OJ-1                                                                                      Government of the Commonwealth
      CAROLINA, PR 00982                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
362   MERCADO, ELLIOT                                                                         6/28/2018      17 BK 03566-LTS Employees Retirement System of the             68959                 $ 12,000.00
      CALLE SOL 200                                                                                                          Government of the Commonwealth
      APT B-2                                                                                                                of Puerto Rico
      SAN JUAN, PR 00901

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
363   MERCADO, LUIS FELIPE                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    73581                 $ 16,500.00
      URB. LA ESPERANZA
      CALLE 16 S47
      VEGA ALTA, PR00692

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
364   MERCED AYALA, DEBORAH                                                                   5/24/2018      17 BK 03566-LTS Employees Retirement System of the             26519                 $ 22,787.79
      URB. STO IGLESIAS 1386                                                                                                 Government of the Commonwealth
      CALLE STGO. CARRERAS                                                                                                   of Puerto Rico
      SAN JUAN, PR 00921

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
365   MERCED LOPEZ, MARIA DE L                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    66289             Undetermined*
      PO BOX 778
      AGUAS BUENAS, PR 00703-0778

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 60 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
366   MERCED LOPEZ, OSVALDO L.                                                                5/30/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    42373             Undetermined*
      B-10 CALLE 11 JARD. GUAMANI
      GUAYAMA, PR 00784

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
367   MERCED MARTINEZ, JOSE A                                                                  6/5/2018      17 BK 03566-LTS Employees Retirement System of the             48298             Undetermined*
      PO BOX 417                                                                                                             Government of the Commonwealth
      GUAYNABO, PR 00970                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
368   MERCED MATEO, LUZ E.                                                                    6/29/2018      17 BK 03566-LTS Employees Retirement System of the             81732             Undetermined*
      PO BOX 705                                                                                                             Government of the Commonwealth
      GURABO, PR 00777                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
369   MERCED MATEO, MARIA A                                                                   5/18/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    16790             Undetermined*
      A-15 5 REPARTO SAN JOSE
      GURABO, PR 00778

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
370   MERCED ORTIZ, IRENE                                                                     6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    99435                 $ 9,000.00*
      J-12 CALLE 12 EL CORTIJO
      BAYAMON, PR 00956

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
371   MERCED PEREZ, CARMEN ZENAIDA                                                            6/29/2018      17 BK 03566-LTS Employees Retirement System of the             85961                 $ 34,915.68
      PO BOX 1761                                                                                                            Government of the Commonwealth
      CAGUAS, PR 00725                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 61 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
372   MERE VALERA, MARIA DE LOURDES                                                           6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76771             Undetermined*
      BIBLOS 639 VENUS GARDENS
      SAN JUAN, PR 00926

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
373   MERETTE PICHARDO, VILMA                                                                  7/3/2018      17 BK 03566-LTS Employees Retirement System of the             109818                $ 56,133.66
      URB JARDINES DE CAPARRA                                                                                                Government of the Commonwealth
      CALLE1 D-5                                                                                                             of Puerto Rico
      BAYAMON, PR 00959

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
374   MERLE CRUZ, JOSE                                                                        5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    27197                 $ 63,000.00
      HUB LAS TRINITARIAS 756
      AGUIRRE, PR 00704

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
375   MERLE FIGUEROA, BRENDA T.                                                               6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    105560                $ 70,475.38
      V24 CALLE ALASKA PARKVILLE
      GUAYNABO, PR 00969

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
376   MERLE RODRIGUEZ, NEYSA ENID                                                             5/29/2018      17 BK 03566-LTS Employees Retirement System of the             43083                $ 55,000.00*
      PO BOX 535                                                                                                             Government of the Commonwealth
      GUAYAMA, PR 00785                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
377   MERRITT YULFO, CHRIS C                                                                   4/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                     6608             Undetermined*
      PO BOX 613
      AGUADILLA, PR 00605

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 62 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
378   MERRITT YULFO, CHRIS C                                                                   4/6/2018      17 BK 03566-LTS Employees Retirement System of the              6607             Undetermined*
      PO BOX 613                                                                                                             Government of the Commonwealth
      AGUADILLA, PR 00605                                                                                                    of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
379   MEXCADO SANTIAGO, FELIX                                                                 5/30/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    24031             Undetermined*
      1 CALLE LAS MARIAS
      UTUADO, PR 00641

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
380   MEYER COMAS, MARIA C                                                                    5/16/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    15843             Undetermined*
      MATTEI LLUBERAS 36
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
381   MICTIL MENDEZ, GERARDO                                                                  5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    30242             Undetermined*
      CALLE SANTA CLARA
      NUM 1528
      COTO LAUREL, PR 00780-2513

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
382   MIELES ORTIZ, GILBERTO                                                                  6/28/2018      17 BK 03566-LTS Employees Retirement System of the             66720                 $ 60,000.00
      PO BOX 513                                                                                                             Government of the Commonwealth
      HATILLO, PR 00659-0513                                                                                                 of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
383   MIGDALIA MORALES RODRIGUEZ                                                              5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    31103             Undetermined*
      HC 70 BOX 49125
      SAN LORENZO, PR 00754-9068

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 63 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
384   MILAGROS IRIZARRY DE JESUS                                                              6/30/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68549             Undetermined*
      C CASTILLO 20
      PONCE, PR 00730

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
385   MILANES FIGUENA, JOSE                                                                   5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    40600             Undetermined*
      CL MARGINAL #176 SUSUA
      SABONA GRANDE, PR 00637

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
386   MILIÁN DELGADO, WANDA I.                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    73371                 $ 9,500.00*
      PASEO SANTA BARBARA
      7 CALLE AMATISTA
      GURABO, PR 00778

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
387   MILISA LOPEZ CARTAGENA                                                                  5/25/2018      17 BK 03566-LTS Employees Retirement System of the             30840             Undetermined*
      URB ESTANCIAS YIDOMAR                                                                                                  Government of the Commonwealth
      CALLE COMET #11                                                                                                        of Puerto Rico
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
388   MILLAN BERNAL, ALBERTO                                                                  6/27/2018      17 BK 03566-LTS Employees Retirement System of the             105809               $ 17,500.00*
      URB CAMBRIDGE PARK                                                                                                     Government of the Commonwealth
      D1 PLAZA 10                                                                                                            of Puerto Rico
      SAN JUAN, PR 00926

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
389   MILLAN DOMINICCI, VANESSA                                                               6/28/2018      17 BK 03566-LTS Employees Retirement System of the             91692                $ 100,000.00
      HC 09 BOX 30017                                                                                                        Government of the Commonwealth
      PONCE, PR 00731                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 64 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
390   MILLAN MARQUEZ, BRENDA                                                                   6/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    60174             Undetermined*
      URB INTERAMERICANA GARDENS
      AC31 CALLE 15
      TRUJILLO ALTO, PR 00976

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
391   MILLAN RABASSA, MADELINE                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71948             Undetermined*
      C-16 CALLE
      3 URB VILLA EL ENCANTO
      JUAN DAIZ, PR 00795

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
392   MILLAN RABASSA, MADELINE                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    66214             Undetermined*
      C-16 CALLE 3 URB. VILLA EL ENCANTO
      JUANA DIAZ, PR 00795

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
393   MILLAN VIERA , OLGA L                                                                   5/25/2018      17 BK 03566-LTS Employees Retirement System of the             34236             Undetermined*
      URB. V. DEL CARMEN                                                                                                     Government of the Commonwealth
      2744 TOLEDA                                                                                                            of Puerto Rico
      PONCE, PR 00716-2235

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
394   MILLER COLON, JOE STANLEY                                                               6/29/2018      17 BK 03566-LTS Employees Retirement System of the             75075             Undetermined*
      PO BOX 1322                                                                                                            Government of the Commonwealth
      AIBONITO, PR 00705                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
395   MILLET ABREU, ANGELA I.                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    111326                $ 2,700.00*
      PO BOX 2223
      ISABELA, PR 00662-2002

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
396   MILLET TORRES, FRANCEL                                                                  6/11/2018      17 BK 03566-LTS Employees Retirement System of the             80415                 $ 42,353.36
      HC 03 BOX 16404                                                                                                        Government of the Commonwealth
      UTUADO, PR 00641                                                                                                       of Puerto Rico


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 65 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
397   MILLYVEL MENDEZ RODRIGUEZ                                                               6/15/2018      17 BK 03566-LTS Employees Retirement System of the             66800             Undetermined*
      416 CALLE A CRUZ ZAPATA                                                                                                Government of the Commonwealth
      LAS MARIAS, PR 00670-2803                                                                                              of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
398   MINGUELA ROJAS, CARMEN                                                                  3/19/2018      17 BK 03566-LTS Employees Retirement System of the              3498                $ 25,000.00*
      HC 2 BOX 9795                                                                                                          Government of the Commonwealth
      HORMIGUEROS, PR 00660                                                                                                  of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
399   MIRABAL MALAVA, WILFREDO                                                                3/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                     3099                $ 150,000.00
      HC 1 BOX 3843
      ADJUNTAS, PR 00601-9559

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
400   MIRABAL MIRO, JUAN F.                                                                   6/29/2018      17 BK 03566-LTS Employees Retirement System of the             82727                 $ 73,044.14
      HC-9 BOX 62238                                                                                                         Government of the Commonwealth
      CAGUAS, PR 00725                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
401   MIRANDA APONTE, ROSALI                                                                  5/29/2018      17 BK 03566-LTS Employees Retirement System of the             40131             Undetermined*
      E 23 JARDINES DE COAMO                                                                                                 Government of the Commonwealth
      COAMO, PR 00769                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
402   MIRANDA BERRIOS, ISMAEL                                                                 5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    37661             Undetermined*
      HC-10 BOX 8345
      SABANA GRANDA, PR 00637

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 66 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
403   MIRANDA CARBONELL, DAISY                                                                6/19/2018      17 BK 03566-LTS Employees Retirement System of the             88301                $ 75,000.00*
      HC-02 BOX 15862                                                                                                        Government of the Commonwealth
      CAROLINA, PR 00987                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
404   MIRANDA COLLAZO, WILLIAM                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    66878             Undetermined*
      PO BOX 472
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
405   MIRANDA CRUZ, JOSÉ R                                                                    7/18/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    70826             Undetermined*
      URB. LAS AMÉRICA
      C/9 CC9
      BAYAMÓN, PR 00959

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
406   MIRANDA DIAZ, MICHEL M.                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    81037             Undetermined*
      URBANIZACIÓN VALLE ESCONDIDO 199
      CALLE PALMA REAL
      COAMO, PR 00769

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
407   MIRANDA FERNANDEZ, YADIRA                                                                5/7/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    11200             Undetermined*
      URB LAGOS DE PLATA
      V 16 CALLE 20
      TOA BAJA, PR 00949

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
408   MIRANDA IRIZARRY, ISMAEL                                                                6/26/2018      17 BK 03566-LTS Employees Retirement System of the             94821                $ 31,285.53*
      URB SAN FRANCISCO II                                                                                                   Government of the Commonwealth
      310 CSAN FERNANDO                                                                                                      of Puerto Rico
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 67 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
409   MIRANDA LOPEZ, GERARDO                                                                  5/29/2018      17 BK 03566-LTS Employees Retirement System of the             33666                 $ 53,000.00
      PO BOX 67                                                                                                              Government of the Commonwealth
      AIBONITO, PR 00705                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
410   MIRANDA LOPEZ, LIGIA M.                                                                  6/1/2018      17 BK 03566-LTS Employees Retirement System of the             58028             Undetermined*
      500 PASEO MONACO                                                                                                       Government of the Commonwealth
      APT 129                                                                                                                of Puerto Rico
      BAYAMON, PR 00956

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
411   MIRANDA MARTÍNEZ, NITZA                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    101069                $ 25,000.00
      CALLE CUARZO 312
      URB. ALTURAS DE COAMO
      COAMO, PR 00769

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
412   MIRANDA MELENDEZ, VICTOR                                                                 5/7/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    13031             Undetermined*
      PO BOX 800932
      COTO LAUREL, PR 00780

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
413   MIRANDA MIRANDA, JANICE I                                                               6/29/2018      17 BK 03566-LTS Employees Retirement System of the             83382                 $ 33,785.32
      PO BOX 1749                                                                                                            Government of the Commonwealth
      CIALES, PR 00638                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
414   MIRANDA MIRANDA, ROSA NELIDA                                                            6/15/2018      17 BK 03566-LTS Employees Retirement System of the             83019                $ 44,648.42*
      HC - 61 BOX 36700                                                                                                      Government of the Commonwealth
      AGUADA, PR 00602                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 68 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
415   MIRANDA MONTES, REINALIZ                                                                6/29/2018      17 BK 03566-LTS Employees Retirement System of the             74938                 $ 20,000.00
      PO BOX 1101                                                                                                            Government of the Commonwealth
      CIALES, PR 00638                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
416   MIRANDA ORLANDO, ANA I.                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    80861             Undetermined*
      CALLE TINTO 1690
      URB. RIO PIEDRAS HEIGHTS
      SAN JUAN, PR 00926

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
417   MIRANDA ORTIZ, ANA DELIA                                                                5/25/2018      17 BK 03566-LTS Employees Retirement System of the             35359             Undetermined*
      CALLE 1 A-10 URBANIZACION QUINTAS DE COUNTRY CLUB                                                                      Government of the Commonwealth
      CAROLINA, PR 00982                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
418   MIRANDA PEREZ, ALBERTO L.                                                               6/29/2018      17 BK 03566-LTS Employees Retirement System of the             70610                 $ 75,000.00
      URB. MONTECASINO HIGHTS 409 CALLE RIO GUAJATACA                                                                        Government of the Commonwealth
      TOA ALTA, PR00953                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
419   MIRANDA PEREZ, LUZ                                                                      5/30/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    42299             Undetermined*
      BOX 643
      JUNCOS, PR 00777

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
420   MIRANDA QUINONES, MYRNA L                                                               5/18/2018      17 BK 03566-LTS Employees Retirement System of the             18054                $ 143,275.20
      PO BOX 1746                                                                                                            Government of the Commonwealth
      TOA BAJA, PR 00951-1746                                                                                                of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
421   MIRANDA QUINONES, MYRNA L                                                               5/18/2018      17 BK 03566-LTS Employees Retirement System of the             20818                    $ 310.48
      PO BOX 1746                                                                                                            Government of the Commonwealth
      TOA BAJA, PR 00951-1746                                                                                                of Puerto Rico


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 69 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
422   MIRANDA RAMOS, CARMEN S.                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    93591                 $ 3,000.00*
      APARTADO8403
      HUMACAO, PR 00792

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
423   MIRANDA RAMOS, MARISOL                                                                  6/29/2018      17 BK 03566-LTS Employees Retirement System of the             64635             Undetermined*
      PO BOX 8403                                                                                                            Government of the Commonwealth
      HUMACAO, PR 00792                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
424   MIRANDA RIVERA, LUIS J                                                                  5/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    25849             Undetermined*
      HC 43 BOX 11255
      CAYEY, PR00736

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
425   MIRANDA RODRIGUEZ, LUZ E.                                                                7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75104                 $ 10,000.00
      HC 3 BOX 8536
      BARRANQUITAS, PR 00794

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
426   MIRANDA RODRIGUEZ, MELITZA                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    107976               $ 129,600.00
      PO BOX 781
      ISABELA, PR 00662

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
427   MIRANDA ROLON, DAMARIS                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71754             Undetermined*
      URBANIZACIÓN SAN DEMETRIO #236
      VEGA BAJA, PR 00693

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 70 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
428   MIRANDA RUIZ, MARITZA                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74882             Undetermined*
      HC 61 BOX 38881
      AGUADA, PR 00602

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
429   MIRANDA SAEZ, GLENDA L                                                                  5/16/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    12586             Undetermined*
      HC 03 BOX 8460
      BARRANQUITAS, PR 00794

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
430   MIRANDA SOTO, JAVIER H                                                                  3/13/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                     2725                  $ 7,000.00
      P.O BOX 1927
      GATO
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
431   MIRANDA SOTO, WALESKA                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    82807                  $ 6,000.00
      URB COVADONGA
      #3 F3 CALLE RIBADESELLA
      TOA BAJA, PR 00949

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
432   MIRANDA TORRES, MARISOL                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    81490             Undetermined*
      URB. MONTICIELO
      CALLE LUIS GONZALEZ PENA #182
      CAGUAS, PR 00725

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
433   MIRANDA VAZQUEZ, ENID                                                                   6/22/2018      17 BK 03566-LTS Employees Retirement System of the             84755                $ 375,000.00
      CALLE 3 G-23 URB. SAN RAFAEL                                                                                           Government of the Commonwealth
      CAGUAS, PR 00725                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 71 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
434   MIRANDA VELEZ, CLARIBEL                                                                  6/8/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    47792             Undetermined*
      5054 C/ROMANO
      CABO ROJO, PR 00623

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
435   MIRANDA ZAYAS, DIANA E.                                                                 6/29/2018      17 BK 03566-LTS Employees Retirement System of the             87032                 $ 66,007.99
      PMB 263 PO BOX 703444                                                                                                  Government of the Commonwealth
      SAN JUAN, PR 00936-8344                                                                                                of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
436   MIRANDA, CELIA I.                                                                       6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74497             Undetermined*
      URB. VALLE PIEDRA #313
      C/ARTURO MARQUEZ
      LAS PIEDRAS, PR 00771

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
437   MIRO DIPINI, VIOLETA                                                                    6/28/2018      17 BK 03566-LTS Employees Retirement System of the             64085             Undetermined*
      CALLE HYPOLAIS #932                                                                                                    Government of the Commonwealth
      COUNTRY CLUB                                                                                                           of Puerto Rico
      SAN JUAN, PR 00924

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
438   MIRO RAMOS, MAGDA E.                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    86647                 $ 12,000.00
      CALLE D26 RIO GRANDE HILLS
      RIO GRANDE, PR 00745

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
439   MISAEL RAMOS MERCADO                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68773             Undetermined*
      HC 3 BOX 3409
      FLORIDA, PR 00650

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 72 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
440   MISAEL RAMOS MERCADO                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68786             Undetermined*
      HC 3 BOX 3409
      FLORIDA, PR 00650

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
441   MITCHELL FARGAS, YADIRA                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    70574                 $ 14,700.00
      AD-26 CALLE 24 VILLAS DE RIO GRANDE
      RIO GRANDE, PR 00745-2730

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
442   MOJICA CAMIS, CARLOS J                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    73446             Undetermined*
      PO BOX 174
      JUNCOS, PR 00777

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
443   MOJICA CAMIS, EDNA M                                                                    6/28/2018      17 BK 03566-LTS Employees Retirement System of the             74458             Undetermined*
      P.O. BOX 1339                                                                                                          Government of the Commonwealth
      JUNCOS, PR 00777                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
444   MOJICA CAMIS, EDNA M.                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    73677             Undetermined*
      P.O. BOX 1339
      JUNCOS, PR 00777

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
445   MOJICA CAMIS, EDNA M                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    79386             Undetermined*
      PO BOX 1339
      JUNCOS, PR 00777

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
446   MOJICA COMAS, HECTOR M                                                                  6/15/2018      17 BK 03566-LTS Employees Retirement System of the             62263             Undetermined*
      HC 01 BOX 6114                                                                                                         Government of the Commonwealth
      YAUCO, PR 00698                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 73 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
447   MOJICA COMAS, HECTOR M.                                                                 6/15/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    66034             Undetermined*
      HC01 BOX 6114
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
448   MOJICA GARCIA, ANA H.                                                                   6/28/2018      17 BK 03566-LTS Employees Retirement System of the             65478             Undetermined*
      PO BOX 563                                                                                                             Government of the Commonwealth
      GUAYNABO, PR 00970                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
449   MOJICA GARCIA, ANGELA                                                                   6/28/2018      17 BK 03566-LTS Employees Retirement System of the             63893                 $ 40,000.00
      PO BOX 699                                                                                                             Government of the Commonwealth
      GUAYNABO, PR 00970                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
450   MOJICA GARCIA, IRISDELIZ                                                                6/29/2018      17 BK 03566-LTS Employees Retirement System of the             98954                 $ 32,962.74
      HC 01 BOX 5179                                                                                                         Government of the Commonwealth
      CANOVANAS, PR 00729                                                                                                    of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
451   MOJICA MARTINEZ, MARIA M.                                                               6/28/2018      17 BK 03566-LTS Employees Retirement System of the             103686                $ 90,000.00
      B- 15 CARACAS CAGUAS NORTE                                                                                             Government of the Commonwealth
      CAGUAS, PR 00725                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
452   MOJICA MORALES, MAYRA I.                                                                 6/5/2018      17 BK 03566-LTS Employees Retirement System of the             59558             Undetermined*
      URB VILLA FONTANA                                                                                                      Government of the Commonwealth
      VIA 13 2 JL 446                                                                                                        of Puerto Rico
      CAROLINA, PR 00983

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 74 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
453   MOJICA PEREZ , SONIA I                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    111365                $ 55,000.00
      G-15 COLLORES COLINAS METROPOLITANAS
      GUAYNABO, PR 00969

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
454   MOJICA RODRIGUEZ, CARMEN E.                                                             6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65887             Undetermined*
      APARTADO78
      TOA ALTA, PR00954

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
455   MOJICA RODRÍGUEZ, RAFAELA                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    64621             Undetermined*
      HC3 BOX 9031
      DORADO, PR 00646

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
456   MOJICA, VILMARIE FLORES                                                                 5/29/2018      17 BK 03566-LTS Employees Retirement System of the             48534                 $ 32,797.61
      PO BOX 699                                                                                                             Government of the Commonwealth
      GUAYNABO, PR 00970                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
457   MOLE, ANA ESTRADA                                                                        6/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65690             Undetermined*
      CALLE 36 SO #1313
      URB. CAPARRA TERRACE
      SAN JUAN, PR 00921-2526

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
458   MOLINA CABA, MARIA E.                                                                   6/28/2018      17 BK 03566-LTS Employees Retirement System of the             71741             Undetermined*
      107 LAGUNA WAY                                                                                                         Government of the Commonwealth
      SAVANNAH, GA31405                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 75 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
459   MOLINA ECHEVARRIA, CARMEN MARIA                                                          6/7/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    78799             Undetermined*
      HC 03 BOX 33740
      HATILLO, PR 00659-9611

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
460   MOLINA GARCIA , CLOTILDE                                                                6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    63079             Undetermined*
      LA PLENA CALLE LOS CAOBOS G-10
      MERCEDITA, PR 00715

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
461   MOLINA JUSTINIANO, DANIEL                                                                6/7/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    61609             Undetermined*
      PO BOX 235
      LAS MARIAS, PR 00670

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
462   MOLINA LASALLE, DOMINGO                                                                 5/16/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    17199             Undetermined*
      HC 5 BOX 107111
      MOCA, PR 00676

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
463   MOLINA MALDONADO, CARMEN M                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    98985                 $ 6,000.00*
      COOPERATIVA JARDINES DE TRUJILLO ALTO
      EDIFICIO G, 505
      TRUJILLO ALTO, PR 00976

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
464   MOLINA MALDONADO, CARMEN MARIA                                                          6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    80179                  $ 6,000.00
      COOPERATIVA DE JARDINEA DE
      TRUJILLO ALTO EDIFICIO G 505
      TRUJILLO ALTO, PR 00976

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 76 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
465   MOLINA MUNIZ, JOSE DAVID                                                                5/21/2018      17 BK 03566-LTS Employees Retirement System of the             28095             Undetermined*
      URB. ESTANCIAS DEL GOLF                                                                                                Government of the Commonwealth
      #136 C/ MIGUEL R. TEXIDOR                                                                                              of Puerto Rico
      PONCE, PR 00730

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
466   MOLINA MUNIZ, JOSE DAVID                                                                5/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    44227             Undetermined*
      URB. ESTANCIOS DE GOLF
      136 C/MIGUEL RIVERA TEXIDOR
      PONCE, PR 00730

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
467   MOLINA NEGRON, CARMEN S                                                                  6/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    44120             Undetermined*
      PARCELAS MAGUEYES
      9 CALLE DEL CENTRO
      BARCELONETA, PR 00617-3138

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
468   MOLINA NEGRON, CARMEN S                                                                  6/5/2018      17 BK 03566-LTS Employees Retirement System of the             48150             Undetermined*
      BO MAGUEYES                                                                                                            Government of the Commonwealth
      9 CALLE DEL CENTRO                                                                                                     of Puerto Rico
      BARCELONETA, PR 00617

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
469   MOLINA NEGRON, CARMEN S.                                                                 6/5/2018      17 BK 03566-LTS Employees Retirement System of the             48113             Undetermined*
      PARCELAS MAGUEYES                                                                                                      Government of the Commonwealth
      9 CALLE DEL CENTRO                                                                                                     of Puerto Rico
      BARCELONETA, PR 00617

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
470   MOLINA OCASIO, LUIS                                                                     6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    88648                 $ 3,000.00*
      PO BOX 933
      OROCOVIS, PR 00720-0933

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 77 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
471   MOLINA VAZQUEZ, JOSE E.                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    64060                  $ 5,000.00
      P.O. BOX 815
      TOA BAJA, PR 00951

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
472   MOLINA VERA, YARELIS                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71784             Undetermined*
      PO BOX 192
      MOCA, PR 00676

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
473   MOLINA ZAPATA, CARMEN DAMARIS                                                           6/28/2018      17 BK 03566-LTS Employees Retirement System of the             65041             Undetermined*
      CALLE NUEVA #186                                                                                                       Government of the Commonwealth
      HATO REY, PR00917                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
474   MOLINARI VAZQUEZ, FELIPE                                                                 5/4/2018      17 BK 03566-LTS Employees Retirement System of the             10334             Undetermined*
      EXT.STA.ELENA CALLE 1 - S - 24                                                                                         Government of the Commonwealth
      GUAYANILLA, PR 00656                                                                                                   of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
475   MOLINARY, RAFAEL D.                                                                     6/28/2018      17 BK 03566-LTS Employees Retirement System of the             70979             Undetermined*
      P O BOX 428                                                                                                            Government of the Commonwealth
      AGUADILLA, PR 00605                                                                                                    of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
476   MOLINI DIAZ, CLAUDIA M                                                                  6/29/2018      17 BK 03566-LTS Employees Retirement System of the             74661             Undetermined*
      152 CLAVEL HACIENDA FLORIDA                                                                                            Government of the Commonwealth
      YAUCO, PR 00698                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 78 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
477   MOLINI DÍAZ, CLAUDIA M                                                                  6/29/2018      17 BK 03566-LTS Employees Retirement System of the             82599             Undetermined*
      152 CLAVEL HACIENDA FLORIDA                                                                                            Government of the Commonwealth
      YAUCO, PR 00698                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
478   MOLINI DIAZ, CLAUDIA M.                                                                 6/29/2018      17 BK 03566-LTS Employees Retirement System of the             82412             Undetermined*
      152 CLAVEL HACIENDA FLORIDA                                                                                            Government of the Commonwealth
      YAUCO, PR 00698                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
479   MOLINI-DIAZ, DORIS ANN                                                                  5/29/2018      17 BK 03566-LTS Employees Retirement System of the             37557             Undetermined*
      PO BOX 331283                                                                                                          Government of the Commonwealth
      PONCE, PR 00733                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
480   MONCLOVA GARCIA, SARA                                                                   5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    26737             Undetermined*
      BO CALZADA
      BUZON 117
      MAUNABO, PR 00707

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
481   MONCLOVA GARCIA, SARA                                                                   5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    31935             Undetermined*
      BO. CALZADO
      BUZON 117
      MAUNABO, PR 00707

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
482   MONCLOVA GARCIA, SARA                                                                   5/25/2018      17 BK 03566-LTS Employees Retirement System of the             26508             Undetermined*
      BARRIO CALZADA BOX 117                                                                                                 Government of the Commonwealth
      MAUNABO, PR 00707                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 79 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
483   MONCLOVA RIVERA, OSVALDO                                                                6/28/2018      17 BK 03566-LTS Employees Retirement System of the             67835                 $ 2,745.84*
      URB RIVIERAS DE CUPEY CALLE                                                                                            Government of the Commonwealth
      P1 CALLE FLAMBOYAN                                                                                                     of Puerto Rico
      SAN JUAN, PR 00928

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
484   MONEGRO HUERTAS, KEILA L                                                                 6/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69278             Undetermined*
      RIO PLANTATION
      20 C KOREA
      BAYAMON, PR 00961

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
485   MONGE FUENTES, MELBA L                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69480             Undetermined*
      HC-02 BOX 4858
      LOIZA, PR 00772

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
486   MONGE FUENTES, MELBA L.                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69492             Undetermined*
      HC-02 BOX 4858
      LOIZA, PR 00772

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
487   MONGE FUENTES, MELBA L.                                                                 6/28/2018      17 BK 03566-LTS Employees Retirement System of the             70593             Undetermined*
      HC-02 BOX 4858                                                                                                         Government of the Commonwealth
      LOIZA, PR 00772                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
488   MONGES JIMENEZ, ELIA E                                                                  6/28/2018      17 BK 03566-LTS Employees Retirement System of the             69904                 $ 75,000.00
      PO BOX 3001, DEPTO. 128                                                                                                Government of the Commonwealth
      RIO GRANDE, PR 00745                                                                                                   of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 80 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
489   MONROIG NIEVES, WANDA                                                                   6/29/2018      17 BK 03566-LTS Employees Retirement System of the             78947                 $ 20,000.00
      CALLE 7 F6                                                                                                             Government of the Commonwealth
      URB. VISTA AZUL                                                                                                        of Puerto Rico
      ARECIBO, PR 00612

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
490   MONROIG QUINONES, NORELIE                                                               5/15/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    15389                $ 20,000.00*
      PO BOX 963
      MOCA, PR 00676

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
491   MONROIG RODRIGUEZ, KYRA A                                                                7/6/2018      17 BK 03566-LTS Employees Retirement System of the             98368                 $ 48,296.73
      8 CALLE 1 APTO 3C                                                                                                      Government of the Commonwealth
      COND VISTAS DEL RIO                                                                                                    of Puerto Rico
      BAYAMON, PR 00959

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
492   MONSEGUR LOPEZ, ALICIA                                                                   6/8/2018      17 BK 03566-LTS Employees Retirement System of the             57620             Undetermined*
      BOX 1735                                                                                                               Government of the Commonwealth
      MAYAGUEZ, PR 00681                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
493   MONSERRATE VELAZQUEZ, MIRIAM                                                            6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    85636                  $ 7,720.00
      CALLE 27 3B3
      URB. TERRAZAS DEL TOA
      TOA ALTA, PR00953

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
494   MONT SOTO, AURORA                                                                       6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    108466                $ 29,473.90
      COORDINADORA UNITARIA DE TRABAJADORES DEL ESTADO (CUTE), INC.
      1214 CALLE CADIZ, URB. PUERTO NUEVO
      SAN JUAN, PR 00920

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 81 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
495   MONTALVO ALBERTORIO, CARMEN                                                             6/26/2018      17 BK 03566-LTS Employees Retirement System of the             95583                $ 75,000.00*
      11 CALLE FOGOS                                                                                                         Government of the Commonwealth
      PONCE, PR 00730                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
496   MONTALVO AVILER, NYDIA M.                                                               6/12/2018      17 BK 03566-LTS Employees Retirement System of the             63924                 $ 55,000.00
      HC- 01 BOX 4607                                                                                                        Government of the Commonwealth
      LAJAS, PR 00667                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
497   MONTALVO AYALA, IBIS                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    82170             Undetermined*
      HC 02 BOX 10866
      LAJAS, PR 00667

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
498   MONTALVO AYALA, LYDIA E.                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    70303             Undetermined*
      URB. ESTANCIAS DEL PARRA#58
      LAJAS, PR 00667

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
499   MONTALVO BAEZ, LUIS A.                                                                  5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    34336             Undetermined*
      #6002 CAPULIN URB. BUENAVENTURA
      MAYAGUEZ, PR 00692

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
500   MONTALVO BAEZ, LUIS ALBERTO                                                             5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    38655             Undetermined*
      # 6002 CAPULIN URB BUENAVENTURA
      MAYAGUEZ, PR 00682

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
501   MONTALVO BAEZ, LUIS ALBERTO                                                             5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    42669             Undetermined*
      # 6002 CAPULIN URB. BUENAVENTURA
      MAYAGUEZ, PR 00682

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 82 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
502   MONTALVO BAEZ, LUIS ALBERTO                                                             5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    39287             Undetermined*
      #6002 CAPULIN URB. BUENAVENTURA
      MAYAGUEZ, PR 00682

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
503   MONTALVO BAEZ, LUIS ALBERTO                                                             5/29/2018      17 BK 03566-LTS Employees Retirement System of the             34422             Undetermined*
      #6002 CALLE CAPULIN URB. BUENAVENTURA                                                                                  Government of the Commonwealth
      MAYAGUEZ, PR 00682                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
504   MONTALVO BAEZ, RAMONITA                                                                 5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    35813                 $ 12,000.00
      PO BOX 136
      GUAYAMA, PR 00785-0136

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
505   MONTALVO BAEZ, RAMONITA                                                                 5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    34152                 $ 12,000.00
      PO BOX 136
      GUAYAMA, PR 00785-0136

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
506   MONTALVO CACERES, CLARIBEL                                                               7/2/2018      17 BK 03566-LTS Employees Retirement System of the             68381             Undetermined*
      B88 VILLA REAL                                                                                                         Government of the Commonwealth
      CABO ROJO, PR 00623-3005                                                                                               of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
507   MONTALVO CORREA , LEODANEL                                                               6/7/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    49771             Undetermined*
      PO BOX 526
      GARROCHALES, PR 00652

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 83 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
508   MONTALVO CORREA, LEODANEL                                                                6/7/2018      17 BK 03566-LTS Employees Retirement System of the             62923             Undetermined*
      BOX 526                                                                                                                Government of the Commonwealth
      GARROCHALES, PR 00652                                                                                                  of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
509   MONTALVO CRUZ, MARIA M.                                                                 6/29/2018      17 BK 03566-LTS Employees Retirement System of the             80969                 $ 73,044.14
      URB. BONNEVILLE HEIGHTS                                                                                                Government of the Commonwealth
      #37 CALLE LAS PIEDRAS                                                                                                  of Puerto Rico
      CAGUAS, PR 00727-4963

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
510   MONTALVO DE JESUS, HARRY                                                                5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    39861             Undetermined*
      REG RAMAS ANTONINI
      BLOQ 32 ART 322
      PONCE, PR 00717

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
511   MONTALVO GONZALEZ, JUAN                                                                 6/26/2018      17 BK 03566-LTS Employees Retirement System of the             92592                 $ 75,000.00
      URB SANTA ELENA III                                                                                                    Government of the Commonwealth
      153 MONTE                                                                                                              of Puerto Rico
      GUAYANILLA, PR 00656

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
512   MONTALVO GONZALEZ, ROBERTO                                                               6/5/2018      17 BK 03566-LTS Employees Retirement System of the             35269                 $ 24,500.00
      CALLE CEDRO CASA J-31                                                                                                  Government of the Commonwealth
      URB. EL CULEBRINAS                                                                                                     of Puerto Rico
      SAN SEBASTIAN, PR 00685

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
513   MONTALVO GONZALEZ, YARITZA                                                               6/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    47994             Undetermined*
      HC07 BOX 71843
      SAN SEBASTIAN, PR 00685

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 84 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
514   MONTALVO JUSINO, LEIDA DEL C.                                                           6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    110325                $ 10,200.00
      URB. VILLA INTERAMERICANA E-19
      SAN GERMAN, PR 00683

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
515   MONTALVO LAFONTAINE, JORGE R.                                                           8/30/2017      17 BK 03566-LTS Employees Retirement System of the               216                $ 100,000.00
      BOX 1694                                                                                                               Government of the Commonwealth
      UTUADO, PR 00641-1694                                                                                                  of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
516   MONTALVO MENDEZ, GLADYS                                                                 5/23/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    32756             Undetermined*
      PO BOX 955
      SABANA GRANDE, PR 00637

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
517   MONTALVO MONTALVO, NOEL                                                                 6/20/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    66904             Undetermined*
      URB VILLA ALBA
      I24 CALLE 11
      SABANA GRANDE, PR 00637

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
518   MONTALVO MOYA, VIASA Y                                                                   6/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    48987             Undetermined*
      URB MARTY 3
      CABO ROJO, PR 00623

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
519   MONTALVO NEGRONI, ANGEL A.                                                              6/18/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74630             Undetermined*
      RR03 BUZON 10433
      ANASCO, PR 00610

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
520   MONTALVO PABON, YAHAIRA                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68427             Undetermined*
      BOX 1716
      ARECIBO, PR 00613

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 85 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
521   MONTALVO RAMIREZ, LIZMERY                                                               6/13/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    60386             Undetermined*
      #504 CALLE ORGUITEA
      MOCA, PR 00674

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
522   MONTALVO RODRIGUEZ, IRIS A                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72441             Undetermined*
      PO BOX 1156
      ADJUNTAS, PR 00601

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
523   MONTALVO ROSADO, FRANCISCA                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    87040                $ 39,600.00*
      URB VALLE VERDE III
      DM 5 CALLE PLANICIE
      BAYAMON, PR 00961

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
524   MONTALVO ROSADO, IRMA                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    82307                $ 31,200.00*
      CEIBAS ST. CE-9 RIO HONDO III
      BAYAMON, PR 00961

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
525   MONTALVO SAEZ, SONIA IVETTE                                                             6/15/2018      17 BK 03566-LTS Employees Retirement System of the             66520             Undetermined*
      HC 10 BOX 7568                                                                                                         Government of the Commonwealth
      SABANA GRANDE, PR 00637                                                                                                of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
526   MONTALVO ZARAGOZA, CARMEN N                                                             6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75347             Undetermined*
      PO BOX 800601
      COTTO LAUREL, PR 00780

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 86 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
527   MONTANEZ DE LEON, PEDRO J                                                               5/22/2018      17 BK 03566-LTS Employees Retirement System of the             22716                 $ 67,244.31
      3RA EST COUNTRY CLUB                                                                                                   Government of the Commonwealth
      HH5 CALLE 232                                                                                                          of Puerto Rico
      CAROLINA, PR 00982

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
528   MONTAÑEZ FERNANDEZ, MARIA T.                                                            6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71874                 $ 79,935.00
      URB. ESTANCIAS DE LA CEIBA
      CALLE PEDRO FLORES 915
      JUNCOS, PR 00777

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
529   MONTANEZ GONZALEZ, GLADYS ENID                                                          5/21/2018      17 BK 03566-LTS Employees Retirement System of the             17918                 $ 4,289.48*
      COND. VILLA MAGNA 1783 CARR. 21                                                                                        Government of the Commonwealth
      APART.1901                                                                                                             of Puerto Rico
      SAN JUAN, PR 00921

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
530   MONTANEZ IBANONDO, SANTIAGO                                                             6/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    108646                $ 32,000.00
      PO BOX 311
      LAS MACIOS, PR 00670

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
531   MONTANEZ MARTINEZ , MARIA S                                                             6/28/2018      17 BK 03566-LTS Employees Retirement System of the             72480                 $ 23,000.00
      P.O. BOX 297                                                                                                           Government of the Commonwealth
      SALINAS, PR 00751                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
532   MONTANEZ MARTINEZ, CARLOS H                                                             6/13/2018      17 BK 03566-LTS Employees Retirement System of the             80849                 $ 96,537.59
      PLAZA CAROLINA STATION                                                                                                 Government of the Commonwealth
      PO BOX 9565                                                                                                            of Puerto Rico
      CAROLINA, PR 00988-9565

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 87 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
533   MONTANEZ ORTIZ, LUIS DAVID                                                              5/23/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    37314                 $ 3,600.00*
      BO. CACAO ALTO SECTOR CONEJO BLANCO
      PATILLAS, PR 00723

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
534   MONTANEZ RAMOS , JOSE A                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    80968                $ 30,000.00*
      URB LA ARBOLEDA
      CALLE 2 A 2
      COAMO, PR 00769

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
535   MONTAÑEZ RAMOS, JOSE A.                                                                 6/29/2018      17 BK 03566-LTS Employees Retirement System of the             81383                $ 65,000.00*
      URB. LA ARBOLEDA                                                                                                       Government of the Commonwealth
      CALLE 2 A 2                                                                                                            of Puerto Rico
      COAMO, PR 00769

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
536   MONTANEZ RIVERA , JOSE A.                                                               6/26/2018      17 BK 03566-LTS Employees Retirement System of the             97327               $ 102,708.86*
      URB. JARDINES DE LAFAYETTE Q-0-6                                                                                       Government of the Commonwealth
      ARROYO, PR 00714                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
537   MONTANEZ RIVERA, ENRIQUE                                                                5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    22759                 $ 39,179.46
      HC NUM. 6 BOX 10126
      YABUCOA, PR 00767

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
538   MONTANEZ RIVERA, REINA IVELISSE                                                         6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69486                $ 60,000.00*
      CALLE 20 N.O 1367
      PUERTO NUEVO
      SAN JUAN, PR 00920

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 88 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
539   MONTANO GOMEZ , ORLANDO J                                                               5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    33179                 $ 43,392.33
      URB. SANTA JUANA
      CALLE 14 R4
      CAGUAS, PR 00725

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
540   MONTANO LEBRON, DEBORAH E                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    73966             Undetermined*
      2006 QUAIL HOLLOW DRIVE
      READING, PA 19606

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
541   MONTERO NEGRON, JUAN J                                                                  5/15/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    29310             Undetermined*
      PARCELAS AMALIA MARIN CALLE JULIO
      MEDINA #5575
      PONCE, PR 00716

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
542   MONTERO RAMOS, ZUGEIL                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    70048             Undetermined*
      33 CALLE 6 BO. PUEBLO NUEVO
      VEGA BAJA, PR 00693

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
543   MONTERO RIVERA, EDWIN J.                                                                6/29/2018      17 BK 03566-LTS Employees Retirement System of the             87562                 $ 50,000.00
      HC 01 BOX 4375                                                                                                         Government of the Commonwealth
      UTUADO, PR 00641                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
544   MONTES ALAMEDA, JOHN PAUL                                                                3/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                     1610             Undetermined*
      BOX 92
      LAJAS, PR 00667

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 89 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
545   MONTES AYALA, LUTGORDO                                                                   6/7/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    79483                 $ 50,000.00
      #1050 CALLE STEPHANIE
      ALTURAS DE JOYUDAS
      CABO ROJO, PR 00623

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
546   MONTES CRESPO, SONIA N.                                                                  6/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    46984             Undetermined*
      HC 1 BPX 9375
      TOA BAJA, PR 00687

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
547   MONTES LOPEZ, JOSEFINA                                                                  5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    29233             Undetermined*
      PO BOX 1905
      UTUADO, PR 00641

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
548   MONTES MONTES, IRENE                                                                    5/22/2018      17 BK 03566-LTS Employees Retirement System of the             31196             Undetermined*
      PO BOX 1934                                                                                                            Government of the Commonwealth
      JUNCOS, PR 00777-1934                                                                                                  of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
549   MONTES PAGAN, WANDA                                                                     6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69678                $ 15,000.00*
      PO BOX 1600
      CIALES, PR 00638

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
550   MONTES PAGAN, WANDA                                                                     6/29/2018      17 BK 03566-LTS Employees Retirement System of the             74172                $ 70,000.00*
      PO BOX 1600                                                                                                            Government of the Commonwealth
      CIALES, PR 00638                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 90 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
551   MONTES ROBLES, CHARLIE                                                                  6/29/2018      17 BK 03566-LTS Employees Retirement System of the             88987                $ 120,000.00
      URB. ALTURAS DE SABANERA E99                                                                                           Government of the Commonwealth
      SABANA GRANDE, PR 00637                                                                                                of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
552   MONTES RODRIGUEZ, ZAIDA E.                                                              5/24/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    26913             Undetermined*
      HC-03 BOX 15840
      LAJAS, PR 00667

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
553   MONTES VELEZ, VICTOR MANUEL                                                             4/19/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                     7808             Undetermined*
      PO BOX 240
      SAN ANTONIO, PR 00690

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
554   MONTESINO RIVERA, MARIO                                                                  6/6/2018      17 BK 03566-LTS Employees Retirement System of the             60461             Undetermined*
      PO BOX 372                                                                                                             Government of the Commonwealth
      SABANA HOYOS, PR 00688                                                                                                 of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
555   MONTIS LOPEZ, JOSEFINA                                                                  5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    33320             Undetermined*
      BOX 1905
      UTUADO, PR 00641

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
556   MORA NIN, GRACIELYS                                                                     5/18/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    35365             Undetermined*
      URB VALLE VERDE
      C-9 CALLE 2
      SAN GERMAN, PR 00683

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 91 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
557   MORA PAGÁN, TANIA ISIS                                                                  6/29/2018      17 BK 03566-LTS Employees Retirement System of the             77415                 $ 16,800.00
      VIA BIANCA 2VL-308 VILLA FONTANA                                                                                       Government of the Commonwealth
      CAROLINA, PR 00987                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
558   MORA SOLANO, JUILA A.                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74461                    $ 500.00
      URB SANTA ROSE
      CALLE 25 3413
      BAYAMON, PR 00959

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
559   MORA SOLANO, ROSA M                                                                     6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74571                 $ 8,100.00*
      PASEO DELEITE 1121 LEVITTOWN
      TOA BAJA, PR 00949

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
560   MORAIMA GUILLAMA ROMAN, DENISSE                                                         6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72502                  $ 3,300.00
      HC-04 BOX 18191
      CAMUY, PR 00627

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
561   MORAIMA PADILLA BELTRÁN                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68697                 $ 26,880.00
      HC 73 BOX 4414
      NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
562   MORALES , SONIA E. CRUZ                                                                 5/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    17861             Undetermined*
      HC-02 BOX 12621
      LAJAS, PR 00667

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
563   MORALES ACEVEDO, ANGEL J.                                                               5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    38894                 $ 60,000.00
      HC03 BOX 33523
      AGUADA, PR 00602

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 92 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
564   MORALES ACEVEDO, RAFAEL                                                                 5/25/2018      17 BK 03566-LTS Employees Retirement System of the             21613                $ 35,000.00*
      HC01 BOX 6521                                                                                                          Government of the Commonwealth
      BO NARANJO                                                                                                             of Puerto Rico
      MOCA, PR 00676

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
565   MORALES ACOSTA, LOYDA I                                                                 6/29/2018      17 BK 03566-LTS Employees Retirement System of the             87130                $ 19,837.59*
      URB JARDINES DEL PUERTO                                                                                                Government of the Commonwealth
      CALLE ZITA 4310                                                                                                        of Puerto Rico
      CABO ROJO, PR 00623

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
566   MORALES ACVEDO, ANGEL J                                                                 5/29/2018      17 BK 03566-LTS Employees Retirement System of the             43403                 $ 60,000.00
      HCO 3 BOX 33523                                                                                                        Government of the Commonwealth
      AGUADA, PR 00602                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
567   MORALES ALVARADO, MIRIAM L.                                                             6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    77472             Undetermined*
      P.O. BOX 991
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
568   MORALES ALVARADO, MIRIAM L.                                                             6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71941             Undetermined*
      BO. SALTOS CABRAS BOX 991
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
569   MORALES ALVARADO, MIRIAM L.                                                             6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    82794             Undetermined*
      P.O. BOX 991
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
570   MORALES AROCHO, KEILA B.                                                                6/28/2018      17 BK 03566-LTS Employees Retirement System of the             70692                 $ 45,620.52
      PO BOX 1662                                                                                                            Government of the Commonwealth
      MOROVIS, PR 00687                                                                                                      of Puerto Rico


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 93 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
571   MORALES ARROYO, MARIA N                                                                 4/13/2018      17 BK 03566-LTS Employees Retirement System of the              7351             Undetermined*
      URB DIPLO 108                                                                                                          Government of the Commonwealth
      CALLE FLAMBOYAN                                                                                                        of Puerto Rico
      NAGUABO, PR 00718

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
572   MORALES AYELA, FERNANDO M.                                                              6/21/2018      17 BK 03566-LTS Employees Retirement System of the             50954             Undetermined*
      1739 CUPIDO                                                                                                            Government of the Commonwealth
      VENOS GARDENS                                                                                                          of Puerto Rico
      SAN JUAN, PR 00926

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
573   MORALES BERRIOS, ANNERIS                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    73631                  $ 1,800.00
      HC 72 BOX 3878
      NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
574   MORALES BERRÍOS, MARIA DEL P.                                                           6/28/2018      17 BK 03566-LTS Employees Retirement System of the             71318                $ 38,000.00*
      HC 75 BOX 1164                                                                                                         Government of the Commonwealth
      NARANJITO, PR 00719-9702                                                                                               of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
575   MORALES CABRERA, CARLOS JUAN                                                            6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    97212                 $ 30,000.00
      15905 OAKLEAF RUN DR.
      LITHIA, FL 33547

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 94 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
576   MORALES CAMACHO, CARMEN I                                                               6/29/2018      17 BK 03566-LTS Employees Retirement System of the             81159             Undetermined*
      218 PASEO REINA MORA                                                                                                   Government of the Commonwealth
      SECTOR EL LAUREL                                                                                                       of Puerto Rico
      COTO LAUREL, PR 00780-2403

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
577   MORALES CAMACHO, CARMEN IRIS                                                            6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    77484             Undetermined*
      218 PASEO REINA MORA
      SECTOR EL LAUREL
      COTO LAUREL, PR 00780-2403

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
578   MORALES CARABALLO, INES Z.                                                              6/22/2018      17 BK 03566-LTS Employees Retirement System of the             89761                 $ 89,918.44
      HC 37 BOX 3782                                                                                                         Government of the Commonwealth
      BO. LA LUNA                                                                                                            of Puerto Rico
      GUANICA, PR 00653

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
579   MORALES CARABALLO, NILSA                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75069             Undetermined*
      HC5 BOX 7669
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
580   MORALES CARABALLO, NILSA                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76043             Undetermined*
      HC5 BOX 7669
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
581   MORALES CARDONA, MIRIAM                                                                  6/5/2018      17 BK 03566-LTS Employees Retirement System of the             61523                 $ 67,201.58
      #5373 C/BAGAZO HADA LA MATILDE                                                                                         Government of the Commonwealth
      PONCE, PR 00728                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 95 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
582   MORALES CARO, JESUS                                                                     5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    34350             Undetermined*
      HC-3 BOX 6577
      RINCON, PR 00677

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
583   MORALES CARO, JESUS                                                                     5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    34356             Undetermined*
      HC - 03 BOX 6577
      RINCON, PR 00677

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
584   MORALES CARO, JESUS                                                                     5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    37130             Undetermined*
      HC 3 BOX 6577
      RINCON, PR 00677

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
585   MORALES CARO, JESUS                                                                     5/29/2018      17 BK 03566-LTS Employees Retirement System of the             36777             Undetermined*
      HC03 BOX 6577                                                                                                          Government of the Commonwealth
      RINCON, PR 00677                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
586   MORALES CARRION, MARISOL                                                                 6/5/2018      17 BK 03566-LTS Employees Retirement System of the             82845             Undetermined*
      HC 03 BOX 4616                                                                                                         Government of the Commonwealth
      GURABO, PR 00778                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
587   MORALES CEBALLO, ANA C                                                                   6/1/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    36742             Undetermined*
      PASEOS REALES #23
      C/ LOS DUQUES
      ARECIBO, PR 00612-5555

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 96 of 149
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                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
588   MORALES CEBALLO, ANA C.                                                                  6/1/2018      17 BK 03566-LTS Employees Retirement System of the             35109             Undetermined*
      PASEOS REALER #23 C/ LOS DUQUES                                                                                        Government of the Commonwealth
      ARECIBO, PR 00612-5555                                                                                                 of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
589   MORALES CINTRON, JOSE A                                                                 6/29/2018      17 BK 03566-LTS Employees Retirement System of the             81387                    $ 125.00
      HC01 BOX 17223                                                                                                         Government of the Commonwealth
      HUMACAO, PR 00791-9738                                                                                                 of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
590   MORALES CINTRON, JOSE F                                                                 6/29/2018      17 BK 03566-LTS Employees Retirement System of the             77514                $ 150,000.00
      HC-01 BOX 17223                                                                                                        Government of the Commonwealth
      HUMACAO, PR 00791                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
591   MORALES CINTRON, JOSE L                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    67508                $ 150,000.00
      HC 1 BOX 17223
      HUMACAO, PR 00791

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
592   MORALES CINTRON, JOSE L                                                                 6/29/2018      17 BK 03566-LTS Employees Retirement System of the             74583                $ 150,000.00
      HC 1 BOX 17223                                                                                                         Government of the Commonwealth
      HUMACAO, PR 00791                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
593   MORALES COLON, MARISOL                                                                   7/4/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72001                 $ 38,807.03
      URB. EL CULEBRINA CALLE PINOG-11
      SAN SEBASTIAN, PR 00685

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
594   MORALES COLON, ROSANA                                                                   6/14/2018      17 BK 03566-LTS Employees Retirement System of the             80967                 $ 19,990.08
      #20 VILLA CAROLINA                                                                                                     Government of the Commonwealth
      C/410 BLQ 143                                                                                                          of Puerto Rico
      CAROLINA, PR 00987


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 97 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
595   MORALES COLON, VILMARIE                                                                 5/18/2018      17 BK 03566-LTS Employees Retirement System of the             21692                 $ 75,782.64
      VILLA CAROLINA                                                                                                         Government of the Commonwealth
      BLQ 143 20 CALLE 410                                                                                                   of Puerto Rico
      CAROLINA, PR 00985

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
596   MORALES CORDERO, AIDA                                                                    6/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    35689             Undetermined*
      PO BOX 267
      CAMUY, PR 00627

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
597   MORALES CORDERO, AIDA                                                                    6/5/2018      17 BK 03566-LTS Employees Retirement System of the             51169             Undetermined*
      PO BOX 267                                                                                                             Government of the Commonwealth
      CAMUY, PR 00627                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
598   MORALES CORDOVA, KARIME                                                                 6/29/2018      17 BK 03566-LTS Employees Retirement System of the             94731                $ 182,309.00
      B-31 14 ST                                                                                                             Government of the Commonwealth
      MOUNTAIN VIEW                                                                                                          of Puerto Rico
      CAROLINA, PR 00987

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
599   MORALES CORTES, BRENDA                                                                  4/20/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                     7894                 $ 25,000.00
      BO ISLOTE II
      281 CALLE 15
      ARECIBO, PR 00612

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 98 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
600   MORALES CRUZ, AIDA L.                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    104561                $ 6,000.00*
      URB. VALLES DE YABUCOA
      CALLE CAOBA 304
      YABUCOA, PR 00767

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
601   MORALES CRUZ, JEANNIE A.                                                                 6/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    47970             Undetermined*
      URB.BRISAS DEL MAR II C/ CAPITAN H-2
      GUAYAMA, PR 00784

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
602   MORALES CUADRADO, XAVIER                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    82749                 $ 50,000.00
      URB.SAN AGUSTIN CALLE 6 448
      SAN JUAN, PR 00926

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
603   MORALES DEL VALLE, JAIME J                                                              6/29/2018      17 BK 03566-LTS Employees Retirement System of the             85252                 $ 65,000.00
      AA 7 ALTAVILLA ENCANTADA                                                                                               Government of the Commonwealth
      TRUJILLO ALTO, PR 00976                                                                                                of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
604   MORALES ECHEVARRIA, ALMA R                                                              6/12/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    55921             Undetermined*
      URB EST DE SAN FERNANDO
      A 8 CALLE 4
      CAROLINA, PR 00985

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
605   MORALES ECHEVARRIA, ALMA R.                                                             6/12/2018      17 BK 03566-LTS Employees Retirement System of the             58987             Undetermined*
      A- 8 CALLE 4                                                                                                           Government of the Commonwealth
      CAROLINA, PR 00985                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 99 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
606   MORALES FELICIANO, ROUSY E.                                                             6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    73317             Undetermined*
      BOX 425
      LAS MARIAS, PR 00670

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
607   MORALES FERNANDEZ, SAMUEL                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    70531             Undetermined*
      CALLE 15 N 36 URB EL MADRIGAL
      PONCE, PR 00730

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
608   MORALES FIGUEROA, HEIDY                                                                 5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    50928             Undetermined*
      CON MIRAMAR
      CALLE NARCISO 844-58
      GUAYAMA, PR 00784

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
609   MORALES FIGUEROA, HEIDY                                                                 5/25/2018      17 BK 03566-LTS Employees Retirement System of the             34882             Undetermined*
      COM MIRAMAR                                                                                                            Government of the Commonwealth
      84458 CALLE NARCISO                                                                                                    of Puerto Rico
      GUAYAMA, PR 00784

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
610   MORALES FIGUEROA, IVELISSE A                                                            5/16/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    19444                $ 100,000.00
      PO BOX 7004; PMB 197
      SAN SEBASTIAN, PR 00685

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
611   MORALES FIGUEROA, KARILAN                                                               5/24/2018      17 BK 03566-LTS Employees Retirement System of the             21996                 $ 27,335.44
      HC01 BOX 2416                                                                                                          Government of the Commonwealth
      MOMABO, PR 00707                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 100 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
612   MORALES FIGUEROA, KARILIN                                                               5/24/2018      17 BK 03566-LTS Employees Retirement System of the             38769                 $ 27,335.44
      HC01 BOX 2416                                                                                                          Government of the Commonwealth
      MANABO, PR 00707                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
613   MORALES FIGUEROA, WILFREDO                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    78877                 $ 61,000.00
      HC-2 BOX 7216
      COMERIO, PR 00782

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
614   MORALES GABRIEL, CORDERO                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74025             Undetermined*
      #12 FRANCISO SEIN
      APT.14
      SAN JUAN, PR 00917

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
615   MORALES GANTAUZZI, RUBEN                                                                5/24/2018      17 BK 03566-LTS Employees Retirement System of the             44204             Undetermined*
      BO BORINGUEA- ANEX017                                                                                                  Government of the Commonwealth
      AGUADILLA, PR 00603                                                                                                    of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
616   MORALES GARCIA, HILDA                                                                   5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    29073             Undetermined*
      HC3 BOX 36661
      MAYAQUEZ, PR 00680

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
617   MORALES GARCIA, NOEL                                                                    5/29/2018      17 BK 03566-LTS Employees Retirement System of the             46896             Undetermined*
      PO BOX 671                                                                                                             Government of the Commonwealth
      VILLALBA, PR 00766                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 101 of 149
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                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED        CASE NUMBER                      DEBTOR                      CLAIM #           AMOUNT
618   MORALES GARCIA, NOEL                                                                    5/29/2018      17 BK 03567-LTS Puerto Rico Highways and                        38511             Undetermined*
      PO BOX 671                                                                                                             Transportation Authority
      VILLALBA, PR 00766

      Reason: Proof of claim purports to assert liabilities associated with the Puerto Rico Highways and Transportation Authority, but fails to provide any basis or supporting documentation for asserting a
      claim against the Puerto Rico Highways and Transportation Authority, such that the Debtors are unable to determine whether claimant has a valid claim against the Puerto Rico Highways and
      Transportation Authority or any of the other Title III debtors
619   MORALES GARRIGA, BETTY                                                                  4/16/2018      17 BK 03566-LTS Employees Retirement System of the              5686                 $ 32,562.46
      URB SAGRADO CORAZON                                                                                                    Government of the Commonwealth
      894 CALLE AMOR                                                                                                         of Puerto Rico
      PENUELAS, PR 00624

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
620   MORALES GONZÁLEZ, AIDAMARIE                                                             6/30/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                     73321                  $ 1,600.00
      HC 01 BOX 4222
      LARES, PR 00669

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
621   MORALES GONZALEZ, CARMEN J.                                                             5/29/2018      17 BK 03566-LTS Employees Retirement System of the              51329               $ 20,000.00*
      333 CALLE JESUS RAMOS                                                                                                  Government of the Commonwealth
      MOCA, PR 00676                                                                                                         of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
622   MORALES GONZALEZ, IVELISSE                                                              5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                     33428             Undetermined*
      HC 02 BOX 6244
      LARES, PR 00669

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
623   MORALES GONZÁLEZ, RAMÓN J.                                                              6/29/2018      17 BK 03566-LTS Employees Retirement System of the              68828                  $ 5,000.00
      URB. MELISSA #11                                                                                                       Government of the Commonwealth
      PATILLAS, PR 00723                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 102 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
624   MORALES HERNANDEZ, HECTOR L                                                             3/19/2018      17 BK 03566-LTS Employees Retirement System of the              3488                 $ 42,461.26
      URB ALTA VISTA                                                                                                         Government of the Commonwealth
      1838 CALLE CLAVEL                                                                                                      of Puerto Rico
      PONCE, PR 00716-2933

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
625   MORALES ILLAS, MIGUEL A.                                                                6/11/2018      17 BK 03566-LTS Employees Retirement System of the             75507             Undetermined*
      URB. LAS AMERICAS                                                                                                      Government of the Commonwealth
      CALLE VENEZUELA #114                                                                                                   of Puerto Rico
      AGUADILLA, PR 00603

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
626   MORALES JIMENEZ, MARTIN                                                                 6/29/2018      17 BK 03566-LTS Employees Retirement System of the             82144             Undetermined*
      CALLE 9 BLOQUE R-12 URBANIZACION                                                                                       Government of the Commonwealth
      GUÁRICO III                                                                                                            of Puerto Rico
      VEGA BAJA, PR 00693

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
627   MORALES LEBRON, DEBORAH L                                                               5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    40662                $ 10,000.00*
      HC 1 BOX 5428
      SALINAS, PR 00751-9726

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
628   MORALES LOPEZ, IRIS M                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    83241                 $ 3,306.69*
      CALLE 4 F20
      URB ALTURAS DE FAIR VIEW
      TRUJILLO ALTO, PR 00976

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
629   MORALES LOPEZ, NORMA G                                                                  6/28/2018      17 BK 03566-LTS Employees Retirement System of the             70515             Undetermined*
      PO BOX 2184                                                                                                            Government of the Commonwealth
      MOCA, PR 00676                                                                                                         of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 103 of 149
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                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
630   MORALES LUCIANO, ELAINE                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    80956             Undetermined*
      355 FALCON ST. CAMINO DEL SUR
      PONCE, PR 00716-2809

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
631   MORALES LUCIANO, ELAINE                                                                 6/28/2018      17 BK 03566-LTS Employees Retirement System of the             69996             Undetermined*
      355 FALCON ST. CAMINO DEL SUR                                                                                          Government of the Commonwealth
      PONCE, PR 00716-2809                                                                                                   of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
632   MORALES MALDONADO, MARIA                                                                6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74372             Undetermined*
      Q-25 CALLE 23
      URB MADRIGAL
      PONCE, PR 00230

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
633   MORALES MARRERO, JONALYS R.                                                             6/29/2018      17 BK 03566-LTS Employees Retirement System of the             77825                 $ 41,694.58
      URBANIZACIÓN BRISAS DEL NORTE CALLE                                                                                    Government of the Commonwealth
      ARGENTINA # 501                                                                                                        of Puerto Rico
      MOROVIS, PR 00687

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
634   MORALES MARRERO, JONALYS. R.                                                            6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72229             Undetermined*
      URBANIZACION BRISAS DEL NORTE, CALLE
      ARGENTINA #501
      MOROVIS, PR 00687

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
635   MORALES MARTINEZ, MYRIAM                                                                5/30/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    40244             Undetermined*
      PO BOX 1856
      COROZAL, PR 00783

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 104 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
636   MORALES MATOS, MEL MARIE                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75263             Undetermined*
      HC 01 BOX 10238
      CABO ROJO, PR 00623

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
637   MORALES MATOS, MEL MARIE                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71476             Undetermined*
      HC 01 BOX 10238
      CABO ROJO, PR 00623

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
638   MORALES MEDINA, RADAMES                                                                 6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72702             Undetermined*
      HC-01 BOX 6656
      GUAYANILLA, PR 00656

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
639   MORALES MERCADO, ALFREDO                                                                6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    63212                 $ 18,000.00
      PO BOX 11
      SABANA GRANDE, PR 00637

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
640   MORALES MIRANDA, CAROL J                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65143             Undetermined*
      PO BOX 321
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
641   MORALES MONSANTO, EDUARDO M.                                                             6/7/2018      17 BK 03566-LTS Employees Retirement System of the             79493                  $ 5,777.91
      URB. MONTE TRUJILLO #3409 TERRALINDA COURT                                                                             Government of the Commonwealth
      TRUJILLO ALTO, PR 00976                                                                                                of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
642   MORALES MONTALVO, DIONISIO                                                               6/7/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    77831             Undetermined*
      URB SAGRADO CORAZON
      33 CALLE SANTA MARIA
      GUANICA, PR 00653

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 105 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
643   MORALES MONTALVO, DIONISIO                                                               6/7/2018      17 BK 03566-LTS Employees Retirement System of the             60214             Undetermined*
      URB SAGRADO CORAZON                                                                                                    Government of the Commonwealth
      33 CALLE SANTA MARIA                                                                                                   of Puerto Rico
      GUANICA, PR 00653

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
644   MORALES MORA, LUZ I.                                                                     6/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    48888             Undetermined*
      HC-05 BOX 25444
      CAMUY, PR 00627

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
645   MORALES MORA, LUZ I.                                                                     6/6/2018      17 BK 03566-LTS Employees Retirement System of the              69111            Undetermined*
      HC 05 BOX 25444                                                                                                        Government of the Commonwealth
      CAMUY, PR 00627                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
646   MORALES MORALES , ADA                                                                    6/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    40128             Undetermined*
      23-17 11 URB MIRAFLORES
      BAYOMON, PR 00957

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
647   MORALES MORALES, ARTURO                                                                 6/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    42714                 $ 60,100.00
      HC 72 BOX 3766-109
      NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
648   MORALES MORALES, RICARDO                                                                 5/9/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    13725             Undetermined*
      URB. RIO CRISTAL AVE. SATITOS COLON#1070
      MAYAGUEZ, PR 00680

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 106 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
649   MORALES MORALES, RICARDO                                                                5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    39987             Undetermined*
      AVE. SANTITOS COLON #1070
      URB. RIO CRISTAL
      MAYAGUEZ, PR 00680

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
650   MORALES MORALES, RICARDO                                                                5/29/2018      17 BK 03566-LTS Employees Retirement System of the             39859             Undetermined*
      #1070 AVE. SANTITOS COLON URB. RIO CRISTAL                                                                             Government of the Commonwealth
      MAYAGUEZ, PR 00680                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
651   MORALES MUNOZ, HECTOR L                                                                  5/7/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    13841                 $ 60,000.00
      PO BOX 1093
      AGUADA, PR 00602-1093

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
652   MORALES NEGRON, MARIA                                                                    7/2/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    100075                $ 18,000.00
      3L-2 CALLE 46
      ALTURAS DE BUCARABONES
      TOA ALTA, PR00953

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
653   MORALES ORTIZ, ANA MILDRED                                                               7/2/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    80189             Undetermined*
      HC 01 BOX 5584
      SALINAS, PR 00751

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
654   MORALES ORTIZ, CARMEN I                                                                 5/24/2018      17 BK 03566-LTS Employees Retirement System of the             29211             Undetermined*
      PO BOX 257                                                                                                             Government of the Commonwealth
      LAJAS, PR 00667                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
655   MORALES ORTIZ, MARIA M                                                                  5/25/2018      17 BK 03566-LTS Employees Retirement System of the             35962             Undetermined*
      URB JAIME L DREW                                                                                                       Government of the Commonwealth
      CALLE E #28                                                                                                            of Puerto Rico
      PONCE, PR 00730-1530



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 107 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
656   MORALES ORTIZ, MARIBEL                                                                  6/29/2018      17 BK 03566-LTS Employees Retirement System of the             82353             Undetermined*
      HC 02 BOX 11069                                                                                                        Government of the Commonwealth
      SAN GERMAN, PR 00683                                                                                                   of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
657   MORALES ORTIZ, MIRIAM                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71234             Undetermined*
      HC03 BOX 17078
      SANTA ROSA
      LAJAS, PR 00667

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
658   MORALES ORTIZ, YAJAIRA B                                                                 6/8/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76721                 $ 30,000.00
      614 CALLE LA LIMA REPTO. MONTE CLARO
      ISABELA, PR 00662

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
659   MORALES ORTIZ, ZAIDA                                                                    5/11/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    22064                  $ 3,850.00
      W24A #C-24
      GLENVIEW GARDENS
      PONCE, PR 00731

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
660   MORALES OTERO, ARIEL                                                                    5/15/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    29303             Undetermined*
      BO. PALMAREJO
      HC-01 BOX 3125
      VILLALBA, PR 00766

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
661   MORALES OTERO, ARIEL                                                                    5/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    32680             Undetermined*
      HC 01 BOX 3125
      VILLALBA, PR 00766

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 108 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
662   MORALES PABON, ELSA I.                                                                  6/22/2018      17 BK 03566-LTS Employees Retirement System of the             80948             Undetermined*
      HC-02 BOX 12581                                                                                                        Government of the Commonwealth
      LAJAS, PR 00667-9716                                                                                                   of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
663   MORALES PABON, NEREIDA                                                                  6/25/2018      17 BK 03566-LTS Employees Retirement System of the             81248             Undetermined*
      PO BOX 1377                                                                                                            Government of the Commonwealth
      HORMIGUEROS, PR 00660                                                                                                  of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
664   MORALES PABON, ROSA MARIA                                                                7/2/2018      17 BK 03566-LTS Employees Retirement System of the             96771                $ 70,000.00*
      CALLE ALCAÑIZ EDIF 39 APTO. 933                                                                                        Government of the Commonwealth
      SAN JOSE, PR 00923                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
665   MORALES PEREZ, ANGEL                                                                    5/30/2018      17 BK 03566-LTS Employees Retirement System of the             52624             Undetermined*
      002 CALLE 19                                                                                                           Government of the Commonwealth
      SABANA GRANDE, PR 00637                                                                                                of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
666   MORALES PEREZ, DORIS L                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    83064                $ 90,000.00*
      MANSIONES DE LOS CEDROS
      178 CALLE CIPRES
      CAYEY, PR00736

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
667   MORALES PEREZ, ELBA                                                                      6/7/2018      17 BK 03566-LTS Employees Retirement System of the             49658             Undetermined*
      PO BOX 1046                                                                                                            Government of the Commonwealth
      AGUADILLA, PR 00605-1046                                                                                               of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 109 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
668   MORALES PEREZ, GLORYMAR                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65234             Undetermined*
      C/4 #D-10
      MONTE TRUJILLO
      TRUJILLO ALTO, PR 00976

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
669   MORALES PEREZ, GLORYMAR                                                                 6/28/2018      17 BK 03566-LTS Employees Retirement System of the             65975             Undetermined*
      C.4 D-10                                                                                                               Government of the Commonwealth
      MONTE TRUJILLO                                                                                                         of Puerto Rico
      TRUJILLO ALTO, PR 00976

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
670   MORALES PEREZ, JOSE                                                                     6/29/2018      17 BK 03566-LTS Employees Retirement System of the             87609                 $ 50,000.00
      URBANIZATION COLINAS DE HATILLO                                                                                        Government of the Commonwealth
      BUZON # 2                                                                                                              of Puerto Rico
      HATILLO, PR 00659

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
671   MORALES RAIMUNDI, MORAIMA DEL CARMEN                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    89068                  $ 7,200.00
      VILLA GEORGETTI 162 CALLE LOS CANOS
      BARCELONETA, PR 00617-2821

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
672   MORALES RAMIREZ, IVAN                                                                   5/24/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    33894             Undetermined*
      URB. LA ESTANCIA
      310 CALLE PRIMAVERA
      SAN SEBASTIAN, PR 00685

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
673   MORALES RAMIREZ, IVAN                                                                   5/24/2018      17 BK 03566-LTS Employees Retirement System of the             26859             Undetermined*
      URB. LA ESTANCIA                                                                                                       Government of the Commonwealth
      310 CALLE PRIMAVERA                                                                                                    of Puerto Rico
      SAN SEBASTIAN, PR 00685

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 110 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
674   MORALES REYES, JOHANA                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65408             Undetermined*
      HC-75 BOX 1350
      NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
675   MORALES RIVAS, AUDREY                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65589             Undetermined*
      CALLE K G-1 EL VERDE SUR
      CAGUAS, PR 00725

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
676   MORALES RIVERA, ABNER A.                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    82505                 $ 1,800.00*
      BO CEDRO ARRIBA SEC. FEIJOO NARANJITO PR CAR 809 KM7
      PO BOX 114
      NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
677   MORALES RIVERA, ROSA IRIS                                                                6/8/2018      17 BK 03566-LTS Employees Retirement System of the             61617             Undetermined*
      PO BOX 2625                                                                                                            Government of the Commonwealth
      SAN GERMAN, PR 00683                                                                                                   of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
678   MORALES RIVERA, SANTIAGO O                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71429                 $ 50,000.00
      PO BOX 350
      PATILLAS, PR 00723

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
679   MORALES RIVERA, SANTIAGO O                                                              6/28/2018      17 BK 03566-LTS Employees Retirement System of the             70486                 $ 50,000.00
      PO BOX 350                                                                                                             Government of the Commonwealth
      PATILLAS, PR 00723                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 111 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
680   MORALES RODRIGUEZ, AIDA                                                                  5/8/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    12268             Undetermined*
      HC 70 BOX 26215
      RAMAL 9912 KM 21
      SAN LORENZO, PR 00754-9650

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
681   MORALES RODRIGUEZ, ANTHONY                                                              6/29/2018      17 BK 03566-LTS Employees Retirement System of the             78405             Undetermined*
      CALLE 80 BLOQUE 110 19 VILLA CAROLINA                                                                                  Government of the Commonwealth
      CAROLINA, PR 00985                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
682   MORALES RODRIGUEZ, EVELYN                                                               6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65596             Undetermined*
      CALLE RUIZ BELVIS #87
      COAMO, PR 00769

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
683   MORALES RODRIGUEZ, GLADYS                                                               6/28/2018      17 BK 03566-LTS Employees Retirement System of the             68221             Undetermined*
      PO BOX 136                                                                                                             Government of the Commonwealth
      SAN LORENZO, PR 00754                                                                                                  of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
684   MORALES RODRIGUEZ, MARGARITA                                                            6/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    77423             Undetermined*
      RR 01 BOX 10730
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
685   MORALES RODRIGUEZ, MARITZA                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    64985             Undetermined*
      PMB 720 #267 CALLE SIERRA MORENA
      SAN JUAN, PR 00926

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 112 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
686   MORALES RODRIGUEZ, RODOLFO                                                              5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    33153             Undetermined*
      HC 2 #10224
      LAS MARLAS, PR 00670

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
687   MORALES RODRIGUEZ, SANDRA                                                               6/28/2018      17 BK 03566-LTS Employees Retirement System of the             63591             $ 7,500,000.00*
      HC-4 BOX 46493                                                                                                         Government of the Commonwealth
      AGUADILLA, PR 00603                                                                                                    of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
688   MORALES RODRIGUEZ, SONIA                                                                5/24/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    28441             Undetermined*
      ALT DEL TURABO
      PP16 CALLE 600
      CAGUAS, PR 00725-4715

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
689   MORALES RODRIGUEZ, WILBERTO                                                              6/7/2018      17 BK 03566-LTS Employees Retirement System of the             78007                $ 75,000.00*
      HC 03 BOX 36611                                                                                                        Government of the Commonwealth
      CAGUAS, PR 00725-9728                                                                                                  of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
690   MORALES RODRIGUEZ, WILMA                                                                6/29/2018      17 BK 03566-LTS Employees Retirement System of the             82092             Undetermined*
      BOX 324                                                                                                                Government of the Commonwealth
      AGUADA, PR 00602                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
691   MORALES ROSADO, ROBERTO                                                                 6/29/2018      17 BK 03566-LTS Employees Retirement System of the             90122                  $ 2,000.00
      CALLE 1 #/A-22 DE BRALIO DUEÑO COLON                                                                                   Government of the Commonwealth
      BAYAMON, PR 00959                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 113 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
692   MORALES ROSARIO, WENDSY A.                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    85395                 $ 3,500.00*
      URB. FOREST PLANTATION
      110 CALLE AUSUBO
      CANOVANAS, PR 00729-9663

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
693   MORALES SANABRIA, DAMARIS                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    95834                 $ 75,000.00
      PO BOX 3679
      AGUADILLA, PR 00603

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
694   MORALES SANCHEZ, ELSIE A.                                                                7/2/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    80143             Undetermined*
      838 G PALES MATOS/GUANAJIBO HOMES
      MAYAQUEZ, PR 00682-1162

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
695   MORALES SANCHEZ, FRANCES E                                                              5/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    18045             Undetermined*
      PO BOX 2
      LAS PIEDRAS, PR 00771

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
696   MORALES SANCHEZ, GRISELLE                                                               6/25/2018      17 BK 03566-LTS Employees Retirement System of the             76685             Undetermined*
      URB VILLAS DEL CAFETAL I                                                                                               Government of the Commonwealth
      CALLE 5 E-27                                                                                                           of Puerto Rico
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
697   MORALES SANCHEZ, YOLANDA                                                                 5/1/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    10714             Undetermined*
      HC 3 BOX 40593
      CAGUAS, PR 00725-9736

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 114 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
698   MORALES SANTIAGO, FELECITA                                                              6/28/2018      17 BK 03566-LTS Employees Retirement System of the             67447                 $ 21,478.60
      PO BOX 9300374                                                                                                         Government of the Commonwealth
      SAN JUAN, PR 00928                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
699   MORALES SANTIAGO, RUBÉN                                                                 6/29/2018      17 BK 03566-LTS Employees Retirement System of the             83104                 $ 56,000.00
      1851 WELLS RD                                                                                                          Government of the Commonwealth
      DUDEE, PR 48131-3706                                                                                                   of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
700   MORALES SANTOS, CRUZ M                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    66154             Undetermined*
      URB CASTELLANA GARDENS
      CALLE CASTILLA CC11
      CAROLINA, PR 00983

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
701   MORALES SANTOS, MIRIAM                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    64790                 $ 39,379.27
      CALLE 10 INTERIOR H42A PARCELAS VAN SCOY
      BAYAMON, PR 00957

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
702   MORALES SERRANO, DAYNNA L.                                                              5/29/2018      17 BK 03566-LTS Employees Retirement System of the             40293             Undetermined*
      HC 63 B2.3262                                                                                                          Government of the Commonwealth
      PATILLAS, PR 00723                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
703   MORALES SOTO , JOSE I                                                                   4/20/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                     8880             Undetermined*
      HC-59 BOX 6473
      AGUNDA, PR 00602

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
704   MORALES SOTO, MARTA                                                                     5/29/2018      17 BK 03566-LTS Employees Retirement System of the             40475                 $ 32,330.03
      COND. PARQUE DE SAN ANTON                                                                                              Government of the Commonwealth
      4C/ROMAN RIVERA APT 401                                                                                                of Puerto Rico
      CAROLINA, PR 00987-6715


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 115 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
705   MORALES SOTO, MIGUEL A                                                                  5/30/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69707             Undetermined*
      BOX 1291
      UTUADO, PR 00641

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
706   MORALES TORRES, RAUL                                                                    6/29/2018      17 BK 03566-LTS Employees Retirement System of the             83513                 $ 36,000.00
      CALLE LUIS PALES MATOS                                                                                                 Government of the Commonwealth
      ER 26                                                                                                                  of Puerto Rico
      LEVITTOWN, PR 00949

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
707   MORALES VARGAS, NYDIA E.                                                                6/18/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    80324                $ 43,654.60*
      HC 2 BOX 20676
      AGUADILLA, PR 00603

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
708   MORALES VAZQUEZ, MADELINE                                                               6/28/2018      17 BK 03566-LTS Employees Retirement System of the             73605                 $ 58,000.00
      PO BOX 10163                                                                                                           Government of the Commonwealth
      HUMACAO, PR 00792-1163                                                                                                 of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
709   MORALES VELEZ, MARIA C                                                                   6/7/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    59679             Undetermined*
      COM SLOS 500
      115 CALLE ESMERALDA
      ARROYO, PR 00714

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
710   MORALES VELEZ, MARIA C                                                                   6/7/2018      17 BK 03566-LTS Employees Retirement System of the             61010             Undetermined*
      COM SLOS 500                                                                                                           Government of the Commonwealth
      115 CALLE ESMERALDA                                                                                                    of Puerto Rico
      ARROYO, PR 00714

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 116 of 149
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                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
711   MORALES VELEZ, ROSALIA                                                                   6/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    49226             Undetermined*
      APARTADO253
      LARES, PR 00669

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
712   MORALES VELEZ, ROSALIA                                                                   6/6/2018      17 BK 03566-LTS Employees Retirement System of the             73841             Undetermined*
      PO BOX 253                                                                                                             Government of the Commonwealth
      LARES, PR 00669                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
713   MORALES, IXAIVIA                                                                        5/23/2018      17 BK 03566-LTS Employees Retirement System of the             32291             Undetermined*
      DEPARTAMENTO DE EDUCACION                                                                                              Government of the Commonwealth
      VALLE ARRIBA, AD-1, YAGRUMO                                                                                            of Puerto Rico
      CAROLINA, PR 00983

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
714   MORALES, KARIME                                                                         6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    90278                $ 200,000.00
      B-31 14 ST MOUNTAIN VIEW
      CAROLINA, PR 00987

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
715   MORALES, LUIS A. FLORES                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68862             Undetermined*
      CALLE MAGNOLIA 1199
      URB. BUENAVENTURA
      MAYAGUEZ, PR 00682

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
716   MORALES, MARIA T.                                                                       6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    77225             Undetermined*
      4900 SE 102 PL LOT. 106
      BELLEVIEW, FL 34420

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 117 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
717   MORALES, NILSA E.                                                                       6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    66488             Undetermined*
      C 26 CALLE 6 URB. CIBUCO
      COROZAL, PR 00783

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
718   MORALES, SHEILA                                                                         6/29/2018      17 BK 03566-LTS Employees Retirement System of the             100892                 $ 2,000.00
      URB LA MANSION SC 18 PLAZA 4                                                                                           Government of the Commonwealth
      TOA BAJA, PR 00949                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
719   MORALES-SOTO, AIDA L.                                                                   11/21/2017     17 BK 03283-LTS Commonwealth of Puerto Rico                      306                $ 100,000.00
      HC- 04 BOX 14247
      MOCA, PR 00676

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
720   MORAN RAMOS, WILMARIE                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69123             Undetermined*
      PO BOX 573
      CABO ROJO, PR 00623

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
721   MORCIGLIO RIVERA, ELIO                                                                  5/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    17009             Undetermined*
      HC 38 BOX 8735
      GUINEA, PR 00653

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
722   MOREIRA, LISANDRA                                                                       6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    73546             Undetermined*
      URB. VISTAS DEL CONVENTO C/32 G-6
      FAJARDO, PR 00738

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 118 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
723   MOREL NIN, ANNY                                                                          6/5/2018      17 BK 03566-LTS Employees Retirement System of the             47127                 $ 80,000.00
      URB JARDS DE COUNTRY CLUB                                                                                              Government of the Commonwealth
      CZ14 CALLE 126                                                                                                         of Puerto Rico
      CAROLINA, PR 00983

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
724   MORENO AYMAT, IRIS J.                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    64559             Undetermined*
      472 CALLE DE DIEGO
      APT 305-A
      COND. GREEN VILLAGE
      SAN JUAN, PR 00923

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
725   MORENO CARABALLO, MILAGROS                                                               6/5/2018      17 BK 03566-LTS Employees Retirement System of the             46531             Undetermined*
      1515 CALLE MARTIN TRAVIESO                                                                                             Government of the Commonwealth
      SAN JUAN, PR 00911                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
726   MORENO CEDENO, KORALY NOEMI                                                             6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    64181             Undetermined*
      2489 WELLINGTON GREEN DRIVE
      WELLINGTON, FL 33414-9314

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
727   MORENO CEDENO, KORALY NOEMI                                                             6/28/2018      17 BK 03566-LTS Employees Retirement System of the             67503             Undetermined*
      2489 WELLINGTON GREEN DRIVE                                                                                            Government of the Commonwealth
      WELLINGTON, FL 33414-9314                                                                                              of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
728   MORENO LOPEZ, VALERIA                                                                   6/29/2018      17 BK 03566-LTS Employees Retirement System of the             96916                 $ 6,100.00*
      URB LEVITTOWN LAKES                                                                                                    Government of the Commonwealth
      A15 BLVD MONROIG 4TA SECC                                                                                              of Puerto Rico
      TOA BAJA, PR 00949

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 119 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
729   MORENO PERALES, ROSAIDA                                                                 6/18/2018      17 BK 03566-LTS Employees Retirement System of the             64538               $ 100,000.00*
      URB. VILLA GRANADA TERUEL 487                                                                                          Government of the Commonwealth
      RIO PIEDRA, PR 00923                                                                                                   of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
730   MORENO RODRIGUEZ, ROSA                                                                  6/29/2018      17 BK 03566-LTS Employees Retirement System of the             79201                $ 83,866.01*
      PO BOX 1813                                                                                                            Government of the Commonwealth
      LAS PIEDRAS, PR 00771                                                                                                  of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
731   MORENO RODRIGUEZ, YUVIR M                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    80283                $ 30,000.00*
      URB RIO GRANDE ESTATE CALLE 5A GA14
      RIO GRANDE, PR 00745

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
732   MORENO RODRIGUEZ, YUVIR M.                                                              6/29/2018      17 BK 03566-LTS Employees Retirement System of the             78752                $ 30,000.00*
      URB. RIO GRANDE ESTATE CALLE 5A GA 14.                                                                                 Government of the Commonwealth
      RIO GRANDE, PR 00745                                                                                                   of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
733   MORENO SANTIAGO, MARLJORIE                                                              5/30/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    41578             Undetermined*
      HC-07 BOX 32961
      HATILLO, PR 00659

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
734   MORENO SOTO, VILMA X                                                                    6/25/2018      17 BK 03566-LTS Employees Retirement System of the             90298                 $ 33,876.05
      PO BOX 300                                                                                                             Government of the Commonwealth
      SANTA ISABEL, PR 00757                                                                                                 of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
735   MORERA PARRILLA, VIVIAN                                                                  6/5/2018      17 BK 03566-LTS Employees Retirement System of the             58745                 $ 70,000.00
      URB RIO GRANDE ESTATES                                                                                                 Government of the Commonwealth
      GG 32 CALLE 32                                                                                                         of Puerto Rico
      RIO GRANDE, PR 00745


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 120 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
736   MORO PEREZ, ANTONIO JOSE                                                                6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    107245               $ 40,000.00*
      CALLE ANCLA #272 SECTOR LOS PONCE
      ISABELA, PR 00662

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
737   MORO PEREZ, ANTONIO JOSE                                                                6/27/2018      17 BK 03566-LTS Employees Retirement System of the             107251                $ 63,000.00
      CALLE ANCLA #272                                                                                                       Government of the Commonwealth
      SECTOR LOS PONCE                                                                                                       of Puerto Rico
      ISABELA, PR 00662

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
738   MOULIER MATTOS, YAMILLET                                                                 6/5/2018      17 BK 03566-LTS Employees Retirement System of the             46794                 $ 48,500.00
      URB. VILLA CLARITA                                                                                                     Government of the Commonwealth
      C-6 CALLE E                                                                                                            of Puerto Rico
      FAJARDO, PR 00738

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
739   MOYA CRUZ, MARIBEL                                                                      6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68739                 $ 10,800.00
      HC-01 BOX 6342
      BARCELONETA, PR 00617

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
740   MOYA SANTANA, FLOR MARIA                                                                5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    32095             Undetermined*
      PO BOX 1841 CABO ROJO
      CABO ROJO, PR 00623

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
741   MOYA SEGARRA, GLORIA ENID                                                               6/28/2018      17 BK 03566-LTS Employees Retirement System of the             68040                $ 65,704.33*
      PO BOX 1613                                                                                                            Government of the Commonwealth
      HATILLO, PR 00659                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 121 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
742   MOYA, VIASA MONTALVO                                                                     6/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    50931             Undetermined*
      CARR.313 KM 1.2 INTERIOR
      URB. MARTY #3
      CABO ROJO, PR 00623

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
743   MOYETT DEL VALLE, MARIA DEL C.                                                          5/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    32549             Undetermined*
      HC30 BOX 33155
      SAN LORENZO, PR 00754

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
744   MOYETT SALDANA , NILDA M.                                                               5/29/2018      17 BK 03566-LTS Employees Retirement System of the             42985                 $ 55,000.00
      VILLAS DE BUENAVENTURA, 314 GUARIONEX                                                                                  Government of the Commonwealth
      YABUCOA, PR 00767                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
745   MUJICA HERNANDEZ, LUIS E.                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65674             Undetermined*
      CALLE J I-11
      JARDINES DE CAROLINA
      CAROLINA, PR 00987

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
746   MUJICA RIVERA, ISABEL                                                                   5/29/2018      17 BK 03566-LTS Employees Retirement System of the             78055             Undetermined*
      15 PALM LEAF LN                                                                                                        Government of the Commonwealth
      PALM COAST, FL 32164-7524                                                                                              of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
747   MULERO ARZUAGA, JOSE O.                                                                 5/23/2018      17 BK 03566-LTS Employees Retirement System of the             38613             Undetermined*
      HC-22 BOX 9250                                                                                                         Government of the Commonwealth
      JUNCOS, PR 00777                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 122 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
748   MULERO BAEZ, MERCEDES                                                                   6/25/2018      17 BK 03566-LTS Employees Retirement System of the             52087                 $ 25,000.00
      RIO PLANTATION                                                                                                         Government of the Commonwealth
      49 CALLE 2 ESTE                                                                                                        of Puerto Rico
      BAYAMON, PR 00961

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
749   MULERO MARTINEZ, MILDRED                                                                 6/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    47275             Undetermined*
      HC-03 BOX 81340
      LAS PIEDRAS, PR 00771

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
750   MULERO MULERO, JUAN R.                                                                  6/29/2018      17 BK 03566-LTS Employees Retirement System of the             101040               $ 45,000.00*
      PO BOX 5695                                                                                                            Government of the Commonwealth
      CAGUAS, PR 00726-5695                                                                                                  of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
751   MULERO RODRIGUEZ, MELANIE                                                               5/21/2018      17 BK 03566-LTS Employees Retirement System of the             22640             Undetermined*
      HC 03 BOX 40608                                                                                                        Government of the Commonwealth
      CAGUAS, PR 00725                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
752   MULERO TORRES, MYRIAM VANNESSA                                                          5/23/2018      17 BK 03566-LTS Employees Retirement System of the             32537             Undetermined*
      CALLE19 Q 78                                                                                                           Government of the Commonwealth
      BELLA VISTA                                                                                                            of Puerto Rico
      BAYAMON, PR 00957

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
753   MUNIZ ACEVEDO, ENEIDA                                                                   5/24/2018      17 BK 03566-LTS Employees Retirement System of the             27953                $ 40,750.89*
      HC 3 BOX 6439                                                                                                          Government of the Commonwealth
      RINCON, PR 00677-9620                                                                                                  of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 123 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
754   MUÑIZ ACEVEDO, JOSE R.                                                                  6/29/2018      17 BK 03566-LTS Employees Retirement System of the             77152                 $ 30,000.00
      CHALETS SAN FERNANDO                                                                                                   Government of the Commonwealth
      APT 604                                                                                                                of Puerto Rico
      BO CANOVANILLAS
      CAROLINA, PR 00987

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
755   MUNIZ BADILLO, CESAR                                                                     7/6/2018      17 BK 03566-LTS Employees Retirement System of the             104959               $ 22,521.33*
      HC 05 BOX 51965                                                                                                        Government of the Commonwealth
      AGUADILLA, PR 00603                                                                                                    of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
756   MUNIZ DELGADO, IRIS                                                                     6/29/2018      17 BK 03566-LTS Employees Retirement System of the             78335             Undetermined*
      COOP LOS ROBLES APT315 B                                                                                               Government of the Commonwealth
      SAN JUAN, PR 00927                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
757   MUNIZ GONZALEZ, LIZADAMARIS                                                             5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    26743                 $ 30,000.00
      947 CALLE MANANTIALES
      MAYAGUEZ, PR 00680

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
758   MUNIZ HERNANDEZ, EVA                                                                    5/24/2018      17 BK 03566-LTS Employees Retirement System of the             25398             Undetermined*
      HC05 BOX 107928                                                                                                        Government of the Commonwealth
      MOCA, PR 00676                                                                                                         of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
759   MUNIZ HERNANDEZ, LUIS                                                                   6/29/2018      17 BK 03566-LTS Employees Retirement System of the             66159                  $ 3,769.97
      CALLE 3 C28                                                                                                            Government of the Commonwealth
      UNIVERSITY GARDEN                                                                                                      of Puerto Rico
      ARECIBO, PR 00612

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 124 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
760   MUÑIZ MARTINEZ, CARMEN                                                                  5/29/2018      17 BK 03566-LTS Employees Retirement System of the             36706                $ 75,000.00*
      JDNS COUNTRY CLUB                                                                                                      Government of the Commonwealth
      BU26 CALLE 126                                                                                                         of Puerto Rico
      CAROLINA, PR 00983

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
761   MUNIZ MENDEZ , MARIBEL                                                                  6/19/2018      17 BK 03566-LTS Employees Retirement System of the             72852                 $ 75,000.00
      PO BOX 589                                                                                                             Government of the Commonwealth
      ARECIBO, PR 00613                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
762   MUNIZ MENDEZ, MARIA ISABEL                                                              6/19/2018      17 BK 03566-LTS Employees Retirement System of the             73584                 $ 75,000.00
      URBANIZACION VILLA SERAL D-22                                                                                          Government of the Commonwealth
      LARES, PR 00669                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
763   MUNIZ PROVIDENCIA, OQUENDO                                                              6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72685             Undetermined*
      EDIFICIO CAMPECHE APT 43
      ESQ. BUENAS AIRES 857
      PONCE, PR 00717

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
764   MUNIZ RIOS, JUAN M                                                                       6/1/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    45930             Undetermined*
      HC 1 BOX 18536
      AGUADILLA, PR 00603

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
765   MUNIZ RIOS, JUAN M                                                                       6/1/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    45945             Undetermined*
      HC 1 BOX 18536
      AGUADILLA, PR 00603

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
766   MUNIZ RIOS, JUAN M                                                                       6/1/2018      17 BK 03566-LTS Employees Retirement System of the             51501             Undetermined*
      HC 1 BOX 18536                                                                                                         Government of the Commonwealth
      AGUADILLA, PR 00603                                                                                                    of Puerto Rico


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 125 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
767   MUNIZ RIOS, JUAN M.                                                                      6/1/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    45941             Undetermined*
      HC 1 BOX 18536
      AGUADILLA, PR 00603

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
768   MUNIZ RIVERA, RAMON E                                                                   5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    38290             Undetermined*
      P.O. BOX 1810 PMB 324
      MAYAGUEZ, PR 00681

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
769   MUNIZ RIVERA, RAMON E.                                                                  5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    38137             Undetermined*
      PMB 324 PO BOX 1810
      MAYAGUEZ, PR 00681

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
770   MUÑIZ RODRIGUEZ, ELIZABETH                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    78963                  $ 5,400.00
      RIO GRANDE ESTATES
      CALLE REINA FABIOLA #11718
      RIO GRANDE, PR 00745

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
771   MUNIZ RODRIGUEZ, EMELY                                                                   6/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    49031             Undetermined*
      BOX 63
      LAS MARIAS, PR 00670

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
772   MUNIZ ROSA, DELSY                                                                       5/31/2018      17 BK 03566-LTS Employees Retirement System of the             37751             Undetermined*
      HC 4 BOX 14175                                                                                                         Government of the Commonwealth
      MOCA, PR 00676                                                                                                         of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 126 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
773   MUNIZ ROSADO, MARIBEL                                                                   6/18/2018      17 BK 03566-LTS Employees Retirement System of the             73547                 $ 13,200.00
      ADMINISTRACION DE SALUD MENTAL Y CONTRA LA ADICCION                                                                    Government of the Commonwealth
      BOX 140654                                                                                                             of Puerto Rico
      ARECIBO, PR 00614-0654

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
774   MUNIZ SANTI, YOLANDA                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    86736                 $ 1,000.00*
      GIRALDA #114 URB SULTANA
      MAYAGUEZ, PR 00680

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
775   MUNIZ SANTIAGO, MIGDALIA                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75879             Undetermined*
      25065 CALLE LOS MUÑIZ
      QUEBRADILLA, PR 00678

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
776   MUNIZ TIRADO, BRUNILDA                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    81780             Undetermined*
      HC 57 BOX 9520
      AGUADA, PR 00602

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
777   MUNIZ VAZQUEZ, GERALD                                                                   6/20/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74966                 $ 42,000.00
      R SOTOMAYOR 2 L 2
      BAIROA PARK
      CAGUAS, PR 00725

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
778   MUNIZ ZAPATA, OTTMAR J.                                                                 6/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    82398             Undetermined*
      JARDINES DE ANASCO A-8
      ANASCO, PR 00610

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
779   MUNIZ, MARICELL ORTIZ                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65790             Undetermined*
      URB. ALTA VISTA CALLE20 Q-35
      PONCE, PR 00716

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 127 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
780   MUNOZ ALVAREZ, JONNATHAN                                                                6/29/2018      17 BK 03566-LTS Employees Retirement System of the             78177                  $ 2,000.00
      L1332 CALLE PASEO DURAZNO                                                                                              Government of the Commonwealth
      TOA BAJA, PR 00949                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
781   MUNOZ ALVAREZ, NILSA E                                                                  5/29/2018      17 BK 03566-LTS Employees Retirement System of the             35511                $ 80,000.00*
      PO BOX 1716                                                                                                            Government of the Commonwealth
      CAGUAS, PR 00726                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
782   MUNOZ BELTRAN, ESTRELLA                                                                 5/23/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    42385             Undetermined*
      URB BAIROA
      CM6 CALLE 8
      CAGUAS, PR 00725

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
783   MUNOZ BLAS, MARIA                                                                        6/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71952             Undetermined*
      HC-3 BOX 6341
      RINCON, PR 00677

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
784   MUNOZ BLAZ, MARIA                                                                        6/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    60200             Undetermined*
      HC-3 BOX 6341
      RINCON, PR 00677

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
785   MUNOZ CONTRERAS, EVELYN                                                                 5/29/2018      17 BK 03566-LTS Employees Retirement System of the             32656                 $ 30,000.00
      HC 30 BOX 32204                                                                                                        Government of the Commonwealth
      SAN LORENZO, PR 00754                                                                                                  of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 128 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
786   MUNOZ CORDOVA, LUIS                                                                     5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    32228             Undetermined*
      HC 70 BOX 49125
      SAN LORENZO, PR 00754

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
787   MUNOZ ECHEVARRIA, LOURDES N                                                             6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    64673             Undetermined*
      1296 COM CARACOLES 3
      PENUELAS, PR 00624

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
788   MUNOZ ECHEVARRIA, LOURDES N.                                                            6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72373             Undetermined*
      1296 COMO CARACOLES 3
      PENUELAS, PR 00624

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
789   MUNOZ FERNANDEZ, VICTOR M                                                               6/29/2018      17 BK 03566-LTS Employees Retirement System of the             106607                $ 95,000.00
      URB SAVANNAH REAL                                                                                                      Government of the Commonwealth
      22 CALLE PASEO SEVILLA                                                                                                 of Puerto Rico
      SAN LORENZO, PR 00754-3067

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
790   MUNOZ GONZALEZ, JOAQUIN                                                                 6/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76731             Undetermined*
      PO BOX 1378
      MOCA, PR 00676

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
791   MUNOZ GONZALEZ, REBECA                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    73779                  $ 7,500.00
      CALLE JOAQUINA #200
      COOPERATIVA TORRES DE CAROLINA
      APT 108-B
      CAROLINA, PR 00979

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 129 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
792   MUNOZ MARTINEZ, JORGE L.                                                                 6/4/2018      17 BK 03566-LTS Employees Retirement System of the             83353                $ 75,000.00*
      PMB 195 PO BOX 1283                                                                                                    Government of the Commonwealth
      SAN LORENZO, PR 00754                                                                                                  of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
793   MUNOZ MOJICA, LUIS                                                                      6/20/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    78525                 $ 13,500.00
      HC 2 BOX 11326
      HUMACAO, PR 00791-9321

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
794   MUNOZ MUNOZ, JUDITH                                                                     6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    64575             Undetermined*
      HC 57 BOX 10620
      AGUADA, PR 00602

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
795   MUÑOZ MUÑOZ, RICKERME                                                                   5/29/2018      17 BK 03566-LTS Employees Retirement System of the             38512             Undetermined*
      URB ALTURAS DE YAURO M-1 CALLE 6                                                                                       Government of the Commonwealth
      YAUCO, PR 00698                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
796   MUNOZ NAVARRO, ELSIE                                                                    6/29/2018      17 BK 03566-LTS Employees Retirement System of the             71991                 $ 34,000.00
      URB. DELGADO CALLE 7 T-11                                                                                              Government of the Commonwealth
      CAGUAS, PR 00725                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
797   MUNOZ PAGAN, MARIELA                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    64943             Undetermined*
      1703 CHIPPENDALE DR
      KILLEEN, TX 76549

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 130 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
798   MUNOZ RIVERA, AIDA                                                                      5/21/2018      17 BK 03566-LTS Employees Retirement System of the             17432                 $ 1,000.00*
      2300 DUPONT CT                                                                                                         Government of the Commonwealth
      INDIANAPOLIS, IN 46229-1834                                                                                            of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
799   MUNOZ RODRIGUEZ, EMELY                                                                   6/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    48997             Undetermined*
      POX BOX 63
      LAS MARIAS, PR 00670

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
800   MUNOZ RODRIGUEZ, MARIZELA                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65205                $ 75,000.00*
      COND. VISTAS DE LA VEGA APT624
      VEGA ALTA, PR00692

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
801   MUNOZ RODRIGUEZ, ZULMA                                                                  6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    60298             Undetermined*
      #86 CALLE TOMAS C. MADURO
      JUANA DIAZ, PR 00795

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
802   MUNOZ SANTIAGO, JANET                                                                   6/25/2018      17 BK 03566-LTS Employees Retirement System of the             89770                 $ 75,000.00
      VILLA DEL CARMEN                                                                                                       Government of the Commonwealth
      862 APT. 2 SENTINA                                                                                                     of Puerto Rico
      PONCE, PR 00716

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
803   MUÑOZ SANTIAGO, NILKA E                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    86774                  $ 5,000.00
      403 GUADARRAMA MIRADERO HILLS
      MAYAGÜEZ, PR 00682

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 131 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
804   MUÑOZ, IVELISSE                                                                         6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    66698                 $ 5,000.00*
      HC 30 BOX 32204
      SAN LORENZO, PR 00754

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
805   MURIEL RODRIGUEZ, ANTONIA                                                               5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    34054             Undetermined*
      URB RIO CRISTAL
      5301 CALLE ROBERTO COLE
      MAYAGUEZ, PR 00680

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
806   MURILLO PEREZ, MIGUEL ROBERTO                                                           6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76912             Undetermined*
      PO BOX 560935
      GUAYANILLA, PR 00656

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
807   MURILLO RIVERA, DELIZ                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76473             Undetermined*
      PMB 405
      609 AVE. TITO CASTRO STE.102
      PONCE, PR 00716

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
808   MURILLO RIVERA, DIRALIZ                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75569             Undetermined*
      P.O. BOX 561412
      GUAYANILLA, PR 00656-1412

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
809   MURILLO RODRIGUEZ, CARLOS A.                                                             6/5/2018      17 BK 03566-LTS Employees Retirement System of the             59981             Undetermined*
      PO BOX 560295                                                                                                          Government of the Commonwealth
      GUAYANILLA, PR 00656                                                                                                   of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 132 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
810   MUSSENDEN MIRANDA, IVELISSE                                                             5/25/2018      17 BK 03566-LTS Employees Retirement System of the             24238                $ 78,172.80*
      URB PARQUE FLAMINGO                                                                                                    Government of the Commonwealth
      94 CALLE PARTENON                                                                                                      of Puerto Rico
      BAYAMON, PR 00959

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
811   MYIAS FELIX, RAFIEL ANGEL                                                               5/29/2018      17 BK 03566-LTS Employees Retirement System of the             27440             Undetermined*
      PO BOX 1142                                                                                                            Government of the Commonwealth
      SAN JUAN, PR 00754                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
812   MYRAIDA CRUZ TORRES                                                                     6/30/2018      17 BK 03566-LTS Employees Retirement System of the             68600             Undetermined*
      10075 GATE PARKWAY N3014                                                                                               Government of the Commonwealth
      JACKSONVILLE, FL 32246                                                                                                 of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
813   MYRIAM VAZQUEZ LAUREANO                                                                 5/24/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    27431             Undetermined*
      PO BOX 1191
      CIDRA, PR 00739

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
814   NADAL RODRIGUEZ, RADAMES                                                                6/29/2018      17 BK 03566-LTS Employees Retirement System of the             77789                 $ 75,000.00
      PO BOX 1799                                                                                                            Government of the Commonwealth
      JUANA DIAZ, PR 00795                                                                                                   of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
815   NAHIR A SERRANO PEREZ                                                                   5/23/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    37262             Undetermined*
      BOX 8211
      PONCE, PR 00732

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
816   NARVAEZ CHEVEREZ, YOLANDA                                                               6/29/2018      17 BK 03566-LTS Employees Retirement System of the             68062             Undetermined*
      HC 74 BOX 5629                                                                                                         Government of the Commonwealth
      NARANJITO, PR 00719                                                                                                    of Puerto Rico


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 133 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
817   NARVAEZ FIGUEROA , JOSE L.                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    66178             Undetermined*
      HC-5 BOX 7531
      GUAYNABO, PR 00971

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
818   NARVAEZ SALGADO, PAMELA                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    73991                  $ 5,400.00
      9 CALLE RUISEÑOR
      VALLE VERDE BAIROA
      CAGUAS, PR 00727

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
819   NATAL COLON, DAVID                                                                      5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    25611             Undetermined*
      116 19 JONS DEL CARIBE
      PONCE, PR 00728-4438

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
820   NATAL COLON, DAVID                                                                      5/29/2018      17 BK 03566-LTS Employees Retirement System of the             37646             Undetermined*
      116 19 JAUS DEL CARIBE                                                                                                 Government of the Commonwealth
      PONCE, PR 00728-4438                                                                                                   of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
821   NATAL RIVERA, VIVIAN L                                                                   6/5/2018      17 BK 03566-LTS Employees Retirement System of the             42968                $ 46,323.82*
      BOX 146                                                                                                                Government of the Commonwealth
      TRUJILLO ALTO, PR 00977                                                                                                of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
822   NATAL ROBLES, WANDA I                                                                   5/24/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    44139             Undetermined*
      HC02 BOX 7447
      BARRANQUITAS, PR 00794

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 134 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
823   NATAL SALGADO, MARISOL                                                                  6/28/2018      17 BK 03566-LTS Employees Retirement System of the             72058             Undetermined*
      33 VEREDA DE LA ESPINOSA                                                                                               Government of the Commonwealth
      VEGA ALTA, PR00692                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
824   NATAL VAZQUEZ , DEVORA                                                                  5/23/2018      17 BK 03566-LTS Employees Retirement System of the             33612             Undetermined*
      HC-03 BOX 6490-4                                                                                                       Government of the Commonwealth
      HUMACAO, PR 00291-9306                                                                                                 of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
825   NAVARRO ALVAREZ, ALEXIS                                                                 5/24/2018      17 BK 03566-LTS Employees Retirement System of the             25598             Undetermined*
      URB VALLE VERDE                                                                                                        Government of the Commonwealth
      F67 CGRANADA                                                                                                           of Puerto Rico
      HATILLO, PR 00659

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
826   NAVARRO ALVAREZ, ALEXIS                                                                 5/24/2018      17 BK 03566-LTS Employees Retirement System of the             28656             Undetermined*
      F-67 C/GRANADA                                                                                                         Government of the Commonwealth
      HATILLO, PR 00659                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
827   NAVARRO BAEZ, FRANCISCO                                                                 6/11/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    79561             Undetermined*
      PO BOX 40079
      NUMELA STATION
      SAN JUAN, PR 00940

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
828   NAVARRO CASTRO, MAGDA L                                                                 6/28/2018      17 BK 03566-LTS Employees Retirement System of the             69955             Undetermined*
      URB. REXVILLE                                                                                                          Government of the Commonwealth
      CALLE 29 DB-26                                                                                                         of Puerto Rico
      BAYAMON, PR 00957

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 135 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
829   NAVARRO FELICIANO, MILAGROS                                                             6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69333             Undetermined*
      303 CALLE MONTE DE ORO
      CAMUY, PR 00627

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
830   NAVARRO FIGUEROA, SYLMARY                                                               5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    42535             Undetermined*
      R-1 CALLE HUCAR, URB. VALLE ARRIBA HEIGHT
      CAROLINA, PR 00983

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
831   NAVARRO GONZÁLEZ, CRUZ                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    64494                 $ 12,000.00
      P.O. BOX 4185
      PUERTO REAL, PR 00738

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
832   NAVARRO MARRERO , BIANCA I.                                                             6/11/2018      17 BK 03566-LTS Employees Retirement System of the             49965                $ 25,000.00*
      URB. VILLANUEVA                                                                                                        Government of the Commonwealth
      I-1 CALLE 10                                                                                                           of Puerto Rico
      CAGUAS, PR 00727

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
833   NAVARRO MARTINEZ, JOSE E.                                                                6/5/2018      17 BK 03566-LTS Employees Retirement System of the             46208             Undetermined*
      PO BOX 935                                                                                                             Government of the Commonwealth
      JUNCOS, PR 00777-0935                                                                                                  of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
834   NAVARRO MATOS, GRISSELLE I                                                              6/28/2018      17 BK 03566-LTS Employees Retirement System of the             73033                 $ 39,456.21
      PO BOX 24                                                                                                              Government of the Commonwealth
      TRUJILLO ALTO, PR 00977                                                                                                of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 136 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
835   NAVARRO MATOS, GRISSELLE I.                                                             6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74521                $ 10,000.00*
      PO BOX 24
      TRUJILLO ALTO, PR 00977

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
836   NAVARRO MIRANDA, GLADYS                                                                 4/10/2018      17 BK 03566-LTS Employees Retirement System of the              7031                 $ 35,323.21
      URB. METROPOLIS                                                                                                        Government of the Commonwealth
      2M-71 CALLE 56                                                                                                         of Puerto Rico
      CAROLINA, PR 00987

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
837   NAVARRO MIRANDA, GLADYS E.                                                               4/6/2018      17 BK 03566-LTS Employees Retirement System of the              6675                 $ 35,323.21
      2M71 CALLE 56 URB. METROPOLIS                                                                                          Government of the Commonwealth
      CAROLINA, PR 00987                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
838   NAVARRO ROSARIO, ELIS NAOMI                                                             5/25/2018      17 BK 03566-LTS Employees Retirement System of the             33349                 $ 91,309.44
      CONDOMINIO VILLAS DEL GIGANTE                                                                                          Government of the Commonwealth
      500 CALLE PASEO REAL APT 520                                                                                           of Puerto Rico
      CAROLINA, PR 00987

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
839   NAVARRO SOLIS, WILMARIS                                                                 6/26/2018      17 BK 03566-LTS Employees Retirement System of the             69635             Undetermined*
      RESIDENCIAL BRISAS DE LOIZA                                                                                            Government of the Commonwealth
      EDIFICIO 13 APARTAMENTO68                                                                                              of Puerto Rico
      LOIZA, PR 00772

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
840   NAVAS VELEZ, CARMEN L                                                                    6/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    49643             Undetermined*
      10 CALLE PALMER
      LARES, PR 00669-2505

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 137 of 149
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                                                                One Hundred and Second Omnibus Objection
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                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
841   NAVDEO FELXI, YASMARY                                                                   6/29/2018      17 BK 03566-LTS Employees Retirement System of the             74467                 $ 17,353.26
      HILL BROTHERS                                                                                                          Government of the Commonwealth
      151 CALLE B                                                                                                            of Puerto Rico
      SAN JUAN, PR 00924

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
842   NAVEDO ALVARADO, YARITZA MAYLEN                                                         6/29/2018      17 BK 03566-LTS Employees Retirement System of the             84022                 $ 60,000.00
      APARTADO1302                                                                                                           Government of the Commonwealth
      MOCA, PR 00676                                                                                                         of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
843   NAVEDO AVILES, MANUEL                                                                   3/19/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                     3682                    $ 500.00
      PO BOX 807
      BA-NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
844   NAVEDO GARCIA, NALISSA J                                                                 6/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    51679             Undetermined*
      URB SANTA ANA CALLE-11 K-11
      VEGA ALTA, PR00692

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
845   NAVEDO OQUENDO, MILAGROS                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    78797             Undetermined*
      PO BOX 443
      TOA BAJA, PR 00951

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
846   NAVEDO SERATE, BRENDA                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    100002                 $ 8,000.00
      PO BOX 1321
      TRUJILLO ALTO, PR 00977

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 138 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
847   NAVEDO VIERA, IVETTE                                                                    6/28/2018      17 BK 03566-LTS Employees Retirement System of the             68303                 $ 4,000.00*
      ESTANCIAS DE TORTUGUERO                                                                                                Government of the Commonwealth
      611 CALLE TURIN                                                                                                        of Puerto Rico
      VEGA BAJA, PR 00693

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
848   NAZARIO ALAMEDA, NELSON                                                                  6/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    48720             Undetermined*
      P.O. BOX 320
      LAJAS, PR 00667

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
849   NAZARIO ALAMEDA, NELSON                                                                  6/6/2018      17 BK 03566-LTS Employees Retirement System of the             47985             Undetermined*
      PO BOX 320                                                                                                             Government of the Commonwealth
      LAJAS, PR 00667                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
850   NAZARIO ALICEA, ELAINE V.                                                               6/25/2018      17 BK 03566-LTS Employees Retirement System of the             58485             Undetermined*
      PO BOX 348                                                                                                             Government of the Commonwealth
      SABANA GRANDE, PR 00637                                                                                                of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
851   NAZARIO BURGOS, REBECCA                                                                  6/8/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    61547             Undetermined*
      HC-04 BOX 14956
      MOCA, PR 00676

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
852   NAZARIO BURGOS, REBECCA                                                                  6/8/2018      17 BK 03566-LTS Employees Retirement System of the             61215             Undetermined*
      HC-04 BOX 14956                                                                                                        Government of the Commonwealth
      MOCA, PR 00676                                                                                                         of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 139 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
853   NAZARIO CALDERON, JUAN                                                                  6/28/2018      17 BK 03566-LTS Employees Retirement System of the             108591               $ 43,000.00*
      COND PUERTA DEL SOL                                                                                                    Government of the Commonwealth
      75 CALLE JUNI APT 610                                                                                                  of Puerto Rico
      SAN JUAN, PR 00926

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
854   NAZARIO CHERENA, CAMELIA M                                                              6/28/2018      17 BK 03566-LTS Employees Retirement System of the             67697                 $ 10,000.00
      HC09 BOX 3443                                                                                                          Government of the Commonwealth
      SABANA GRANDE, PR 00637                                                                                                of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
855   NAZARIO CORREA, ENID                                                                    6/28/2018      17 BK 03566-LTS Employees Retirement System of the             65045                 $ 32,609.12
      HC O1 BOX 3892                                                                                                         Government of the Commonwealth
      SANTA ISABEL, PR 00757                                                                                                 of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
856   NAZARIO DE MALDONADO, BRENDA                                                            6/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75376             Undetermined*
      URB. LAS DELICIAS
      3230 URSULA CARDONA
      PONCE, PR 00717

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
857   NAZARIO LEBRON, CARLOS J                                                                5/16/2018      17 BK 03566-LTS Employees Retirement System of the             15860                $ 100,000.00
      PO BOX 403                                                                                                             Government of the Commonwealth
      RIO GRANDE, PR 00745                                                                                                   of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
858   NAZARIO NAZAEIO, YESABELLE                                                              6/29/2018      17 BK 03566-LTS Employees Retirement System of the             77729                    $ 600.00
      URB LA SALAMANCA CALLE VALENCIA221                                                                                     Government of the Commonwealth
      SAN GERMAN, PR 00683                                                                                                   of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 140 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
859   NAZARIO NAZARIO, YESABELLE                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    77752                    $ 600.00
      URB LA SALAMANCA 221 CALLE
      GERMÁN, PR 00683

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
860   NAZARIO OLMEDA, CRUZ M.                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    78308             Undetermined*
      702 CALLE JOSE CORDERO
      MOROVIS, PR 00687

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
861   NAZARIO ORTIZ, NADIRA I                                                                 5/15/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    15078             Undetermined*
      PO BOX 704
      CIALES, PR 00638

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
862   NAZARIO PASAIL, RAMON ERNESTO                                                           6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71449             Undetermined*
      APDO 560339
      GUAYANILLA, PR 00656

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
863   NAZARIO PEREZ, ANA E                                                                    6/28/2018      17 BK 03566-LTS Employees Retirement System of the             82600             Undetermined*
      JARD DEL CARIBE                                                                                                        Government of the Commonwealth
      HH 33 CALLE 34                                                                                                         of Puerto Rico
      PONCE, PR 00728

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
864   NAZARIO PIETRI, MARTA ZENAIDA                                                           6/12/2018      17 BK 03566-LTS Employees Retirement System of the             56592               $ 100,000.00*
      COND. CARIBBEAN SEA                                                                                                    Government of the Commonwealth
      105 AVE FD ROOSEVELT APT204                                                                                            of Puerto Rico
      SAN JUAN, PR 00917-2737

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 141 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
865   NAZARIO QUIJANO, ANGEL ANTONIO                                                          6/28/2018      17 BK 03566-LTS Employees Retirement System of the             75901             Undetermined*
      PO BOX 825                                                                                                             Government of the Commonwealth
      ENSENADA, PR 00647                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
866   NAZARIO RIOS, LUIS R                                                                    5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    21097             Undetermined*
      #7 CALLE SAN PABLO
      MAYAGUEZ, PR 00680

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
867   NAZARIO RIOS, LUIS R                                                                    5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    40504             Undetermined*
      #7 BO-EL SECO C/ SAN PABLO
      MAYAGUEZ, PR 00682

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
868   NAZARIO RIOS, LUIS R                                                                    5/29/2018      17 BK 03566-LTS Employees Retirement System of the             21245             Undetermined*
      BO EL SECO                                                                                                             Government of the Commonwealth
      7 CALLE SAN PABLO                                                                                                      of Puerto Rico
      MAYAGUEZ, PR 00682

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
869   NAZARIO RIVERA, JOHANNA                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68115             Undetermined*
      HC 38 BOX 6865
      GUANICA, PR 00653

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
870   NAZARIO ROSADO, CARLOS                                                                  6/29/2018      17 BK 03566-LTS Employees Retirement System of the             79953             Undetermined*
      URB MANSIONES                                                                                                          Government of the Commonwealth
      C5 BUZON 69                                                                                                            of Puerto Rico
      SABANA GRANDE, PR 00637

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
871   NAZARIO TORRES, HELGA                                                                   6/11/2018      17 BK 03566-LTS Employees Retirement System of the             87115                $ 229,194.72
      P O BOX 815                                                                                                            Government of the Commonwealth
      CIDRA, PR 00739-0815                                                                                                   of Puerto Rico


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 142 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
872   NAZARIO TORRES, SONIA I.                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75873                 $ 75,000.00
      2H 13 KINSTON CALLE
      URB VILLA DEL REY II
      CAGUAS, PR 00725

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
873   NAZARIO TORRES, TEDDY                                                                    7/2/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    109902                $ 85,000.00
      PO BOX 1535
      GUANICA, PR 00653

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
874   NAZARIO VEGA, RADAMOS                                                                   5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    27396                 $ 16,800.00
      HC 4 BOX 22950
      LAJAS, PR 00667

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
875   NEGRON , SANTOS JUSTINIANO                                                               6/1/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    51621             Undetermined*
      SABANA ENEAS C 25 553
      SAN GERMAN, PR 00683

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
876   NEGRON CABASSA, JANNETTE                                                                6/28/2018      17 BK 03566-LTS Employees Retirement System of the             71620                $ 33,100.00*
      70 CALLE NOBLE URB.CIUDAD SEÑORIAL                                                                                     Government of the Commonwealth
      SAN JUAN, PR 00926-8808                                                                                                of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
877   NEGRON CABRERA, HELGA                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    73505                    $ 900.00
      D-56 CALLE 2
      URB. LAS VEGAS
      CATANO, PR 00962

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 143 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
878   NEGRON CABRERA, HELGA                                                                   6/28/2018      17 BK 03566-LTS Employees Retirement System of the             73635                $ 58,000.00*
      CALLE 2 D-56                                                                                                           Government of the Commonwealth
      URB, LAS VEGAS                                                                                                         of Puerto Rico
      CATANO, PR 00962

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
879   NEGRON CARRASQUILLO, MONIKA                                                             6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    89392                 $ 22,025.69
      URB VILLAS DE LOIZA
      CALLE 19 S-5
      CANOVANA, PR 00729

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
880   NEGRON CITRON, DORIS                                                                    5/11/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    19752             Undetermined*
      C PRINCIPE WILLIAMS 87
      JUANA DIAZ, PR 00795

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
881   NEGRÓN CLARK, JORGE L.                                                                  6/28/2018      17 BK 03566-LTS Employees Retirement System of the             73593                $ 40,000.00*
      262 CALLE URUGUAY 9F                                                                                                   Government of the Commonwealth
      SAN JUAN, PR 00917                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
882   NEGRON COLLAZO, JOSELINE                                                                6/28/2018      17 BK 03566-LTS Employees Retirement System of the             63921             Undetermined*
      URB. MONTE VERDE                                                                                                       Government of the Commonwealth
      124 CALLE MONTE ALVENIA                                                                                                of Puerto Rico
      MANATI, PR 00674

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
883   NEGRON COLON, JOSE A                                                                    5/28/2018      17 BK 03566-LTS Employees Retirement System of the             23719                 $ 80,160.00
      PO BOX 1158                                                                                                            Government of the Commonwealth
      VILLALBA, PR 00766                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 144 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
884   NEGRON COLON, MIRTA M                                                                   6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    81255             Undetermined*
      CALLE PEDRO PABLO COLON A-39
      COAMO, PR 00769

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
885   NEGRON COLON, VICTOR                                                                    6/28/2018      17 BK 03566-LTS Employees Retirement System of the             64130                 $ 52,848.22
      URB MONTECASINO HEIGHTS                                                                                                Government of the Commonwealth
      BUZON 416 CALLE RIO GUAJATACA                                                                                          of Puerto Rico
      TOA ALTA, PR00953

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
886   NEGRÓN CORREA, RITA MARÍA                                                               6/28/2018      17 BK 03566-LTS Employees Retirement System of the             71895             Undetermined*
      164 CALLE PEDRO FLORES URB MONTICIELO                                                                                  Government of the Commonwealth
      CAGUAS, PR 00725                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
887   NEGRON CORREA, RITA M                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    79447             Undetermined*
      CALLE PEDRO FLORES
      URB. MONTICIELO 162
      CAGUAS, PR 00725

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
888   NEGRON CORREA, RITA M.                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    81195             Undetermined*
      CALLE PEDRO FLORES
      URB. MONTICIELLO 162
      CAGUAS, PR 00725

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
889   NEGRON CRUZ, MARCELINA                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69710             Undetermined*
      PO BOX 410
      CIALES, PR 00638

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 145 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
890   NEGRON DAVILA, ANTONIO                                                                  5/30/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    41766             Undetermined*
      URB COUNTRY CLUB
      CALLE CORFU 880 A
      SAN JUAN, PR 00924

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
891   NEGRON GARCIA, CARMEN CELIA                                                              6/1/2018      17 BK 03566-LTS Employees Retirement System of the             45919             Undetermined*
      PO BOX 607                                                                                                             Government of the Commonwealth
      SABANA GRANDE, PR 00637                                                                                                of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
892   NEGRON LABOY, EUGENIO                                                                   5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    35178             Undetermined*
      HC- 2 BOX 22 358
      SAN SEBASTIAN, PR 00685

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
893   NEGRON LOPEZ, ABISAY                                                                    5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    35850             Undetermined*
      87 CALLE CEIBA
      FLORIDA, PR 00650

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
894   NEGRON LOPEZ, JAIME L                                                                   6/22/2018      17 BK 03566-LTS Employees Retirement System of the             84951                $ 110,027.16
      84 CALLE POPULAR                                                                                                       Government of the Commonwealth
      SAN JUAN, PR 00917                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
895   NEGRON LOPEZ, MIGUEL A.                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    70223             Undetermined*
      CONDOMINIO TORRE VISTA APTS1506
      210 AVENIDA TRIO VEGABAJEÑO
      VEGA BAJA, PR 00693

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 146 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
896   NEGRON LOPEZ, MILAGROS                                                                  6/22/2018      17 BK 03566-LTS Employees Retirement System of the             86175                 $ 38,589.48
      84 CALLE POPULAR                                                                                                       Government of the Commonwealth
      SAN JUAN, PR 00917                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
897   NEGRON LOPEZ, NORMA                                                                     6/22/2018      17 BK 03566-LTS Employees Retirement System of the             80376                $ 141,591.42
      84 CALLE POPULAR                                                                                                       Government of the Commonwealth
      SAN JUAN, PR 00917                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
898   NEGRON LOPEZ, REYNALDO                                                                  6/14/2018      17 BK 03566-LTS Employees Retirement System of the             66242                $ 147,590.10
      URB VILLA CAROLINA                                                                                                     Government of the Commonwealth
      194 43 CALLE 527                                                                                                       of Puerto Rico
      CAROLINA, PR 00985

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
899   NEGRON LUCIANO, FERDINAND                                                               6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    88231                 $ 22,000.00
      #107 CALLE MUNOZ RIVERA
      CABO ROJO, PR 00623-4061

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
900   NEGRON MALAVE, WILFREDO                                                                 5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    42822             Undetermined*
      URB. ANA MARIA C-7 G-13
      CABO ROJO, PR 00623-4709

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
901   NEGRON MALAVE, WILFREDO                                                                 5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    42583             Undetermined*
      URB. ANA MARIA CALLE 7G.13
      CABO ROJO, PR 00623

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 147 of 149
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                                                                One Hundred and Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
902   NEGRON MARTINES, JEADY                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    83273                 $ 39,369.81
      URBANIZACION SYLVIA
      CALLE 9 A-15
      COROZAL, PR 00783

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
903   NEGRON MARTINEZ, JAIME                                                                  6/28/2018      17 BK 03566-LTS Employees Retirement System of the             79151             Undetermined*
      URB SANTA ELENA III                                                                                                    Government of the Commonwealth
      21 CALLE SAN MARTIN                                                                                                    of Puerto Rico
      GUAYANILLA, PR 00656

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
904   NEGRON MOJICA, ISELA                                                                    6/15/2018      17 BK 03566-LTS Employees Retirement System of the             66490             Undetermined*
      APARTADO2343                                                                                                           Government of the Commonwealth
      SAN GERMAN, PR 00683                                                                                                   of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
905   NEGRON MOJICA, MORAIMA                                                                  6/15/2018      17 BK 03566-LTS Employees Retirement System of the             66542             Undetermined*
      BOX NO. 2343                                                                                                           Government of the Commonwealth
      SAN GERMAN, PR 00683                                                                                                   of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors

906   NEGRON MOJICA, SAUL                                                                     5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    55927             Undetermined*
      HC 09 BOX 61430
      CAGUAS, PR 00725-4299

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 148 of 149
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                                                               One Hundred and Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                   ASSERTED CLAIM
      NAME                                                                                DATE FILED      CASE NUMBER                      DEBTOR                     CLAIM #          AMOUNT
907   NEGRON NEGRON, ELBA                                                                  6/20/2018      17 BK 03566-LTS Employees Retirement System of the           75245             Undetermined*
      URB PERLA DEL SUR                                                                                                   Government of the Commonwealth
      4532 CALLE PEDRO M CARATINI                                                                                         of Puerto Rico
      PONCE, PR 00717-0314

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
                                                                                                                                                                   TOTAL                $ 27,657,435.17*




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 149 of 149
